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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, et al., and                           §
THE UNITED STATES OF AMERICA,                        §
                                                     §   Civil Action No. 2:12-cv-00859
               PLAINTIFFS                            §   Section I, Division 5
                                                     §   Judge Lance M. Africk
                                                     §   Magistrate Judge Michael B. North
MARLIN GUSMAN, Sheriff,                              §
                                                     §
                                                     §
             DEFENDANT.                              §
                                                     §




                      Report No. 13 of the Independent Monitors
                                       February 8, 2021



Margo L. Frasier, J.D., C.P.O., Lead Monitor
Robert B. Greifinger, M.D. Medical Monitor
Patricia L. Hardyman, Ph.D., Classification Monitor
Raymond F. Patterson, M.D., D.F.A.P.A., Mental Health Monitor
Shane J. Poole, M.S., C.JM., Environmental Fire Life Safety Monitor
Diane Skipworth, M.C.J., R.D.N., L.D., R.S., C.C.H.P., C.L.L.M., Food Safety Monitor




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                               Compliance Report #13
               LASHAWN JONES, et al., and the United States of America v.
                              Marlin Gusman, Sheriff

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Compliance Report # 13
Introduction:
       This is Compliance Report #13 submitted by the Independent Monitors providing
assessment of the Orleans Parish Sheriff’s Office’s (OPSO) compliance with the Consent
Judgment of June 6, 2013. Report #13 reflects the status of OPSO’s compliance as of
September 30, 2020. This Report is based on incidents, documents, and compliance-related
activities between April 1, 2020 and September 30, 2020. Due to health safety concerns
because of COVID, three of the Monitors conducted the monitoring visit onsite while the
medical, mental health, and classification portions were conducted virtually. Having some of
the Monitors onsite allowed for observations to be shared with the Monitors conducting
their visit virtually. This report is based on the observations and review of OPSO documents
by the Monitors during the onsite and virtual site visits.
       Throughout the time the Monitors have been involved in enforcement of the Consent
Judgment, the site visits have played an integral role. During the site visits and the site visits
by the Lead Monitor in between, the Monitors have endeavored to provide guidance to OPSO
as to how to remedy the unsafe and unconstitutional conditions which existed when we
began monitoring in late 2013. During this monitoring period, health concerns related to
COVID limited the ability of the Monitors to be onsite. The May 2020 site visit was conducted
virtually. Due to COVID only one visit onsite before the tour was possible; the Lead Monitor
visited in August 2020.
       The Monitors have consistently urged OPSO to put in place the necessary processes
and procedures to not only obtain compliance, but to sustain compliance. Such processes
and procedures would allow OPSO to provide adequate proof of compliance and assess
compliance with the Consent Judgment and its own policies and procedures and address
shortcomings without intervention of the Monitors. The Monitors have provided guidance as
to how to go about the various review functions and establish an inspection unit that would
operate independently of those whose performance would be assessed, but only minimal
progress has been made. For instance, OPSO does not have an electronic way of recording
security checks in the housing unit. In an effort to simplify the process, OPSO developed a
paper form on which to record security checks. While this provides an easier way for a
supervisor to see during a unit inspection if the deputy has recorded that the security checks
are being performed timely, it is insufficient proof that the security checks actually occurred
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and requires watching hours of video to verify. With the departure of the Independent
Compliance Director (ICD), a comprehensive audit and inspection unit is even more
important to finishing up the work to be done on compliance and sustaining compliance.
Equally important is adopting a culture where accountability is embraced as opposed to a
culture where there is a reluctance to address the deficiencies and, in some instances,
undermine the efforts of those whose job it is to provide information.
       During the monitoring period, the OPSO’s jail system was under the leadership of
Darnley R. Hodge, Sr., who was appointed by the Court on January 29, 2018, as the ICD on an
interim basis and was appointed to the position permanently on October 12, 2018. On
August 5, 2020, the Court terminated the appointment of the ICD at a date to be mutually
agreed upon by the Sheriff and ICD later. November 27, 2020 was the date agreed upon by
Sheriff Gusman and Director Hodge. Given that it was clear that the role of the ICD was
coming to an end, Director Hodge, and Sheriff Gusman collaborated more in the operation of
the jail. Sheriff Gusman resumed complete control of the operation of the jail on November
27, 2020. Byron LeCounte joined the OPSO administrative staff as the Chief of Corrections in
February 2019 and continues in that role.
       In summary, the Monitors find that safety, medical and mental health care, and
environment conditions of inmates held in both the Orleans Justice Center (OJC) and the
Temporary Detention Center (TDC) has made little improvement since Compliance Report
#12 provided to the Court on July 26, 2020. In some areas, compliance has backslid. Ratings
improved on eleven (11) provisions but regressed on nineteen (19) provisions. While some
of the regression is due to the strain put on the system by COVID, much is due to a failure to
follow the policies and procedures that have been put in place. The specific initiatives are
addressed in this report.

A.     Summary of Compliance
       The requirements of the Consent Judgment represent correctional practice
recognized as required for the operation of a Constitutional jail system. While there is some
flexibility for how OPSO addresses the mandates, achieving substantial compliance with the
Consent Judgment, and Stipulated Agreements are necessary to bring OPSO and its
correctional facilities into adherence with Constitutional requirements. The Consent
Judgment contains 174 separately rated provisions. While they are separately rated, they are
often intertwined. For example, effective implementation of a policy requires not only the
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drafting of a suitable policy, but appropriate training on the policy and enforcement of the
policy. Enforcement of the policy is contingent on assessing whether the policy is being
followed which requires supervision, analysis of incidents and data, and objective
confirmation of compliance. A meaningful annual review of the adequacy of the policy does
not just mean to determine whether the wording of the policy should be changed, but also
includes determining adherence to the policy and whether the objectives of the policy are
being met, which again requires objective data collection and analysis and development of
corrective action plans.

       Based on the current assessment, OPSO has regressed from Report #12 and now has
four provisions which are in non-compliance. Substantial compliance has been achieved for
64% of the provisions. Thirty-four percent (34%) of the provisions are in partial compliance.
Two percent of the provision are in non-compliance.
       Overtime, OPSO has made material progress as indicated by the movement of non-
compliance to partial compliance to substantial compliance for some provisions. At different
times during the duration of the Consent Judgment, there has been regression in the
progress towards compliance. One of those periods was shortly after OPSO transitioned into
the new jail. That was due to the failure to implement a transition plan which allowed for
hiring and extensive training of staff on the direct supervision model and a phasing in of the
movement into the OJC. As will be addressed in individual areas, OPSO has shown regression
from the progress reflected in Compliance Reports #10-12 in some provisions due to failure
to consistently follow and enforce policies and procedures.
       During the virtual site visit for Compliance Report #12, Chief LeCounte relayed recent
efforts to rely on in-depth analyses of data, including grievance data and use of force data to
determine policy adherence and develop action plans to address shortcomings and make
decisions. While there appears to be improvement in this area, lacking is a systematic
approach to making decisions and implementing and enforcing them. The same deficiencies
continued to be noted time and time again.
       Under the leadership of Director Hodge and Chief LeCounte, OPSO has spent the last
year and a half examining its strategies to obtain and sustain compliance and determining
the structural and organizational changes necessary to achieve compliance. It is past time for
implementation of those strategies. The first step to addressing these deficiencies is for the

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organization, as a whole, to embrace the need for improvement.
              Table 1 – Summary of Compliance – All Compliance Reports1
         Compliance       Substantial  Partial               Non-          NA/
        Report/Date       Compliance Compliance           Compliance       Other     Total
     #1 – December 2013        0         10                   85            76        171
     #2 – July 2014            2         22                  149             1        174
     #3 – January 2015         2         60                  110             2        174
     #4 – August 2015         12        114                   43             4        173
     #5 – February 2016       10         96                   63             4        173
     #6 – September 2016      20         98                   53             2        173
     #7 – March 2017          17         99                   55             2        173
     #8 – November 2017       23        104                   44             2        173
     #9 – June 2018           26         99                   46             2        173
     #10 – January 2019       65         98                    8             2        173
     #11 – September 2019    103         66                    5             0        174
     #12 – May 2020          118         56                    0             0        174
     #13-- November 2020     111         59                    4             0        174


The status of compliance (February 11, 2015 and April 22, 2015) is as follows:
            Table 2 – Status of Compliance with 2015 Stipulated Agreements

        Compliance     Substantial       Partial            Non-
                                                                             NA      Total
       Report/Date     Compliance      Compliance        Compliance
     August 2015          21               12                 1                  0    34
     February 2016        21               12                 1                  1    34
     September 2016       26                7                 1                  0    34
     March 2017           28                4                 1                  1    34
     November 2017         21              11                 1                  1    34
     June 2018            23                8                 2                  1    34
     January 2019         28                5                 0                  1    34
     September 2019       28                5                 0                  1    34
     May 2020             28                5                 0                  1    34
     November 2020        32                2                 0                  0    34
B.     Opportunities for Continued Progress
       The Monitors summarize below the areas identified in preparation of this report
regarding OPSO’s current level of compliance with the Consent Judgment.
1.     Foundational Work - The essential, core work required to achieve compliance
       includes:

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     • Policies and Procedures – OPSO has completed the essential policies and
       procedures. The Policy Manager has continued to review policies and perform
       updates. It was noted during the virtual site visit in advance of Report #12 that
       some of the policies do not match current practice. One in particular is the Use
       of Force Reporting policy. OPSO advised that it was scheduled for review and
       would be updated. The failure of policies to match current practice was again
       noted during site visit in advance of Report #13. Essential is the continued
       development, approval, and implementation of lessons plans that correspond
       with each of the policies. OPSO’s policy governing its written directive system
       has significantly improved the policy/ procedure process. This process allows
       for organizational components to develop specific operational practices for
       review by OPSO administration. Adherence to the policies, procedures, and
       training is essential. OPSO has yet to develop a reliable process for objective
       consistent auditing of adherence and consistent enforcement of policies.

     • Inadequate staffing – OPSO has continued to hire staff but has not been able to
       gain ground on vacancies due to the number of terminations and resignations.
       During calendar year, CY 2020, OPSO lost significant ground. Inadequate staff
       in the housing areas of the facilities (OJC and TDC) and the timely completion
       of use of force investigations continues to hamper OPSO’s ability to
       consistently comply with the Consent Judgment. OPSO continues to use
       employee overtime to address the staff shortages. Even with substantial
       overtime, frequently, there are housing units and control rooms with no
       assigned staffing. Further, almost daily, assigned staff leave housing units and
       control pods unattended for meal breaks and other duties. Recent promotions
       have helped to address the staffing deficiencies at the supervisory level. While
       a pay scale which provides for improvement in compensation with the goal of
       increased retention of staff and assistance in the recruitment efforts has been
       developed, a plan to secure the necessary funding and implement the pay scale
       has not been advanced. OPSO is strongly encouraged to review its deployment
       of staff. It is apparent that staff is not being deployed to the areas where the
       need is most critical, staffing the housing units.

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          • Training – Employee training for security staff, both pre-service and in-service,
             has become more in line with OPSO policies and procedures. Foundational
             work, such as preparation of lesson plans to provide for a consistent
             instruction content, instruction by qualified individuals, and demonstration
             and documentation of students’ knowledge gained, needs to continue.
             Providing a policy without training is not effective implementation. Once
             effective training has been provided, auditing of staff adherence to policies is
             essential. When non-adherence to policy is discovered on a consistent basis,
             training should be reviewed to determine whether revised and improved
             training would be beneficial. Given the lack of enforcement of policy by
             supervisors, additional training of supervisors in this area would be beneficial.

          • Supervision – Safe operation of OPSO’s facilities requires an adequate number
             of sufficiently trained first line and mid-management supervisors. A
             promotional process for sergeants and lieutenants was developed and
             implemented. The unit managers were reclassified as captains instead of
             lieutenants. This process has resulted in a significant reduction in vacancies at
             supervisory positions. OPSO is encouraged to finalize its organizational chart.
             Also lacking is a uniform and consistent process for evaluations of staff,
             particularly supervisory staff. Director Hodge implemented the unit
             management approach and provided training and mentoring for the managers.
             While there are benefits to a unit management system, the unit management
             system has blurred the lines of responsibility and accountability. Many times,
             during the site visit when asked about an apparent problem or lapse in
             security, the response from the supervisor was that they were not responsible
             for that area. It also appears that unit supervisors fail to properly train and
             supervise staff and enforce policies and are seldom held accountable for their
             failure.
2.    Medical and Mental Health Care – Several provisions in the areas of mental health
      have regressed. The Medical and Mental Health Monitors report challenges remain in
      the provision of basic care, staffing, and recordkeeping, as well as the need for
      improved collaboration with custody/security staffing. Security staff were found to
      be responsible for “suicide watch” during the site visit, but the deputies routinely
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       stated that they did not understand what their duties were to perform suicide
       watches. Resources from Tulane University continue to be particularly helpful in
       providing mental health care, but Tulane University is not responsible for many
       aspects of mental health care required by the Consent Judgment. An important part of
       the long-term solution to the lack of compliance with the Consent Judgment in the
       areas of medical and mental health is the design and construction of Phase III, a
       specialized building which will contain an infirmary and housing for inmates with
       acute mental health issues. However, the City did extensively renovate portions of
       TDC as a stop gap measure. OPSO has yet to fully occupy TDC and should do so
       immediately.
3.     Inmate Safety and Protection from Harm - Providing a safe and secure jail
       continues to be a challenge.
           • Unit Management—The Unit Management approach is being used in the
              supervision of the OPSO housing units. Each floor of the OJC, IPC, and TDC have
              been designated as a “unit”. The purpose of this strategy is to enhance
              accountability for both staff and the inmates by allowing the staff to get to
              know the inmates. The effectiveness of the Unit Management approach has
              been greatly hampered by the lack of development of inmate management
              plans for problematic inmates. It also has blurred the lines of responsibility
              and accountability as indicated above.
           • Violence – There were still significant incidents of violence occurring within
              the facilities during the monitoring period– including inmate on inmate
              assaults and assaults on staff. Especially concerning is that inmates continue to
              fashion weapons from items found in the jail. The items (such as the light
              supports in the utility closets) would be unavailable to them if the staff were
              following policies regarding supervision and limiting access. Disorder and
              non-compliance to the institutional rules cause staff to use force to gain
              control and compliance. There is inadequate use of de-escalation techniques
              before resorting to force. Seldom are mental health staff involved when de-
              escalation is attempted even though a large percentage of the inmates
              involved in a use of force are on the mental health caseload. There has been a
              decrease in substance abuse overdoses, but a large amount of prescription
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        medication and illicit drugs continues to be found during shakedowns. Three
        inmates died while in custody during the monitoring period: one by suicide
        and one involving the use of illicit drugs.
     • Inmate Classification – The inmate classification processes require continued
        attention to ensure housing decisions and placements are consistent with
        OPSO policies and objective classification principles. Credible auditing needs
        to focus on identifying issues and correcting placements. Of concern this
        monitoring period is the signing of waivers of inmates known to be enemies of
        each other and resulting decision to house them together.
     • Inmate grievances – As of Report #11, the ratings of the subdivisions in the
        grievance provision were individually given. The separate ratings allowed the
        areas in which deficiency existed to be highlighted. While timeliness and
        adequacy of responses is still not in substantial compliance, improvement
        continues. The trend data from the grievance system is now being used to
        identify problems to be addressed.
     • Incident Reporting –The accurate timely reporting of incidents has been a
        constant area of concern. There remain serious incidents for which no report
        or no timely report is prepared by OPSO staff, including incidents involving the
        serious injury of inmates. There continue to be reports which are incomplete
        and do not provide the necessary information for the reader to determine
        what occurred and why it occurred. It is particularly concerning that
        incomplete and sometime inarticulate reports have been reviewed by and
        approved by a supervisor. While the development of a corrective action plan
        to address was discussed which includes training and remedial action
        including discipline during the last monitoring tour, it has not been
        implemented.

     • Jail Management System – An integral part of the jail’s operational
        improvement is tied to an effective jail management system. Such capacity
        provides on-demand, routine, and periodic data to inform critical leadership
        and management decisions. Such an information system has not been
        implemented. After OPSO cancelled the contract with the provider who was to

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              supply a new JMS due to the inability to interface with the Orleans Parish court
              system, the City of New Orleans was to purchase a JMS which will interface
              with the Orleans Parish court system and the OPSO information systems.
              Despite passage of significant time, there is no definite timeline for that
              process. In the meantime, OPSO has modified its current system to provide
              more of the required JMS functions. One of the crucial areas lacking is a way to
              electronically verify that security checks are taking place in a timely fashion.
4.     Sanitation and Environment Conditions – Challenges remain regarding the public
       health and inmate/staff safety risks. During the site visit, inmates and staff were often
       seen not wearing their masks or wearing the masks in an improper manner. The
       COVID-19 pandemic has presented additional challenges for the extremely dedicated
       sanitation staff. The inability to fill support positions identified in OPSO’s staffing
       analysis negatively impacts the ability of OPSO to sustain compliance with the
       requirements of the Consent Judgment and align with accepted correctional practice.
       Sanitation and cleanliness of the cells and housing areas are not solely the
       responsibility of the sanitation staff. The unit managers and pod deputies have the
       first responsibility for ensuring inmates keep their cells and dayroom areas clean and
       uncluttered. During the monitoring tour, when sanitation concerns were called to the
       attention of pod deputies and supervisors, they often tried to explain them away by
       stating they have told the inmate to correct the issue. If true, follow through is clearly
       lacking.
5.     Youthful Inmates – The Monitors acknowledge and commend the educational
       program established in OJC. Provision of age-appropriate mental health services has
       improved with the addition of the Tulane University resources. Due to lack of
       adequate housing options, a female youthful inmate(s) must be housed alone in TDC;
       often by herself. This creates a double quandary; the young woman faces isolation
       and the OPSO staffing challenges are intensified. Recent efforts have been made to
       relocate all youthful inmates from the OJC to the Youth Study Center. While this is a
       welcome change, currently, one youthful offender is enough to tie up an entire
       housing unit. It is strongly suggested that the design of the Phase III facility address
       this issue.

6.     Inmate Sexual Safety – OPSO underwent its required audit of compliance with the
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       Prison Rape Elimination Act of 2003 (PREA) and passed in September 2019. Since
       that time, the sergeant who was assigned as the PREA Coordinator was moved from
       that assigned and reassigned to a housing area. The position has not been filled.
       Continued internal collaboration among OPSO security, classification, and the
       medical/mental health provider is needed for the assessments of inmates’ potential
       for sexual victimization and aggression. The necessity of separation of inmates testing
       positive for COVID-19 has resulted in the need for additional attention to inmates’
       PREA designation. Change in leadership of the supervisor over PREA investigations
       continues to be a concern.
7.     Compliance, Quality Reporting, and Quality Improvement – An essential element
       of inmate safety is OPSO’s timely review of all serious incidents as well as of non-
       violent incidents to determine if there are trends and/or patterns. This ensures
       assessment of root causes and then the development, implementation, and tracking of
       action plans to address the issues. This activity focuses on resolving problems. OPSO
       has made efforts to undertake this function but would benefit from a more robust
       effort. Especially concerning are systemic issues, which if remain unaddressed, will
       continue to create risks to institutional safety and security. While progress is noted,
       the Monitors encourage OPSO to dedicate more time and knowledgeable resources to
       quality improvement. Impediments include the lack of staff with the skills and/or
       time to devote to the task. Establishment of an Inspection/Accreditation Unit is
       suggested.
8.     Stipulated Agreements 2015 – OPSO should review its on-going compliance with
       the two Stipulated Agreements from 2015.
9.     Construction Projects –
           • The Docks – Construction of the renovations on the Docks has been completed.
              Due to COVID-19, almost all of the court dockets have either been
              discontinued or are conducted virtually. The Docks have not been used yet for
              court holding. OPSO is encouraged to review its operational plans in light of
              the likely need to separate COVID-19 positive inmates when court dockets
              resume. The Monitors continue to encourage OPSO to have a robust training
              plan for the operation of the Docks and to not take possession until all systems
              are in proper working order.
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           • TDC Mental Health – The renovation of two TDC housing areas (total of four
              units) has been completed. While the male inmates with acute mental illness
              were moved from Hunt into one of the housing units, during the monitoring
              period, the other inmates remained in OJC. OPSO has now made progress in
              relocating some the sub-acute male inmates and all sub-acute and acute
              female inmates to TDC. One unit remains unused except for COVID quarantine
              of female inmates. There is no requirement that this unit only be used for
              female inmates. OPSO is encouraged to staff the unit so that it can be used to
              house inmates who are currently on suicide watch in various housing areas of
              OJC. While TDC is not a suitable solution to meeting the requirements of the
              Consent Judgment as to medical and mental health services in the long run, it
              is a necessary interim step given no satisfactory housing for acute inmates in
              OJC. The operation of TDC Mental Health has revealed the necessity of single
              person cells for acute inmates which should be considered in the design of
              Phase III. It is important to note that TDC does nothing to address the lack of
              an infirmary and medical housing in OJC and lack of programming space.

           • Phase III – This project has progressed to the phase of drawing construction
              documents. The Monitors continue to urge the City to seek input on decisions
              from the various stakeholders and the Monitors. In early June 2020, it came to
              light that the City of New Orleans unilaterally stopped work on the project.
              The Monitors and other stakeholders were unaware of the stoppage as the City
              had not adhered to the agreement for quarterly executive committee meetings
              with all stakeholders. The construction and occupation of Phase III are critical
              to the provision of mental and medical health services in accordance with the
              Consent Judgment.
C.     Review Process of Monitors’ Compliance Report #13
       A draft of this report was provided to OPSO, Counsel for the Plaintiff Class, and the
Department of Justice (DOJ) on December 8, 2020. Comments were provided by OPSO,
Counsel for the Plaintiff Class, Wellpath (OPSO’s medical contractor) and DOJ on December
22, 2020. The parties exchanged their comments and were afforded the opportunity to
provide further comment and information to the Monitors on January11, 2021. The Monitors
considered the comments of the parties in finalizing Report #13.
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D.     Communication with Stakeholders
       The Monitors are committed to providing as much information as possible regarding
the status of OPSO’s efforts to comply with all orders of the Court. The
www.nolajailmonitors.org website came on-line in September 2014. Joining all other
reports, the finalized version of Compliance Report #13 will be posted on that site.
E.     Recommendations
       Over the years, the Monitors have provided multiple recommendations and
suggestions to OPSO to achieve and maintain compliance with the Consent Judgment. The
purpose of the recommendations continues to be to assist OPSO in achieving and
maintaining compliance. While much progress has been accomplished, many of the
recommendations made in the past have not been implemented. Only “new”
recommendations and suggestions are included within the body of this report. While the
Consent Judgment may not require, in all situations, that OPSO follow the recommendations
and suggestions of the Monitors, refusal to change is unlikely to result in compliance.

F.     Conclusions and Path Forward
       OPSO has been operating under the provisions of the Consent Judgment since June
2013; monitoring began in Fall 2013. During the past two years, under the leadership of
Director Hodge, significant improvements were acknowledged by the Monitors. The hiring of
Byron LeCounte as Chief of Corrections in February 2019 has been beneficial to the vital
work which remains to comply with the provisions of the Consent Judgment. His additional
expertise and experience allowed Director Hodge to focus on the Consent Judgment. The ICD
position has now been eliminated. It is now the sole responsibility of Sheriff Gusman to bring
OPSO into compliance with the Consent Judgment.
       Concerning is that the same issues continue to arise and are not being thoroughly
resolved. Serious incidents and harm to inmates continue to occur. OPSO has made efforts to
identify and address sources of contraband but the Monitors frequently encountered
inmates smoking in the facility and weapons have been found which had been fashioned
from materials within the jail such as the light supports in the utility closets. Illicit drugs and
prescription drugs that were not prescribed to the deceased were noted to be found in the
autopsy of an inmate who died in custody during the monitoring period. Dangerous
medication is frequently found during cell shakedowns suggesting that the medication

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distribution process is seriously flawed.
       There has been some improvement in OPSO’s data collection which should allow for
better problem solving with a goal of a sustainable reduction in inmate-on-inmate assaults,
inmate-on-staff assaults, uses of force, contraband, and property damage. However,
corrective action plans seldom are developed through analysis of the data and root cause
reviews. When they are developed, follow through on implementation is severely lacking,
especially at the Unit Manager level.
       The Monitors remain committed to the Court and the parties to collaborate on
solutions that will result in significant improvement towards compliance with the provisions
of the Consent Judgment and achievement of constitutional conditions.

 The Monitors again thank and acknowledge the leadership, guidance, and support of
        The Honorable Lance M. Africk and The Honorable Michael B. North.




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II. A.   Protection from Harm
Introduction
         This section of the Consent Judgment addresses core correctional functions including
the use of force (policies, training, and reporting), identification of staff involved in uses of
force through an early intervention system, safety and supervision of inmates, staffing,
incidents and referrals, investigations, pre-trial placement of inmates in the facility,
classification, the inmate grievance process, sexual safety of inmates, and inmates’ access to
information.
         The Consent Judgment requires that OPSO operate the facility to assure inmates are
“reasonably safe and secure.” Based on objective review of data, the facility has shown
improvement in inmate and staff safety, but significant incidents that result in serious injury
to inmates and staff continue to occur. Overly concerning is that inmates continue to fashion
weapons out of items in the jail. This would not be occurring it the facility was properly staff
and the staff were properly supervising the inmates.
         Reaching and sustaining compliance with provisions of the Consent Judgment,
particularly this section, relies on the collection, analysis, and corrective action planning
using accurate and reliable data. The Monitors encourage OPSO to continue efforts to build
its capacity to collect and analyze relevant accurate data, draw supportable conclusions to
inform decisions throughout the organization, develop corrective action plans, implement
corrective action plans, and hold staff accountable for non-adherence to corrective action
plans and policies. It is discouraging that OPSO often takes the position that it is not required
to analyze the data it is required to collect under the Consent Judgment or to develop a
corrective action plan based on the analysis. As OPSO’s capacity to collect, analyze, plan, and
implement is enhanced, the ability to achieve and maintain compliance will be strengthened.
Without an enhancement in capacity and dedication to making and implementing informed
decisions, OPSO is unlikely to achieve and maintain compliance and likely to regress.
         The Monitors reported in Compliance Report #9 about OPSO’s efforts to be much
more transparent in the reporting of incidents. A lieutenant assigned to the administrative
section reviews the daily medical logs for inmates taken to the clinic for treatment
subsequent to an altercation or a use of force as well as the transport logs of inmates routed
to the hospital with trauma-related injuries and cross checks them against reported
incidents. The lieutenant also compares the Watch Commander’s Log (which lists significant
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events and incidents occurring during the shift) and the incident reports to detect missing
reports. Comparison of the medical logs to the incidents calls into question whether all of the
inmates who are being seen by medical are being logged. What is not verified is whether an
inmate received medical attention as indicated in a particular report. Examination of the
walk-in logs often reveals that inmates who allegedly received medical attention are not on
the log. Whether this is due to an error in record keeping on the part of Wellpath or because
the inmate did not actually receive medical treatment as claimed is unknown at this time.
Another issue is the lack of reporting of inmates transported to the hospital for medical
emergencies. A continuing issue is the lack of meaningful consequences for supervisors and
deputies who fail to comply with the reporting policies resulting in late, incomplete, or
missing incident reports.
       The Monitors reviewed all reported incidents for CY 2020. The following charts
compare the totals for the calendar years (CY) 2018-2020. It should be noted that there was
a significant decrease in the number of incidents for May, September, and October 2020
which may be the result of reporting errors as opposed to an actual decline in reportable
incidents.
                 Table 3 - All OJC Reported Incidents for CY 2018-CY 2020




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              Inmate/ Inmate




                                                                                                                                                                  Inmate Medical
                                                                                                                     Internal Escape




                                                                                                                                                                  (AKA slip/falls/
                                                                                                                                                                   Inmate Injury/




                                                                                                                                                                                                                                    Misconduct/
                                                Use of Force
                                Inmate Staff




                                                                                                                                                                                     Contraband




                                                                                                                                                                                                            Staff Arrest




                                                                                                                                                                                                                                    Suspension
                                 Altercation




                                                                                                                                                                     overdoses)
                                                                                                       Attempt




                                                                                                                                              Criminal
                                                                                                       Ideation




                                                                                                                                              Damage
                                                                                                       Suicide/
                 Assault




                                                                                         Death




                                                                                                                                                                                                                                                     Other
                                                                         PREA




                                                                                                                                                                                                                                       Staff
      2018    442                64            260                       47              2               78          48                        69                    262             106                    3                           0            15
      2019    440               117            358                       42              0               82           6                        47                    145             302                    0                           0             6
      2020    309               139            372                       35              3               21           1                        64                    64              351                    0                           0             1


The number of inmate-staff altercations, use of force, and contraband in CY 2020 exceeded
both CY 2018 and CY 2019. This is despite the inmate population having decreased
significantly. The number of reported inmate on inmate assaults has declined, but it should
be noted that there is an increase of the use of weapons in the assaults resulting in serious
injuries. It should also be noted that not only has the inmate population has declined greatly
during the monitoring period, but that the movement of inmates in the units was greatly
curtailed due to COVID safety protocols.
          Table 4 –All OJC Reported Incidents by Type by Month CY 2018-CY 2020




                                                                                                                                                                          Septemb




                                                                                                                                                                                                                           Novemb




                                                                                                                                                                                                                                            Decemb
                                                                                                                                                                                                  October
                                                                                                                                                         August
                                                               March




                                                                                                                                                                                                                                                                Total
                                                                                April




                                                                                                              June
                                                                                                 May




                                                                                                                                       July
                                        Feb
                       Jan




                                                                                                                                                                          er




                                                                                                                                                                                                                           er




                                                                                                                                                                                                                                            er




   2018      92                 96             112                      121             124             144          116                      132                     112            113                     105                        129              1396
   2019      123                93             105                      112             127             148          131                      163                     107            153                     160                        123              1545
   2020      118               129             110                      125              95             150          111                      105                     77             92                      123                        125              1360




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Assessment Methodology
Dates of visits:
     • August 17-19, 2020
     • November 9-12, 2020
Materials reviewed:
   • Materials reviewed include the Consent Judgment, OPSO policies and procedures, use
        of force reports, incident reports, and investigations conducted by Investigative
        Services Bureau-Internal Affairs Division (ISB-IAD), investigations conducted by ISB-
        Criminal Division (ISB-Criminal), investigations conducted by ISB-Inmate Division,
        training materials, shakedown logs, and post logs.
Interviews:
     • Interviews included command staff, jail supervisors, commander of ISB, commander
        of IAD-Administrative, chief of investigations, chief of corrections, director of training,
        and various supervisors of units within ISB. Inmates were interviewed by the three
        Monitors onsite for the visit.

IV.A.1. Use of Force Policies and Procedures
A. 1.a. OPSO shall develop, implement, and maintain comprehensive policies and procedures (in
accordance with generally accepted correctional standards) relating to the use of force with particular
emphasis regarding permissible and impermissible uses of force.
A. 1.b. OPSO shall develop and implement a single, uniform reporting system under a Use of Force
Reporting policy. OPSO reportable force shall be divided into two levels, as further specified in policy:
Level 1 uses of force will include all serious uses of force (i.e., the use of force leads to injuries that are
extensive, serious or visible in nature, including black eyes, lacerations, injuries to the mouth or head,
multiple bruises, injuries to the genitals, etc.), injuries requiring hospitalization, staff misconduct, and
occasions when use of force reports are inconsistent, conflicting, or otherwise suspicious. Level 2 uses of
force will include all escort or control holds used to overcome resistance that are not covered by the
definition of Level 1 uses of force.
A. 1.c. OPSO shall assess, annually, all data collected regarding uses of force and make any necessary
changes to use of force policies or procedures to ensure that unnecessary or excessive use of force is not
used in OPP. The review and recommendations will be documented and provided to the Monitor, DOJ, and
SPLC.

Findings:
A. 1. a. Substantial Compliance
A. 1. b. Substantial Compliance
A. 1. c. Partial Compliance
Observations:
        The current OPSO use of force policy was effective as of May 2016. It was last
reviewed in May 2020. OPSO has conducted the 2019 annual review of available use of force

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data and the policy. OPSO analysis of the data has improved, but it is concerning that the
same issues such as poorly written reports, backlog in the number of use of force incidents
to be reviewed (there are cases dating back to 2018), high level of use of force on specialty
pods (particularly the discipline pod and the mental health pod), and the failure to faithfully
report uses of force continue, but no recommendations were documented and provided to
the Monitors and DOJ and counsel for the Plaintiffs. Identifying the problem is just the first
step in addressing the reoccurring issues. Examination of the use of force reports by the
Monitors revealed that often the use of force is precipitated by a failure to follow policy such
as not restraining the inmate prior to movement or allowing an inmate out of his/her cell
with another inmate(s) from whom he/she is to be kept separate. Incident reports most
often demonstrate a lack of de-escalation efforts as required by the Consent Judgment.
Seldom is mental health staff called upon to assist in de-escalation although a majority of the
inmates upon whom force is used are on the mental health caseload. In order to warrant a
rating of substantial compliance in A.1.c., OPSO needed to address the issues; not just
identify them. Until that is done, the compliance rating will remain at Partial Compliance.
Concerns regarding timeliness of submission of use of force report and reviews are
addressed in those sections.
IV. A. 2. Use of Force Training
A. 2. a. OPSO shall ensure that all correctional officers are knowledgeable of and have the knowledge,
skills, and abilities to comply with use of force policies and procedures. At a minimum, OPSO shall provide
correctional officers with pre-service and annual in-service training in use of force, defensive tactics, and
use of force policies and procedures. The training will include the following:
          (1) instruction on what constitutes excessive force;
          (2) de-escalation tactics; and
          (3) management of prisoners with mental illness to limit the need for using force.
A. 2. b. OPSO shall ensure that officers are aware of any change to policies and practices throughout their
employment with OPP. At a minimum, OPSO shall provide pre-service and annual in-service use of force
training that prohibits:
          (1) use of force as a response to verbal insults or prisoner threats where there is no immediate
          threat to the safety or security of the institution, prisoners, staff, or visitors;
          (2) use of force as a response to prisoners’ failure to follow instructions where there is no
          immediate threat to the safety or security of the institution, prisoners, staff, or visitors;
          (3) use of force against a prisoner after the prisoner has ceased to offer resistance and is under
          control;
          (4) use of force as punishment or retaliation; and
          (5) use of force involving kicking, striking, hitting, or punching a non-combative prisoner.
A. 2. c. OPSO shall randomly test five percent of the correctional officer staff on an annual basis to
determine their knowledge of the use of force policies and procedures. The testing instrument and policies
shall be approved by the Monitor. The results of these assessments shall be evaluated to determine the
need for changes in training practices. The review and conclusions will be documented and provided to
the Monitor
Findings:
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A. 2. a. Substantial Compliance
A. 2. b. Substantial Compliance
A. 2. c. Substantial Compliance
Observations:
       The Monitor reviewed the training materials and documentation and the
supplemental documentation submitted by training staff for the rating period. The Monitor
was able to randomly review staff training files maintained by the training staff. The proof
provided by the Academy staff regarding the annual training on use of force demonstrate
that the 8-hour use of force in-service training class was offered to all staff who come into
direct contact with inmates. Over 95% of the OJC and 100% of the TDC staff received the
required annual training. This is a commendable accomplishment by the Academy staff and
is a direct reflection of their willingness to adjust their schedules to facilitate training and of
the leadership of Chief LeCounte as he has made training a priority. Concerning is that two of
the individuals who were listed as remaining delinquent are unit managers who have been
involved in numerous uses of force including questionable uses of force.
       The Monitor has, in the past, observed the Academy staff maintained detailed,
comprehensive, and very well-maintained files. In response to our request for
documentation, the Academy staff provided succinct and thorough reports as to who had
and who had not completed the required use of force training.
       The Monitor’s review of the use of force training materials noted that the lesson plan,
PowerPoint presentation, and testing materials substantively cover the requisite
information in A. 2. c. 1-5. The proof of training documentation indicates that the OPSO staff
received the required training on policies and practices by the Academy staff. However, a
thorough review of the CY 2020 use of force reports reveals the need for additional training
which emphasize de-escalation and provide deputies with additional tools when dealing
with inmates with mental health issues and inmates who routinely exhibited behavioral
problems. Given some very problematic incidents in which staff observed inappropriate uses
of force and did not stop or report the same, it is strongly suggested that the duty to
intervene and report be emphasized.
       The Monitor reviewed training documentation provided by training staff specific to
the 5 percent annual testing requirement for this section. The testing for 2020 has not yet
been conducted. Training staff intends to test 15 percent of the staff. The test for 2020 has
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not yet been submitted for the annual approval of the testing instrument by the Monitor. The
analysis focused on simplifying the test rather than determining whether training required
revision to address any deficiencies in knowledge of policies. The Academy staff has
demonstrated proficiency in analyzing data. When drafting the next annual test, it is
recommended that the Academy staff coordinate with the Force Investigation Team (FIT)
regarding adherence to the use of force policy to include those portions in the test
instrument.
IV. A. 3. Use of Force Reporting
A.3 a. Failure to report a use of force incident by any staff member engaging in the use of force or
witnessing the use of force shall be grounds for discipline, up to and including termination.
A.3.b. OPSO shall ensure that sufficient information is collected on uses of force to assess whether staff
members complied with policy; whether corrective action is necessary including training or discipline; the
effectiveness of training and policies; and whether the conditions in OPP comply with this Agreement. At a
minimum, OPSO will ensure that officers using or observing a Level 1 use of force shall complete a use of
force report that will:
         (1)       include the names of all staff, prisoner(s), or other visual or oral witness(es);
         (2)       contain an accurate and specific account of the events leading to the use of force;
         (3)       describe the level of resistance and the type and level of force used, consistent with OPP
                   use of force; policy and procedure, as well as the precise actions taken by OPSO staff in
                   response to the incident;
         (4)       describe the weapon or instrument(s) of restraint, if any, and the manner of such use be
                   accompanied by a prisoner disciplinary report, if it exists, pertaining to the events or
                   prisoner activity that prompted the use of force incident;
         (5)       describe the nature and extent of injuries sustained by anyone involved in the incident;
         (6)       contain the date and time when medical attention, if any, was requested and actually
                   provided;
         (7)       describe any attempts the staff took to de-escalate prior to the use of force;
         (8)       include an individual written account of the use of force from every staff member who
                   witnessed the use of force;
         (9)       include photographs taken promptly, but no later than two hours after a use of force
                   incident, of all injuries sustained, or as evidence that no injuries were sustained, by
                   prisoners and staff involved in the use of force incident;
         (10)      document whether the use of force was digitally or otherwise recorded. If the use of force
                   is not digitally or otherwise recorded, the reporting officer and/or watch commander will
                   provide an explanation as to why it was not recorded; and
         (11)      include a statement about the incident from the prisoner(s) against whom force was used.
A.3.c. All officers using a Level 2 use of force shall complete a use of force report that will:
            (1)      include the names of staff, prisoner(s), or other visual or oral witness(es);
            (2)      contain an accurate and specific account of the events leading to the use of force;
            (3)      describe the level of resistance and the type and level of force used, consistent with OPP
                     use of force policy and procedure, as well as the precise actions taken by OPSO staff in
                     response to the incident;
            (4)      describe the weapon or instrument(s) of restraint, if any, and the manner of such use;
            (5)      be accompanied by a prisoner disciplinary report, if it exists, pertaining to the events or
                     prisoner activity that prompted the use of force incident;
            (6)      describe the nature and extent of injuries sustained by anyone involved in the incident;
            (7)      contain the date and time when medical attention, if any, was requested and actually
                     provided; and
            (8)      describe any attempts the staff took to de-escalate prior to the use of force.
A.3.d. OPSO shall require correctional officers to notify the watch commander as soon as practical of any
use of force incident or allegation of use of force. When notified, the watch commander will respond to the
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scene of all Level 1 uses of force. When arriving on the scene, the watch commander shall:
          (1)      ensure the safety of everyone involved in or proximate to the incident;
          (2)      determine if any prisoner or correctional officer is injured and ensure that necessary
                   medical care is provided;
          (3)      ensure that personnel and witnesses are identified, separated, and advised that
                   communications with other witnesses or correctional officers regarding the incident are
                   prohibited;
          (4)      ensure that witness and subject statements are taken from both staff and prisoner(s)
                   outside of the presence of other prisoners and staff;
          (5)      ensure that the supervisor’s use of force report is forwarded to IAD for investigation if,
                   upon the supervisor’s review, a violation of law or policy is suspected. The
                   determination of what type of investigation is needed will be based on the degree of the
                   force used consistent with the terms of this Agreement;
          (6)      If the watch commander is not involved in the use of force incident, the watch
                   commander shall review all submitted use of force reports within 36 hours of the end of
                   the incident, and shall specify his findings as to completeness and procedural errors. If
                   the watch commander believes that the use of force may have been unnecessary or
                   excessive, he shall immediately contact IAD for investigation consideration and shall
                   notify the warden or assistant warden; and
          (7)      All Level 1 use of force reports, whether or not the force is believed by any party to be
                   unnecessary or excessive, shall be sent to IAD for review. IAD shall develop and submit to
                   the Monitor within 90 days of the Effective Date clear criteria to identify use of force
                   incidents that warrant a full investigation, including injuries that are extensive or
                   serious, visible in nature (including black eyes, injuries to the mouth, injuries to the
                   genitals, etc.), injuries requiring hospitalization, staff misconduct (including
                   inappropriate relationships
                   with prisoners), and occasions when use of force reports are inconsistent, conflicting, or
                   otherwise suspicious.
A.3 e. Ensure that a first-line supervisor is present during all pre-planned uses of force, such as cell
extractions.
A.3.f. Within 36 hours, exclusive of weekends and holidays, of receiving the report and review from the
shift commander, in order to determine the appropriateness of the force used and whether policy was
followed, the Warden or Assistant Warden shall review all use of force reports and supervisory reviews
including:
           (1)     the incident report associated with the use of force;
           (2)     any medical documentation of injuries and any further medical care;
           (3)     the prisoner disciplinary report associated with the use of force; and
           (4)     the Warden or Assistant Warden shall complete a written report or written statement of
                   specific findings and determinations of the appropriateness of force.
A.3.g. Provide the Monitor a periodic report detailing use of force by staff. These periodic reports shall be
provided to the Monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement. Each report will include the following information:
           (1)     a brief summary of all uses of force, by type;
           (2)     date that force was used;
           (3)     identity of staff members involved in using force;
           (4)     identity of prisoners against whom force was used;
           (5)     a brief summary of all uses of force resulting in injuries;
           (6)     number of planned and unplanned uses of force;
           (7)     a summary of all in-custody deaths related to use of force, including the identity of the
                   decedent and the circumstances of the death; and
           (8)     a listing of serious injuries requiring hospitalization.
A.3.h. OPSO shall conduct, annually, a review of the use of force reporting system to ensure that it has been
effective in reducing unnecessary or excessive uses of force. OPSO will document its review and
conclusions and provide them to the Monitor, SPLC, and DOJ.
Findings:

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A. 3. a. Partial Compliance
A. 3. b. Partial Compliance
A. 3. c. Substantial Compliance
A. 3. d. Partial Compliance
A. 3. e. Substantial Compliance
A. 3. f. Partial Compliance
A. 3.g. Substantial Compliance
A. 3. h. Partial Compliance
Observations:
       As to provision A. 3. a., the use of force policy requires all uses of force to be reported
timely and completely and sets out the potential discipline if the policy is not followed.
Review of documentation revealed that there continues to be cases in which supervisors
failed to report force within a month of the incident and only did so as a result of being
instructed to file a report. There were many other untimely reports, but the period was less
than a month. While one month far exceeds the time period allowed by the Consent
Judgment, it is used to distinguish between a situation of untimeliness as opposed to failure
to report. No documentation of discipline was administered in any of these cases, not even as
much as written reprimand or verbal counseling. The only documentation provided was the
counseling of one deputy. It is important to note that the same supervisors who failed to file
reports on the uses of force during the last monitoring period failed to do so again. Once
again, one of the supervisors is the same supervisor mentioned in Compliance Report #11
who failed to report a deputy’s attempt to assault an inmate that required the deputy to be
restrained to protect the inmate. Having a policy which states that failure to report a use of
force shall be grounds for discipline, but not enforcing it continues to result in Partial
Compliance. A memorandum was provided that additional individuals are being considered
for discipline. If and when enforcement of the policy is demonstrated, the rating will be
reviewed. OPSO continues to argue that having a policy with the required learning is
sufficient for substantial compliance. Refusal by OPSO to recognize that practice must mirror
policy is an impediment to improvement and compliance.
       Provisions A. 3. b. remains in partial compliance due to the significant number of
incomplete/inadequate use of force reports. The use of force policy includes the provisions
required by the Consent Judgment, but adherence is inconsistent. The Monitor provided a
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checklist of the report requirements to assist supervisors in ensuring reports included all
necessary items. A review of those checklists and accompanying reports indicates that the
required information was frequently missing from the use of force reports such as what led
up to the incident, details of actions taken during the use of force, and resolution of the
incident. Seldom do reports include an articulation of any de-escalation tactics, description
of injuries sustained, and when medical attention was provided. As with the failure to timely
report all uses of force, deputies and supervisors are not consistently held accountable for
failure to include required information. Provision A. 3. c. requires less information as it is a
lesser level of force. Improvement warrants a Substantial Compliance rating.
       The unit managers and watch commanders still are not consistently compliant with
the requirements of the Consent Judgment (IV. A. 3. d.) as to their specific duties and the
time requirement for performance of these duties under the policies. This has been noted in
multiple reports. The Consent Judgment requires submission of the packet to the Assistant
Warden within 36 hours not three (3) days. OPSO’s insistence on this interpretation began
about three reporting periods ago and is inconsistent with the plain language of the Consent
Judgment and how the provision was applied for over five years. It is an example of seeking
to change the rules as opposed to striving to comply. Timeliness of the submission of the
packets continues to be severely lacks. Although improvement has been shown, adherence
to the information required to be included is often missing from the original packet which
requires it to be sent back to the supervisors for correction. Some improvement has been
made in the quality of the packets sent to FIT, but errors occur every week. Communication
between FIT and OJC leadership appears to have improved but the issues have not been
sufficiently addressed.
       A. 3. e. continues to be in substantial compliance due to the presence of a supervisor
for planned uses of force. One of the reasons for this provision is to allow for de-escalation to
be attempted before the force is carried out. OPSO supervisors are inconsistent in utilizing
de-escalation techniques.
       It appears that the Major assigned as the Unit Management Commander is fulfilling
the role of the Assistant Warden or Warden which was vacant for over a year. Policy should
be revised to reflect this change. The reviews, required under IV. A. 3. f., are being conducted
by this major. However, analysis indicates that the reviews required by this provision were
conducted timely less than 50% of the time, but this is an improvement. This provision
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remains in partial compliance. FIT issues a quarterly report which contains all the
information required by IV. A. 3. g. Thus, this section is in substantial compliance. The annual
review of use of force incidents as required by IV. A. 3. h. was provided to the Monitors and
all parties. It should be noted that the review is based on incomplete data due to the backlog
of cases to be reviewed by FIT. While the review contained a much-improved analysis and
confirmed the issues pointed out above, there was no corrective action plan to remedy the
systemic issues which continue to exist. In order to warrant a rating of substantial
compliance OPSO needed to address the issues; not just identify them. This is yet another
example of OPSO simply checking boxes as opposed to addressing problems. Therefore, the
compliance rating remains at partial compliance.
IV. A. 4. Early Intervention System (“EIS”)
A.4.a. OPSO shall develop, within 120 days of the Effective Date, a computerized relational database
(“EIS”) that will document and track staff members who are involved in use of force incidents and any
complaints related to the inappropriate or excessive use of force, in order to alert OPSO management to
any potential problematic policies or supervision lapses or need for retraining or discipline. The Chief of
Operations Deputy, supervisors, and investigative staff shall have access to this information and shall
review on a regular basis, but not less than quarterly, system reports to evaluate individual staff,
supervisor, and housing area activity. OPSO will use the EIS as a tool for correcting inappropriate staff
behavior before it escalates to more serious misconduct.
A.4.b. Within 120 days of the Effective Date, OPSO senior management shall use EIS information to
improve quality management practices, identify patterns and trends, and take necessary corrective action
both on an individual and systemic level. IAD will manage and administer EIS systems. The Special
Operations Division (“SOD”) will have access to the EIS. IAD will conduct quarterly audits of the EIS to
ensure that analysis and intervention is taken according to the process described below. Command staff
shall review the data collected by the EIS on at least a quarterly basis to identify potential patterns or
trends resulting in harm to prisoners. The Use of Force Review Board will periodically review information
collected regarding uses of force in order to identify the need for corrective action, including changes to
training protocols and policy or retraining or disciplining individual staff or staff members. Through
comparison of the operation of this system to changes in the conditions in OPP, OPSO will assess whether
the mechanism is effective at addressing the requirements of this Agreement.
A.4.c. OPSO shall provide, within 180 days of the implementation date of its EIS, to SPLC, DOJ, and the
Monitor, a list of all staff members identified through the EIS and corrective action taken.
A.4.d. The EIS protocol shall include the following components: data storage, data retrieval, reporting,
data analysis, pattern identification, supervisory assessment, supervisory intervention, documentation,
and audit.
A.4.e. On an annual basis, OPSO shall review the EIS to ensure that it has been effective in identifying
concerns regarding policy, training, or the need for discipline. This assessment will be based in part on the
number and severity of harm and injury identified through data collected pursuant to this Agreement.
OPSO will document its review and conclusions and provide them to the Monitor, who shall forward this
document to DOJ and SPLC.
Findings:
A. 4. a. Substantial Compliance
A. 4. b. Substantial Compliance
A. 4. c. Substantial Compliance

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A. 4. d. Substantial Compliance
A. 4. e. Substantial Compliance
Observations:
        Due to unreliability of the electronic EIS has been unreliable, OPSO abandoned the
original system and fashioned an alternative version within the AS400. A FIT staff member
manually monitors the database to alert FIT staff as to the need to review any uses of force
by a staff member.
        OPSO has improved its documentation to the Monitors as to the names of the staff
members who are flagged for uses of force, if a review is conducted, and any retraining
received, if required. Continued questionable and inappropriate uses of force by the same
staff members and with the same inmates calls into question whether the EIS is being
utilized to improve management quality practices, identify patterns and trends, and take
necessary corrective action as required by A. 4. b.
        The Use of Force Review Board met regularly and evaluated the 2019 data as
required for substantial compliance with IV. A .4. e. The inadequacies of the review are
addressed in other sections. It should be noted that the review was based on inadequate data
due to the backlog in FIT.
        While the EIS would ideally be part of the jail management system, as one does not yet
exist, the efforts made by OPSO to craft an alternative EIS warrant a rating of substantial
compliance on all provisions.
IV. A. 5. Safety and Supervision

A.5.a. Maintain security policies, procedures, and practices to provide a reasonably safe and secure
environment for prisoners and staff in accordance with this Agreement.
A.5.b. Maintain policies, procedures, and practices to ensure the adequate supervision of prisoner work
areas and trustees.
A.5.c. Maintain policies and procedures regarding care for and housing of protective custody prisoners
and prisoners requesting protection from harm.
A.5.d. Continue to ensure that correctional officers conduct appropriate rounds at least once during every
30- minute period, at irregular times, inside each general population housing unit and at least once
during every 15-minute period of special management prisoners, or more often if necessary. All security
rounds shall be documented on forms or logs that do not contain pre-printed rounding times. In the
alternative, OPSO may provide direct supervision of prisoners by posting a correctional officer inside the
day room area of a housing unit to conduct surveillance.
A.5.e. Staff shall provide direct supervision in housing units that are designed for this type of supervision.
Video surveillance may be used to supplement, but must not be used to replace, rounds by correctional
officers.
A.5.f. Increase the use of overhead video surveillance and recording cameras to provide adequate coverage
throughout the common areas of the Jail, including the Intake Processing Center, all divisions’ intake areas,
mental health units, special management units, prisoner housing units, and in the divisions’ common areas.
A.5.g. Continue to ensure that correctional officers, who are transferred from one division to another, are
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required to attend training on division-specific post orders before working on the unit.
A.5.h. Continue to ensure that correctional officers assigned to special management units, which include
youth tiers, mental health tiers, disciplinary segregation, and protective custody, receive eight hours of
specialized training regarding such units on prisoner safety and security on at least an annual basis.
A.5.i. Continue to ensure that supervisors conduct daily rounds on each shift in the prisoner housing units
and document the results of their rounds.
A.5.j. Continue to ensure that staff conduct daily inspections of cells and common areas of the housing
units to protect prisoners from unreasonable harm or unreasonable risk of harm.
A.5.k. Continue to ensure that staff conduct random monthly shakedowns of cells and common areas so
that prisoners do not possess or have access to dangerous contraband.
A.5.l. Provide the Monitor a periodic report of safety and supervision at the Facility. These periodic reports
shall be provided to the monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. Each report will provide the following information:
           (1)     a listing of special management prisoners, their housing assignments, the basis for
                   them being placed in the specialized housing unit, and the date placed in the unit; and
           (2)     a listing of all contraband, including weapons seized, the type of contraband, date of
                   seizure, location, and shift of seizure.
Findings:
A. 5. a. Partial Compliance
A. 5. b. Substantial Compliance
A. 5. c. Substantial Compliance
A. 5. d. Partial Compliance
A. 5. e. Partial Compliance
A. 5. f. Substantial Compliance
A. 5. g. Substantial Compliance
A. 5. h. Substantial Compliance
A. 5. i. Partial Compliance
A. 5. j. Partial Compliance
A. 5. k. Partial Compliance
A. 5. l. Partial Compliance
Observations:
        OPSO has worked hard to finalize policies, procedures, and post orders. The
implementation of those policies, procedures, and practices and the adequate supervision of
inmate working areas results in substantial compliance as to A. 5. b. and c. The level of
violence, an average of 25 inmate on inmate assaults/altercations per month and 11 assaults
on staff per month despite the reduction in inmate population, are indicative that OPSO has
not substantially complied with the requirement that the facility be reasonably safe for staff
and inmates. It is concerning that OPSO began, unbeknownst to the Monitors, the practice of
allowing inmates to sign waivers regarding known enemies and housing them together.

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After this practice and OPSO refusal to provide the necessary documentation to allow the
Monitors to assess the results of this ill-advised practice was pointed out in the draft of this
report, the Chief of Corrections ordered the practice ceased until it was properly vetted as
required by the Consent Judgment. The challenges of developing credible training lesson
plans, recruiting staff, training staff, remediating staff who do not have the required level of
proficiency, and supervising employees to hold them accountable for not following policy
remains.
         OPSO made significant progress under the leadership of the ICD and his initiation of
unit management to assist in the daily supervision of housing units and increase
accountability. However, review of the CY 2020 significant incidents indicates that the
failure of staff to follow policy consistently continues to be a serious impediment to effective
supervision of the inmates. Staff continue to leave inmates unsupervised and allow them to
have access to materials by which to fashion weapons. Many of the inmate-on-inmate
assaults occur because staff allow inmates out of their cells who are to be kept separate from
each other. There are inmates who repeatedly do not follow the rules of OJC including
assaulting other inmates, assaulting staff, destroying property, and/or threatening self-harm.
One way of dealing with those inmates is developing individual inmate management plans
which Director Hodge indicated he instructed the Unit Managers to develop. Such plans, if
done routinely and consistently followed by all staff, would likely reduce the level of violence
in the facility. To date, there is no indication that it is being done on a consistent basis; if at
all.




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                     Table 5 CY 2018-CY 2020 OJC Reported Incidents




       OPSO still does not consistently conduct and document security rounds (30 minutes
or 15 minutes depending on the unit) nor perform direct supervision surveillance consistent
with the requirements of the Consent Judgment or OPSO policy.

       Direct supervision requires surveillance of all of the inmates and cannot be properly
performed by sitting behind a desk or in the control module. It requires walking around the
unit, looking into the individual cells, and actively engaging with the inmates. Use of
designated mandatory assignments has improved the consistency of staffing within those
units, but for other units staffing was routinely inadequate or inconsistent throughout the
shift. Review of incident reports revealed that units were often unstaffed, including
mandatory posts. If staff are not present, it impossible to make the required rounds. The staff
is now writing their rounds on paper forms in addition to entry into the log. No proof of
compliance has been provided. OPSO remains in partial compliance with IV. A. 5. d.
       Due to unreliability of the TourWatch system, OPSO reverted to paper logs and now

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to a separate form on which rounds are to be recorded. While the current OPSO policy
requires supervisors, up to the level of Watch Commander, to review the paper logs and
forms to ensure rounds are being conducted, OPSO has not audited compliance with this
policy. OPSO continues to take the position that it is not required to audit compliance. Such a
position missed the point. OPSO has written policies but has not put in the place a system to
measure whether the policies are being followed and to provide proof of compliance or
address deficiencies. There was documentation of counseling of sergeants and lieutenants
provided for not completing the review and/or approving the security round form despite it
clearly showing the security rounds had not been completed. A review of the paper logs and
forms during the monitoring tour revealed that timely rounds were often not performed.
OPSO should consider a reliable system that would allow for rounds, by both deputies and
supervisors, to be recorded electronically. Not only would it allow for supervisors to quickly
determine whether rounds were being conducted timely, it would allow for OPSO to prove
compliance and address non-adherence.
       All twenty-four (24) of the housing units in OJC are designed for direct supervision. At
the time of the drafting of the Consent Judgment the design of OJC was known. The Consent
Judgment requires that staff shall provide direct supervision in housing units that are
designed for this type of supervision. Thus, continual presence of a deputy in each housing
unit at OJC and TDC is mandatory under the Consent Judgment. OPSO, during the last several
reports, has taken the position that OPSO gets to determine which housing posts are
mandatory and routinely does not assign mandatory staff to each housing unit between 50%
to 75% of the time. In addition, deputies are frequently absent from even the housing units
designated by OPSO as mandatory. Often, especially on 2nd squad, one deputy is assigned to
two housing units. OPSO’s recent interpretation of the Consent Judgment is inconsistent with
the plain wording of the Consent Judgment and the manner in which it has been applied by
the Monitors since its inception. It is impossible to conduct direct supervision if not present
in the housing unit. Thus, IV. A. 5. e. remains in partial compliance.
       Regarding overhead video surveillance and recording cameras for OJC (A.5.f.),
significant repairs were made to the recording system. There are still times when a
nonfunctional camera is discovered when a supervisor or an investigator tries to retrieve the
videos. OPSO needs to continue to audit the system by having a supervisor test the various
cameras on a monthly basis and preparing a report for the Chief of Security. IV. A. 5. f.
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continues to be in substantial compliance. A problem with supervisors not pulling video as
required by the Use of Force policy was noted.
       Documentation was provided that staff transferred from other divisions to work in
the OJC received the required training; thus, IV. A. 5. g. is in substantial compliance. Proof of
training for the specialized units was provided; IV. A. 5. h. is now in substantial compliance.
Given the high level of incidents in the specialized units, it is recommended that the training
be reviewed, and deficiencies addressed.
       Documentation is lacking that supervisors consistently conduct daily rounds during
this compliance period; thus, IV. A. 5. i. continues to be in partial compliance. Supervisors are
not required to sign off on the round sheet completed by the pod deputy, but this does not
provide proof that the supervisor conducted daily rounds. The daily inspections of housing
units as required by VI. A. 5. j. has improved but are still only in partial compliance. With the
introduction of unit management, unit managers and deputies were required to conduct
daily inspections. However, by OPSO’s own admission, the inspections have not been
conducted daily. The daily inspection required by the Consent Judgment is not the same as
the observations made on rounds. Chief LeCounte has recently implemented a procedure
which should correct this issue. It is concerning that neither the inspections by the deputies
or the supervisors resulted in the discovery of the destruction of items that are part of the
jail to fashion weapons. It is essential that the inspections be thorough and that corrective
actions are taken to address the inspection findings.
       Monthly shakedowns were not conducted in substantial compliance with VI. A. 5.k.
The data provided indicates that shakedowns were not conducted in substantial compliance
during five of the six months during the monitoring period. The number of incident report
concerning contraband increased significantly in 2020. An analysis of the reports reflects
that it is likely due to the increase in contraband in the facility as opposed to being a result of
more frequent and effective contraband shakedowns. The review of contraband reports
clearly indicates reoccurring issues. There continues to be a serious issue of inmates
hoarding medication. Reports demonstrate that inmates are fashioning weapons out of items
in the jail which are then used to assault other inmates. Reports and the site visit reveal that
inmates are smuggling in marijuana and hallucinogens to smoke. Some of these items come
through the mail, but there is a significant issue of staff smuggling in contraband. This
indicates the need to analyze the data and develop a corrective action plan to reduce, if not
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stop, the hoarding of medication, the fashioning of weapons, and the flow of contraband into
the facility.
        The proof tendered regarding shakedowns indicates that the performance of
shakedowns has fallen below substantial compliance. Given the amount of contraband
encountered during the site visit by the Monitors, this is particularly concerning. A. 5. k. is
now in Partial Compliance. The documentation provided for A. 5. l. does not cover the entire
monitoring period nor include all of the required information. Thus, A. 5. l. is in Partial
Compliance.
IV. A. 6. Security Staffing
A.6.a. OPSO shall ensure that correctional staffing and supervision is sufficient to adequately supervise
prisoners, fulfill the terms of this Agreement, and allow for the safe operation of the Facility, consistent
with constitutional standards.
          (1)       OPSO shall achieve adequate correctional officer staffing in the following manner:
                    Within 90 days of the Effective Date, develop a staffing plan that will identify all posts
                    and positions, the adequate number and qualification of staff to cover each post and
                    position, adequate shift relief, and coverage for vacations. The staffing plan will ensure
                    that there is adequate coverage inside each housing and specialized housing areas and
                    to accompany prisoners for court, visits and legal visits, and other operations of OPP
                    and to comply with all provisions of this Agreement. OPSO will provide its plan to the
                    Monitor, SPLC, and DOJ for approval. The Monitor, SPLC, or DOJ will have 60 days to
                    raise any objections and recommend revisions to the staffing plan.
          (2)       Within 120 days before the opening of any new facility, submit a staffing plan consistent
                    with subsection (1) above.
          (3)       Within 90 days after completion of the staffing study, OPSO shall recruit and hire a full-
                    time professional corrections administrator to analyze and review OPP operations. The
                    professional corrections administrator shall report directly to the Sheriff and shall have
                    responsibilities to be determined by the Sheriff. The professional corrections
                    administrator shall have at least the following qualifications: (a) a bachelor’s degree in
                    criminal justice or other closely related field; (b) five years of experience in supervising
                    a large correctional facility; and (c) knowledge of and experience in applying modern
                    correctional standards, maintained through regular participation in corrections-
                    related conferences or other continuing education.
          (4)       Provide the Monitor a periodic report on staffing levels at the Facility. These periodic
                    reports shall be provided to the Monitor within four months of the Effective Date; and
                    every six months thereafter until termination of this Agreement. Each report will include
                    the following information:
                         i. a listing of each post and position needed;
                        ii. the number of hours needed for each post and position; a listing of staff hired and
                            positions filled;
                      iii. a listing of staff working overtime and the amount of overtime worked by each
                            staff member;
                       iv. a listing of supervisors working overtime; and
                        v. a listing of and types of critical incidents reported
A.6.b. Review the periodic report to determine whether staffing is adequate to meet the requirements of
this Agreement. OPSO shall make recommendations regarding staffing based on this review. The review
and recommendations will be documented and provided to the Monitor.
Findings:
A. 6. a. Partial Compliance

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A. 6. b. Partial Compliance
        An overall rating of A. 6. was provided in the previous reports. This was inconsistent
with the other introductory paragraphs and has now been discontinued.
Observations:
        The level of staffing is insufficient to adequately supervise inmates and allow for the
safe operation of the facility. There has been insufficient security staff for over the past few
monitoring periods, but it has now risen to the level where the extensive use of overtime is
not enough to overcome the vacancies in security staff. OPSO’s staffing reports document
that mandatory posts are not filled on a consistent basis. Numerous incident reports and
investigations that reveal posts were not constantly staffed which resulted in increased
violence. Efforts have been attempted to reassign some staff from areas that had excess staff
but have not addressed the problem. Lacking is a coordinated effort on the utilization of
overtime and redeployment of staff to ensure the mandatory posts are covered on a
consistent basis. During the monitoring tour, deputies indicated they were working overtime
not because they had been assigned or authorized, but because they needed the money. The
deployment of staff is sufficiently inconsistent and insufficient to result in A. 6. a. (1) and IV.
A. 6. a. (2) being in partial compliance. Provision IV. 6. a. (3) is in substantial compliance with
the hiring of Byron LeCounte as the Chief of Corrections as of February 19, 2019. Paragraph
IV. 6. a. (4) is in substantial compliance, as monthly reports are produced to document hiring
and termination of employees. The Stipulated Agreement also provides for bi-monthly
reports regarding hiring. Paragraph 7.a. of the Stipulated Agreement of February 11, 2015
requires monthly reporting. Given the importance of the actual implementation of an
approved staffing plan, A. 6. a. is in partial compliance.
        OPSO is in partial compliance with A. 6. b. as OPSO has not provided a periodic review
of the staffing plan. Discussion during the monitoring tour indicated that a plan exists, but it
has not been finalized or submitted to the Monitors. A staffing plan which is based on
staffing levels which do not exist is insufficient
IV. A. 7. Incidents and Referrals

A.7.a. OPSO shall develop and implement policies that ensure that Facility watch commanders have
knowledge of reportable incidents in OPP to take action in a timely manner to prevent harm to prisoners
or take other corrective action. At a minimum, OPSO shall do the following:
A.7.b. Continue to ensure that Facility watch commanders document all reportable incidents by the end
of their shift, but no later than 24 hours after the incident, including prisoner fights, rule violations,
prisoner injuries, suicide attempts, cell extractions, medical emergencies, found contraband, vandalism,

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escapes and escape attempts, and fires.
A.7.c. Continue to ensure that Facility watch commanders report all suicides and deaths no later than
one hour after the incident, to a supervisor, IAD, the Special Operations Division, and medical and mental
health staff.
A.7.d. Provide formal pre-service and annual in-service training on proper incident reporting policies
and procedures.
A.7.e. Implement a policy providing that it is a disciplinary infraction for staff to fail to report any
reportable incident that occurred on his or her shift. Failure to formally report any observed prisoner injury
may result in staff discipline, up to and including termination.
A.7.f. Maintain a system to track all reportable incidents that, at a minimum, includes the following
information:
           (1)      tracking number;
           (2)      the prisoner(s) name;
           (3)      housing classification and location;
           (4)      date and time;
           (5)      type of incident;
           (6)      injuries to staff or prisoner;
           (7)      medical care;
           (8)      primary and secondary staff involved;
           (9)      reviewing supervisor;
           (10)     external reviews and results;
           (11)     corrective action taken; and
           (12)     administrative sign-off.
A.7.g. Ensure that incident reports and prisoner grievances are screened for allegations of staff
misconduct, and, if the incident or allegation meets established criteria in accordance with this Agreement,
it is referred for investigation.
A.7.h. Provide the Monitor a periodic data report of incidents at the Facility. These periodic reports shall
be provided to the Monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement.
A.7.i. The report will include the following information:
           (1)      a brief summary of all reportable incidents, by type and date;
           (2)      a description of all suicides and in-custody deaths, including the date, name of prisoner,
                    and housing unit;
           (3)      number of prisoner grievances screened for allegations of misconduct; and
           (4)      number of grievances referred to IAD or SOD for investigation.
A.7.j. Conduct internal reviews of the periodic reports to determine whether the incident reporting
system is ensuring that the constitutional rights of prisoners are respected. Review the quarterly report to
determine whether the incident reporting system is meeting the requirements of this Agreement. OPSO
shall make recommendations regarding the reporting system or other necessary changes in policy or
staffing based on this review. The review and recommendations will be documented and provided to the
Monitor.
Findings:
A. 7. a. Substantial Compliance
A. 7. b. Partial Compliance
A. 7. c. Substantial Compliance
A. 7. d. Substantial Compliance
A. 7. e. Partial Compliance
A. 7. f. Substantial Compliance
A. 7. g. Substantial Compliance
A. 7. h. Substantial Compliance
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A. 7. i. Substantial Compliance
A. 7. j. Substantial Compliance
Observations:
       OPSO has long had a policy on incidents and referrals that sets out the process for
documenting and referring incidents. What has been lacking is a sufficient process to ensure
all reportable incidents are being documented and that all incident reports are complete,
prompt, and accurate. OPSO has backslid in its timeliness of the reporting of incidents. OPSO
was warned in Report #12 that a failure to continue improvement in the timely reporting of
incident might result in a finding of partial compliance. As the opposite of improvement was
shown, IV. A. 7. b. is now back in partial compliance. Review of the incident reports indicates
that between 25-50% of the incident s are not timely reported.
       One of the methods for determining whether incidents are reported is to review
“routes” of inmates with serious medical or trauma injuries to the hospital emergency and
the OPSO clinic walk-in logs. The lieutenant who was assigned these duties has been
reassigned to another position but is continuing to perform this function. This function used
to be performed by the Monitors. OPSO has implemented a process where a lieutenant
performs this function and follow up on missing reports. This is an example of OPSO
incorporating processes which allow OPSO to audit its compliance.
       What continues to be lacking is holding the supervisors and security staff accountable
for the late reports. No documentation was provided of accountability in the form of
counseling or discipline was presented. Having a policy on paper, but not enforcing it in
practice is insufficient for substantial compliance. Therefore, IV. A. 7. e. is in partial
compliance.
       During this reporting period, there were three deaths, and serious attempts at suicide
and they were reported within an hour to the proper persons: thus IV. A. 7. c. is in
substantial compliance. Annual training was provided on incident reporting, and
documentation indicates that staff were required to attend; IV. A. 7. d. is in substantial
compliance. OPSO has transitioned to the AS 400 system to track the information required in
IV. A. 7. f. and is now in substantial compliance. While OPSO makes little use of the
information, that failure is reflected elsewhere. In substantial compliance with A. 7. g.,
incidents, and grievances are reviewed for misconduct and referred for investigation where
appropriate. The Monitors were provided a semi- annual report of incidents, that now, with
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the supplementation by the daily/weekly reports, which contains all of the required
information and, thus, IV. A. 7. h. and i. are in substantial compliance. OPSO performed an
assessment of whether the reporting system is meeting the requirements of the Consent
Judgment and is given substantial compliance for IV. A. 7. j. as OPSO is now addressing the
lack of timeliness. However, to maintain substantial compliance, future assessments of the
reporting system will need to be more robust and refined.
IV. A. 8. Investigations
A.8.a. Maintain implementation of comprehensive policies, procedures, and practices for the timely and
thorough investigation of alleged staff misconduct, sexual assaults, and physical assaults of prisoners
resulting in serious injury, in accordance with this Agreement. Investigations shall:
           (1)    be conducted by persons who do not have conflicts of interest that bear on the partiality
                  of the investigation;
           (2)    include timely, thorough, and documented interviews of all relevant staff and prisoners
                  who were involved in or who witnessed the incident in question, to the extent practicable;
                  and
           (3)    include all supporting evidence, including logs, witness and participant statements,
                  references to policies and procedures relevant to the incident, physical evidence, and
                  video or audio recordings.
A.8.b. Continue to provide SOD and IAD staff with pre-service and annual in-service training on
appropriate investigation policies and procedures, the investigation tracking process, investigatory
interviewing techniques, and confidentiality requirements.
A.8.c. Ensure that any investigative report indicating possible criminal behavior will be referred to
IAD/SOD and then referred to the Orleans Parish District Attorney’s Office, if appropriate.
A.8.d. Provide the Monitor a periodic report of investigations conducted at the Facility. These periodic
reports shall be provided to the Monitor within four months of the Effective Date; and every six months
thereafter until termination of this Agreement.
A.8.e. The report will include the following information:
           (4)     a brief summary of all completed investigations, by type and date;
           (5)     a listing of investigations referred for administrative investigation;
           (6)     a listing of all investigations referred to an appropriate law enforcement agency and the
                   name of the agency; and
           (7)     a listing of all staff suspended, terminated, arrested, or reassigned because of
                   misconduct or violations of policy and procedures. This list must also contain the
                   specific misconduct and/or violation.
A.8.f. OPSO shall review the periodic report to determine whether the investigation system is meeting the
requirements of this Agreement and make recommendations regarding the investigation system or other
necessary changes in policy based on this review. The review and recommendations will be documented
and provided to the Monitor.
Findings:
A. 8. a. Substantial Compliance
A. 8. b. Substantial Compliance
A. 8. c. Substantial Compliance
A. 8. d. Substantial Compliance
A. 8. e. Substantial Compliance
A. 8. f. Substantial Compliance
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Observations:
       The Investigative Services Division (ISB) is responsible for: the Criminal Investigation
Division (investigates possible criminal activity by inmates), Internal Affairs Division-
Criminal (investigates possible criminal activity by staff), the FIT (investigates use of force
by staff), the Internal Affairs Division-Administrative (investigates possible violation of
policies by staff), and the Intelligence Unit (provides information and intelligence regarding
activities that have taken place or may take place in the jail or support activities).
       While there is evidence of substantial compliance provided for IV. A. 8. a., the
timeliness of investigations involving in custody deaths and use of force threatens the rating.
The three most experienced investigators resigned in 2020 and the lack of experience of
those replacing them is evident in the quality of the death investigations. The FIT supervisor
has recently been terminated and a supervisor who is not familiar with FIT has been
assigned to replace him. It is strongly encouraged that these individuals receive extensive
additional training. Improvements in all other areas from hiring, training, supervision, and
adequate staffing will enhance the safety of staff and inmates and, ultimately, decrease the
workload of ISB.
       The Monitor acknowledges that investigating incidents of inmate-on-inmate assaults,
sexual assaults, staff on inmate assaults, etc. with a goal of seeking indictments is
appropriate; but the overall goal is to create a safe jail. In a jail setting, investigations play a
critical role in protecting inmates from inappropriate or illegal staff actions, protecting
inmates from each other, and correcting policy, practice, supervision, and training.
Continued emphasis is needed on the goal of investigations to prevent future incidents
through analysis of the policy, procedures, training, supervision, and physical plant
contributors to the incident. This function cannot and should not be performed by ISB alone.
This level of assessment requires input from individuals who have a high level of experience
in jail/corrections work. In short, it requires collaboration between ISB and OJC which
continues to be wanting. While collaboration has improved, there is still insufficient follow
through by the OJC staff. For instance, ISB discovered that the source of dangerous
contraband being used to shatter windows originated in the utility closets on the housing
units. Inmates were literally taking the jail apart to fashion weapons. The failure of staff to
keep the utility closets locked and to supervise inmates when allowed access to the utility
closets is an issue which has been raised by the Monitors since the occupation of OJC. In fact,
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during this monitoring tour, utility closets were discovered to be unsecured.
        Supervision of sexual assault investigations was added to the duties of the FIT
supervisor when the Lieutenant who was responsible for IAD-Criminal investigations
resigned earlier this year. The quality of the investigations will continue to be monitored.
        ISB has not demonstrated training related to the investigative skills has been
provided during 2020. As the deadline for providing the information has not yet passed, IV.
A. 8. b. will remain in substantial compliance. It is encouraged that appropriate skill specific
training be provided.
        Investigations which reveal potential criminal activity are referred to the Orleans
Parish District Attorney’s Office in substantial compliance with A. 8. c. ISB provides reports
in substantial compliance with IV. A. 8. d. and e. ISB reviewed the investigation system to
determine whether the investigation system complies with the requirements of the Consent
Judgment and forwarded any recommendations to the Monitors in substantial compliance
with IV. A. 8. f.
IV. A. 9. Pretrial Placement in Alternative Settings
A.9.a. OPSO shall maintain its role of providing space and security to facilitate interviews conducted pursuant to
the City’s pretrial release program, which is intended to ensure placement in the least restrictive appropriate
placement consistent with public safety.
A.9.b. OPSO shall create a system to ensure that it does not unlawfully confine prisoners whose sole detainer is by
Immigration and Customs Enforcement (“ICE”), where the detainer has expired.
Findings:
A. 9. a. Substantial Compliance
A. 9. b. Substantial Compliance
Observations:
        OPSO provided a memorandum noting that the pretrial program is managed by the
Criminal District Court, and that space is provided. OPSO also provided a memorandum that
ICE detainers are only accepted for a specified list of offenses. OPSO has not detained any
individuals under an ICE detainer during the monitoring period.

IV. A. 10. Custodial Placement within OPP
Introduction:
        OPSO has designed, validated, and implemented an objective classification system to
assess and house each OPSO inmate according to his/her risks posed to institutional safety
and security. The automated classification system was rolled out in the Jail Management


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System (JMS) on January 15, 2015.1 The OPSO staffing plan set the classification unit staff
FTEs at 18. As of November 12, 2020, the Classification Unit staffing was 13 -- 12 civilian
classification specialists and a classification manager. However, two of the classification
specialists were on medical leave. Thus, the active roster included only 11 classification
specialists and the classification manager. During this compliance period, two (2)
classification specialists resigned. An individual slated for the classification unit is currently
enrolled in the OPSO Training Academy. However, given the relatively low average daily
population (ADP) during this compliance period, low activity of the courts, and reduced
admissions during this compliance period, staffing for the classification unit appears to be
adequate. This reduced staffing level will be re-evaluated as these factors change. No formal
training was provided to the OPSO classification staff during this compliance period.
        An automated housing assignment process (HUAP) identifies housing options for
inmates according to their custody level, gender, special population status, PREA
designations, enemies, and associates. The classification specialist selects from the potential
housing locations to match the inmates by age, crime/criminal history, custody level, and
PREA designations. Special population tags identify inmates for suicide observation versus
suicide watch, medical housing/isolation, academic education, or special diets.
        Throughout this compliance period, the OPSO revised its housing matrix on multiple
occasions. Updates reflected fluctuations in the demand for specialized intake housing units
(IPC Non-Symptomatic Roll-Ins), isolation pods for individuals exposed to COVID-19, other
special populations (medical, mental health, disciplinary, administrative segregation, and
protective custody), and of course, the general population. OJC pods 1A – 1E were
designated as COVID-19 non-symptomatic intake housing for men; 3-F served as the intake
housing for non-symptomatic women. OJC 1-F and TDC B3-E served as quarantine housing
for individuals positive for COVID-19. The OPSO Housing Matrix was expanded to include the
new mental health units within TDC -- TMH B2 A & B.
        Population fluctuations and isolation related to COVID-19 requirements created
additional demands on the Classification Unit for housing transfers within a seemingly ever-
changing housing matrix. An extra layer of complexity to the housing process was added to


1Hardyman, Patricia L. (2015). “Design and Validation of an Objective Classification System for the Orleans
Parish Sheriff’s Office: Final Report.” Hagerstown, MD: Criminal Justice Institute, Inc.

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separate individuals by admission date, custody level, and PREA designation within a cell.
Individuals of all custody levels, PREA designations, and special population tags (medical,
mental health, administrative segregation, disciplinary, and protective custody) are housed
in the IPC Roll-In and isolation units. The ISI is not used for either the general population or
special management units.2 OPSO attempts to maintain separations within the mixed
custody and COVID-19 populations units by the cell assignments.
        In August 2020, OPSO resumed housing audits to verify individuals were in their
assigned cells and beds.3 OPSO provided a brief description of the audit process that
requires the classification supervisors to conduct random housing audits. Provided were the
standardized monthly classification statistical reports documenting the classification
processes and OPSO populations.
Assessment Methodology:
        This compliance review focused primarily on documents provided by OPSO and a
virtual meeting with OPSO staff. These documents included monthly statistical reports,
housing audits packets, and monitoring logs. Throughout the compliance period, we
examined ad hoc classification reports regarding custody reviews, arrests/releases, housing
assignments, and inmate disciplinary/incidents. Thus, compliance was assessed using
multiple data sources and methods; however, sorely missed were the on-site observations of
the custody assessment, housing, and audit processes as a means of reviewing compliance.
This compliance report focuses primarily on the April – September 2020 data. For some
analyses, considered were the trends over a twelve-month (12) period to detect variations
due to seasonal variations and COVID-19 related procedures.
Summary:
        OPSO is in substantial compliance each paragraph of the Consent Judgment related to
Custodial Placement within OPP (IV. A.10), except sections f and h. OPSO resumed the
internal housing audits and these audits were indeed better over those previously
conducted. However, the audits did not appear to comply with the housing audit process



2 The ISI (Inmate Separation Instrument) is an automated JMS report that identifies appropriate out-of-cell
separations within the mixed custody and special populations units. As a pod deputy may not be aware or have
access to the multiple factors requiring separation of individuals within a pod, failure to use the ISI creates risks
to the inmates' and staff safety and security.
3 As of January 2020, OPSO suspended the housing audits. Its' intent was to revamp the process and restart

audits by March of 2020; however, the COVID-19 pandemic delayed moving forward on this initiative.
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provided by OPSO nor were all the housing units audited monthly. Also missing were the
required follow-up audits to verify corrective actions to address housing assignment
violations. Section 10.h was regressed to Partial Compliance as multiple policy changes were
implemented without review or notification. Attempts to learn about the new/revised
processes were met with resistance and redacted documents. During the upcoming
compliance period, to maintain its compliance rating for section 10.e. OPSO will need to
address training requirements for any new classification specialist and provide in-service
training to address consistencies among the housing audits and repeated errors noted in the
audits of the custody assessments.
Findings:
A. 10. a. Substantial Compliance
A. 10. b. Substantial Compliance
A. 10. c. Substantial Compliance
A. 10. d. Substantial Compliance
A. 10. e. Substantial Compliance
A. 10. f. Partial Compliance
A. 10. g. Substantial Compliance
A. 10. h. Partial Compliance
IV.A.10. a. OPP shall implement an objective and validated classification system that assigns prisoners to
housing units by security levels, among other valid factors, in order to protect prisoners from
unreasonable risk of harm. The System shall include consideration of a prisoner's security needs, the
severity of the current charge, types of prior commitments, suicide risk, history of escape attempts, history
of violence, gang affiliations, and special needs, including mental illness, gender identity, age, and
education requirements. OPSO shall anticipate periods of unusual intake volume and schedule sufficient
classification staff to classify prisoners within 24 hours of booking and perform prisoner reclassifications,
assist eligible DOC prisoners with re-entry assistance (release preparation), among other duties.

Finding:
Substantial Compliance
Observations:
        As of November 12, 2020, the Classification Unit roster lists 13 individuals -- a
classification manager and 12 civilian classification specialists.4 However, two classification
specialists were on medical leave. Thus, the active roster included only 11 classification

4As per the OPSO 2018 staffing analysis plan, the Classification Unit includes 18 “civilianized” positions. The
Classification Unit Manager reports to the Captain of the Intake Processing Center (IPC) Hodge, Darnley (October 1,
2018). “Updated Coverage Plans for the OPSO (Civil Division excluded).” Orleans Parish Sheriff’s Office, Independent
Compliance Director. pp. 12.
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specialists and the classification manager. During this compliance period, two (2)
classification specialists resigned. For two of the four platoons, the shift supervisors
complete the custody reviews in addition to his/her responsibilities for supervising the
classification specialists, processing housing transfers, and conducting housing audits.
          The classification shift leaders and specialists work overtime to complete the initial
classification, reclassification, vulnerability assessments, and housing assignments. During
April - September 2020, the Classification Unit logged 2,912 hours of overtime.5 These
compute to an average of 485.0 hours per month; the classification line staff worked an
average of 43.6 hours of overtime/month. (In contrast, during this compliance period, non-
Classification Unit staff logged an average of 20.86 hours.) At least in part, the extra hours
served by the classification staff were due to the COVID-19 Pandemic. Their workload
increased as inmates' housing assignments were modified to maintain appropriate
separations.
          During this compliance reporting period, there was no formal classification training.
On resumption of the housing audits, the classification manager reviewed the housing audit
process with the auditors. As needed, the classification manager offered remedial instruction
to address errors noted on the custody assessment audits.
IV.A.10.b. Prohibit classifications based solely on race, color, national origin, or ethnicity.
Finding:
Substantial Compliance
Observations:
          The custody assessments consider objective risk factors validated for the OPSO males
and female inmates. The inmate's race is not one of the objective risk factors. Classification
specialists consider the inmate's custody level, vulnerability designation, age, and charges
when selecting from the beds identified by the JMS. To track this element of the Consent
Judgment, OPSO created a monthly statistical report to track classifications by race and
housing location. Analyses of these reports by the Monitor suggested that the OJC housing
assignments were not by race. With a few exceptions, the number of black and white inmates
within each OJC housing unit was generally consistent with the overall racial distributions
among the OPSO inmate population. However, the percentage of white inmates assigned to



5   OPSO Excel spreadsheet entitled, "Overtime by Month – January – September 2020.
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TDC exceeds their proportions within the total inmate population. As shown in Figure 1, in
May 2020, 91.3 percent of the OPSO inmates were Black; however, only 66.7 percent of the
TDC inmates were Black. (See Figure 1.) The percentages of Blacks housed in TDC increased
in June – September. By September 2020, the TDC housing discrepancy had dropped to only
4 percent. However, this rate appeared to be due at least in part to those housed in the new
TDC mental health units (TMH). Before opening the TMH units, there was a +10 percent
discrepancy between the percentage of Blacks housed in TDC versus the overall OPSO
population. Tracking these rates separately for the TDC worker versus TMH units will be
essential. Questions remain about the worker selection/ assignment process. As these
disparities have continued from the previous reporting periods, recommended is a review of
the worker selection/ assignment process to identify and address any inherent bias.

   100.0%                                        91.3%        91.3%       91.4%        91.1%
            89.2%       88.3%        90.2%                                                         90.7%        90.2%
                                                                                                                    86.8%
    90.0%
                                                      77.4%                                             79.3%
    80.0%      73.9%         75.6%       76.2%                                             75.0%
                                                                               72.0%
    70.0%                                                         66.7%

    60.0%
    50.0%
    40.0%                                                             33.3%
                                                                                  28.0%
    30.0%           24.6%       23.2%        23.8%       22.6%                                 25.0%
                                                                                                           20.7%
    20.0%                                                                                                             13.2%
             10.1%          10.6%       8.8%         7.8%        8.0%         7.8%        8.1%         8.4%        9.0%
    10.0%
     0.0%
               Jan           Feb         Mar          Apr         May          June        July         Aug         Sept
                        OJC&TDC Black- M         OJC&TDC White-M          TDC-Black-M       TDC-White-M
  Figure 1: Distribution of Inmates by Race by OPSO Facilities – January – September 2020
IV.A.10.c Ensure that the classification staff has sufficient access to current information regarding cell
availability in each division.
Finding:
Substantial Compliance
Observations:
        OPSO automated housing assignment process (HUAP) considers the inmate's custody
level, gender, special population status, PREA designations, enemies, and associates versus
OJC beds available, to recommend an appropriate bed for the inmate. The new COVID-19
intake housing protocols also require matching cellmates by their dates of admission.
Housing tags identify inmates on suicide observation versus suicide watch, alcohol/drug
detoxification protocol, gang affiliation, school participation, and special diets. The HUAP
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provides the classification specialists a list of potential beds for each inmate.
        The JMS daily population report lists the units, cells, and beds offline for maintenance
or staffing, as recorded in the AS400. The virtual tour protocol precluded a full review of the
veracity of the closed cell counts within the data population reports. It was assumed that the
classification specialists continue to manually compare the posted lists of cells/beds offline
with the bed assignments generated by the HUAP.
        Classification specialists have maintained a list of daily bed assignments to avoid
duplications due to delays between the housing assignments and physical transfer of the
inmate to the designated housing unit. Thus, as required by the Consent Judgment, the
classification specialists appear to have access to current information regarding bed
availability throughout the OJC. The virtual tour also precluded full exploration of the
impacts of the COVID-19 isolation protocols on the housing assignment processes. The
COVID-19 isolation protocol of 14 days quarantine within an IPC Intake housing unit
requires the classification specialists to match cellmates by date of admission, custody level,
PREA designation, special housing tags, enemies, and the like.
        The JMS housing availability logic should be updated to consider the COVID-19
isolation protocols. Further, adding the new TMH beds to the electronic housing inventory
will facilitate the proper placement of individuals with acute and sub-acute mental health
needs as well as track their movements within and across admissions to OJC.
IV. A. 10. d. Continue to update the classification system to include information on each prisoner’s history
at OPSO.
Finding:
Substantial Compliance
Observations:
        As shown in Figure 2, the monthly custodial reports provided by OPSO indicated a
significant decrease in the lag-time between booking and the initial classification. Further,
the percentage of inmates for whom initial custody and housing assessments were
completed increased by nearly eight percent (7.5%). In particular:
           •   Percent Initial Custody Assessments: During this compliance period, the
               Classification Unit completed initial custody assessments for 89.1 percent of the
               inmates booked into OJC. This rate was a 10 percent improvement over the rate
               (79.3 percent) observed for the previous compliance period.

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        •   Percent Within 8 Hours: As of September 2020, initial custody assessments were
            completed within the first eight hours of booking for 62.6 percent of the OPSO
            inmates. For this compliance period, the percentage of initial classifications
            completed within the first eight hours of booking fluctuated between 62.6 and
            84.8 percent; the average rate across the six months was 77.7 percent. Likewise,
            the percentage of cases completed between 8.01 and 24 hours vacillated
            between 12.1 and 20.2 percent; the average was 11.4 percent. Thus, only one in
            ten inmates remained in the booking area for more than eight hours before
            assigned to a bed. This was a considerable improvement over the rate of three in
            ten inmates who remained in the booking area for more than eight hours
            observed for the previous compliance period.
        •   Percent Greater Than 24 Hours: As of September 2020, 1.7 percent of the
            inmates remained in the OJC intake book area for more than 24 hours. This rate
            continued the trend observed from January to March of 2020. The April data
            appear to represent an anomaly; otherwise hopefully, this trends observed for
            2020 will continue.

        100.0%
         90.0%     88.5%
                                                                                                     84.6%
         80.0%     78.4%
         70.0%
         60.0%                                                                                       62.6%
         50.0%
         40.0%
         30.0%
         20.0%                                                                                       20.2%
         10.0%     10.9%
          0.0%     0.6%                                                                               1.7%
              Jan-20      Feb-20 Mar-20       Apr-20     May-20   Jun-20      Jul-20   Aug-20        Sep-20
                  % Initial Classifications       % - 8 hrs        % - 24 hrs          % - 24+ hrs

       Figure 2: Rates and Completion Time of 2020 Initial Custody Assessments

      These data suggested that the percentage of inmates for whom an initial classification
was completed has remained stable. Yet, the lag time between booking and classification/
housing continues to fluctuate. As the system adjusts to the COVID-19 pandemic pressures,
the lag time between booking and housing will probably continue to vacillate. Minimizing
the length of time spent in the IPC helps prevent the potential spread of COVID-19 among

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staff and inmates within the IPC booking area.
        Under the COVID-19 Pandemic, the OPSO Housing Matrix has been adjusted on
multiple occasions to ensure appropriate separations for observation, quarantine, and the
like. These special pods create concerns about the additional risks from the assignment of
Low, Medium, and High custody inmates with different PREA designations to the same
housing unit. OPSO command and classification staff initially reported using the automated
ISI (Inmate Separation Instrument) to maintain out-of-cell separations within these multi-
custody/special population units. However, the virtual tour -- observations and security
staff reports -- indicated that inmate(s) are allowed out of the cell for 30 minutes at a time.
An inmate is out alone unless he/she has a cellmate, in which case both are out of the cell
simultaneously. The deputies do not consult the separations reports or the ISI to determine
out-of-cell separations. This out-of-cell schedule does not give inmates adequate time to
shower, wash personal clothing, make telephone calls, exercise, and the like. It is a violation
of the OPSO policy of at least one (1) hour/day out-of-cell. Further, given the number of
occupied cells and various other demands on the daily pod schedule, if more than 16 to 18
cells and various other demands on the daily pod schedule, if more than 16 to 18 cells within
the pod are occupied, there is insufficient time for all inmates to receive their daily out-of-
cell time.6
        Regardless, the sub-standard practice of mixed custody/vulnerability using units
prompted by the Pandemic should be reviewed and discontinued as soon as possible. In the
interim, refresher ISI training for seasoned staff, and introductory training for new line staff,
is critical for increasing the length and frequency of out-of-cell time while maintaining
necessary COVID-19 restrictions. Note, the ISI can be easily tweaked to control for data of
admission and COVID-19 isolation status.
        We noted the dangers of overriding the inmate custody levels for housing purposes in
previous compliance reports. As shown in Figure 3, during this compliance period – April -
September 2020, 15 percent of the custody overrides were for housing purposes. This is
undoubtedly an improvement over the rate of 84.9% observed for January 2019, but the
practice continues.7

6 Within the general population pods, the current “social distancing” practice was reported as only ten inmates allow
out of their cells at a time.
7 On the other hand, the reason or rationale was not documented to 43.4 percent of the overrides. Thus, the full extent

of the practice of custody overrides were for housing purposes is unknown.
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    25.0%
                     23.5%
                                      21.9%
    20.0%                                             20.6%

    15.0%

                                                                                                         11.1%
    10.0%
                                                                       8.3%
     5.0%
                                                                                        2.3%
     0.0%
               Apr-20           May-20           Jun-20           Jul-20          Aug-20           Sep-20
                                Housing Overides                Linear (Housing Overides)
    Figure 3: Percent Overrides for Housing Purposes – January 2019 - March 2020

         As shown in Figure 4, the April – September 2020 classification reports indicated the
initial custody assessments included a discretionary override for 1.6 percent of the men and
.7% of the women. These are very low rates, well below the generally recommended rates of
5 to 15 percent.8 Before implementing COVID-19 housing protocols, classification specialists
were careful to "match" inmates by age, current offense, and final custody level for the
housing assignments, particularly for the "low" custody inmates. As the IPC-intake housing
protocols only require matching inmates to the cell-level, staff have greater flexibility for
housing. Further, during the early waves of the COVID-19 Pandemic, the OJC average daily
population (ADP) dropped dramatically. (See Figure 8.) Thus, classification staff had more
bed/cells available and greater flexibility for matching individuals within a cell. Monitoring
the discretionary overrides for housing purposes remains essential as the Pandemic wanes,
and the OJC ADP increases.




8Austin, James and Patricia L. Hardyman. 2004. Objective Prison Classification: A Guide For Correctional Agencies.
Washington, D.C.: National Institute of Corrections.
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    20.0%
                19.2%
    18.0%
    16.0%
    14.0%
    12.0%
    10.0%
     8.0%
     6.0%
     4.0%
     2.0%
                                                                                                            1.0%
     0.0%




                 M - Mandatory       M-Discretionary Override        F-Mandatory          F-Discretionary

    Figure 4: Initial Classification Override Rates by Gender in January 2019 – September 2020

            A different type of housing override was discovered via the compliance visit virtual
meeting. The Classification Unit initiated the use of an "Inmate Refusal of Enemies" form to
"facilitate" the housing of general population inmates. At least in part, the intent was to
address inmate requests to transfer from one pod to another. To eliminate pod or cell
separations between inmates noted in the JMS as "enemies," the inmates must sign forms
indicating the listed inmates "are not my enemies." Both inmates must sign forms in addition
to the classification supervisor, disciplinary supervisor, and unit manager. When this
process was implemented for the general population inmates was unclear, but it appears to
have been late summer. Unavailable were formal OPSO policies or procedures for the use of
this form, the tracking of "refused enemies," and the storage of the records. Written policies
and formal training for the "Inmate Refusal of Enemies” form are essential to ensure inmate
safety, protection of rights, and documentation of OPSO policy and procedures.
Discontinuance of the practice is highly recommended until written policies are approved,
adequate staff training provided, and means for systematic tracking and documentation are
implemented to prevent circumvention of the objective classification and housing systems
and harm to the inmates and staff. 9
            The Classification Monitor List (List) is an ad hoc report that identifies inmates for
whom a custody review is due. Custody re-assessment reasons include a regular 60/90-day
re-assessment or because of some change or event within their jail records, i.e., change in


9OPSO indicated that use of "Inmate Refusal of Enemies” form was a trial strategy initiated in September. As of
December 2020, after a 6-week trial period, OPSO elected to discontinue the use of the form.
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their charge(s), bail amount, disciplinary history, detainer lodged/lifted, or sentence. The
number of inmates on the list fluctuates as inmates return from court, move through the
booking process, and the like. A classification specialist or supervisor is tasked with
completing the custody reviews on each shift. The average number of pending custody
assessments per the Classification Monitor list was 11.98. The cases were split between those
awaiting an initial classification (4.92) and those awaiting a custody re-assessment (7.07).
The average number of pending custody assessments during the previous compliance period
was 18.4. Thus, wait-times for initial and reclassification processes continued to decrease
during this compliance period.
       Following Compliance Report #8, OPSO took steps to work with Wellpath to rebuild
the linkages between the medical/mental health records and JMS. These data are essential
for scoring seven of the PREA victimization and predation risk factors. Also, medical and
mental health information is critical for the inmates' housing assignments. The linkage
between the electronic medical records (ERMA) and the JMS for the intake data is complete.
Wellpath/OPSO has not verified the accuracy of the data as uploaded to the JMS.
       As shown in Figures 5 and 6, classification staff have continued to create attachments
to record criminal history data into the JMS for inmates with non-Orleans Parish felony
convictions. Figure 5 illustrates ~285 attachments were created per month between
October 2019 and September 2020. The exceptions were April and May of 2020; during
these months, the number of attachments dropped to only 99 in April and 216 in May.
However, the number of attachments climbed to pre-COVID-19 levels for the remainder of
this Compliance Period. For April – September 2020, the classification staff input on average
251.8 attachments/ month. If the April data are excluded from the calculations, an average of
282.4 attachments was input each month. As shown in Figure 5, on average, 97.1 percent of
the attachments updated the inmate's criminal history.




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                 1048
    1000                  985

     800                           787           803
                                         723
                                                         672
     600
                                                                         556                     521
                                                                                         463             498
                                                                 446            427
     400                  370
                 318                     304    306     318                     337                      302
                                   295                                                  295      262
     200                                                                216
                                                                99
       0
           Oct-19 Nov-19 Dec-19 Jan-20 Feb-20 Mar-20 Apr-20 May-20 Jun-20 Jul-20 Aug-20 Sep-20
                                              Attach #      Init Cls
 Figure 5: Number of Attachments Input by Classification Staff -- October 2019 - September 2020

  100%         0.0%             0.0%
                                0.5%            0.0%
                                                0.3%            0.0%            0.0%            0.0%
               2.0%
               0.0%
   90%
   80%
   70%
   60%
   50%         93.9%            93.5%          97.6%           99.7%           98.5%            99.3%
   40%
   30%
   20%
   10%
    0%
               Apr-20           May-20         Jun-20          Jul-20          Aug-20           Sep-20

       AdmSg      Crime     Disc     Escape    Hold     Med     Oth     PREA     Sent    Vict     Worker

  Figure 6: Attachment Reason by Month – April – September 2020
IV.A.10.e. Continue competency-based training and access to all supervisors on the full capabilities of the
OPSO classification and prisoner tracking system.
Finding:
Substantial Compliance
Observations:
        The most recent objective classification training was mid-December 2019. The
training topics were the principles of objective classification and instruction on OPSO
custody, predation, and vulnerability assessments, and the housing assignment process. As
no classification specialists joined the Unit during this compliance period, the introductory
training was not required.
        There was no OPSO in-service training classification training for the specialists during
this compliance period. In response to questions during the virtual tour, the classification

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manager orally reported some instruction on the internal housing audit process and
remedial instruction on special population housing tags. However, no documentation of
even such specialized or corrective action instruction was provided. Quality consistent in-
service and introductory training for new staff is vital to ensure reliable and accurate
custody assessments, housing assignments, and audits. While the System is highly
automated, the JMS automation should not replace the staff's understanding of the objective
classification principles, scoring rules for the custody and PREA risk factors, or housing
standards.
IV.A.10.f. Conduct internal and external review and validation of the classification and prisoner tracking
system on at least an annual basis.
Finding:
Partial Compliance
Observations:
        OPSO population reports with the number of inmates by location were received daily
by the Monitor. Custodial statistical reports for April - September 2020 regarding the
number of custody assessments by type, gender, and population were also available. These
reports track the timeliness of the initial custody assessments, the custody distributions; the
cases due for a custody assessment; the prevalence of special populations; as well as the
rates and types of disciplinary infractions. OPSO conducts housing and internal audits.
Housing Audits – Checking the Veracity of the Inmate Housing Assignments:
        As of July 28, 2020, OPSO resumed audits of the inmate housing assignments. For this
compliance report, reviewed were a random sample of the audit score sheets, rosters, and
corrective action reports. The audit score sheets had undoubtedly improved from previous
audits. Further, corrective action forms were completed for each audit. Observation of a
housing audit for this compliance report indicated the auditor verified the cell and bed
assignments for each inmate as required by the OPSO audit procedures.
        On the other hand, the written description of the restarted OPSO audit process was
unclear. A review of a random sample of the housing audits suggested that staff did not
always adhere to the written procedures. The primary concerns included 1) not all OJC and
TDC housing units were audited monthly, and 2) pods with housing errors were not re-




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audited.10 For example, audits of pods 4A, D, E, and F conducted on September 5, 2020,
identified 16 to 33 inmates who were not in their assigned beds. These audits were not re-
audited until November 23, 2020. Thus, the pods were not re-audited as per the OPSO audit
process.
       OPSO classification staff create a "Housing Audit Corrective Action" report for each
audit to summarize the auditor's findings. While these summaries are helpful, most neither
indicated the specific "corrective" actions required, tracked their resolution, nor
documented the date and results of any follow-up audit. It is important to emphasize that
housing audits are a means of ensuring the classification system's integrity. Merely filling
out a custody assessment form and assigning an inmate to a bed does not fulfill a validated
classification system's requirements. OPSO must ensure that all inmates are in the assigned
cells and bunks according to their risks and needs. Otherwise, classification becomes just
another form. The importance of housing audits cannot be over-stated. While most of the
audit sheets indicated all inmates were in their assigned cells and beds, there were notable
exceptions. As previously noted, audits of pods 4A, D, E, and F conducted September 5, 2020,
identified 16 to 33 inmates who were not in their assigned beds. Among the 28 randomly
selected audits, 7 (25%) noted inmates not in their assigned beds/cells. Note, these seven
audits did not include the notations that inmates were sleeping on the floor rather than
his/her assigned bunk. Security staff does not consistently enforce the housing assignments
specified on the housing transfer sheets.
Internal Audits – Checking the Accuracy of the Custody and PREA Assessments
       As part of the ongoing classification and housing processes, the classification shift
supervisor reviews the JMS reports to identify placement errors and ISI separation conflicts.
Supervisors/team leaders indicated that they immediately corrected all errors. Thus, the
housing separation errors detected by the JMS were resolved quickly. Total reliance on
automated housing violation reports to detect housing and custody assessment errors is
insufficient to ensure institutional safety and security.
       Reviewed were the April - September 2020 internal audit logs. The audit logs include
two types of audits: Random (custody assessments selected by the JMS for review) and

10As per the description of the CLASSIFICATION HOUSING AUDIT PROCESS” provided by Jackson-Price, Rhonda
(OPSO Classification Manager) on 11/20/2020, “A follow-up housing audit will take place to make sure the
security infractions or operational infractions have been corrected on another random day within the same
month.”
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Discovered (custody assessments with errors observed by a classification specialist or
supervisor). No errors were reported for the 39 randomly selected assessments. The low
error rate among random audits11 is surprising. There were 30 custody assessments with
"discovered errors." These errors included missing special population tags, housing errors
(Low and High Custody inmates housed together), missing medical tags, and missing
criminal history attachments. No errors were reported for the 39 randomly selected
assessments. The low error rate among random audits12 is surprising as there was an almost
equal number of "discovered errors." There were 30 custody assessments with "discovered
errors" included missing special population tags, housing errors (Housing Low and High
Custody inmates together), missed medical tags, and missing criminal history attachments.
Some log entries noted multiple staff replicated the "error." The classification manager or
supervisor reviews the errors with the staff member. As necessary, additional instruction
was provided. These audits log suggest the need for in-service training on special population
and isolation tags as well as housing assignments for low custody inmates and potential
predators.
Revalidation of the Classification System – Assessing the Validity of the System:
        Lovins and Latessa submitted their report on the validation of the OPSO classification
system on April 30, 2018.13 This validation study served as documentation of compliance
with the Consent Judgment requirement for “external review and validation of the
classification and prisoner tracking system on at least an annual basis.” Although statistical
validation of an objective classification system is generally recommended every three to five
years,14 continuous monitoring and process evaluation are essential for ensuring the
system’s integrity for the OPSO current inmate population. OPSO is currently soliciting
proposals for revalidation of the classification system. This revalidation is anticipated to be
completed in 2021.
IV.A.10.g. Provide the Monitor a periodic report on classification at the Facility. These periodic reports
shall be provided to the Monitor within four months of the Effective Date and every six months, thereafter,
until termination of this Agreement. Each report will include the following information:
             (1) number of prisoner-on-prisoner assaults;
             (2) number of assaults against prisoners with mental illness;

11 A total of 10,424 custody assessments were completed between April 1 and September 30, 2020.
12 A total of 10,424 custody assessments were completed between April 1 and September 30, 2020.
13 Lovins, Brian K. and Edward Latessa (April 30, 2018). “Revalidation of the Orleans Parish Classification System.”

Cincinnati, Ohio: University of Cincinnati Corrections Institute.
14 Austin, James and Hardyman, Patricia L. (2004) “Objective Prison Classification: A Guide for Correctional Agencies.”

Washington, D.C.: National Institute of Corrections. pp. iv.
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           (3)   number of prisoners who report having gang affiliations;
           (4)   most serious offense leading to incarceration;
           (5)   number of prisoners classified in each security level;
           (6)   number of prisoners placed in protective custody; and
           (7) number of misconduct complaints.
Finding:
Substantial compliance
Observations:
      Reviewed were the monthly custodial, discipline, and inmate statistical reports for
April - September 2020. OPSO has developed reports to track the statistics as required under
section IV.A.10.g. The only exception is the rates of victimization of inmates on the mental
health caseload. As noted earlier, these data are dependent upon timely caseload
information from the mental health provider. Wellpath and OPSO are working together to
align the JMS and electronic medical data to generate timely and accurate victimization
counts. The Consent Judgment specifically requires victimization rates for inmates on the
mental health caseload. It appears that the Wellpath electronic medical records are now
linked to the AS400. However, pending is the data validation process to ensure timely and
accurate updates of the inmate's medical and mental health caseload status. The monthly
classification special population reports include counts for the medical and mental health
caseloads but missing are the victimization counts among individuals on the mental health
caseload. OPSO and Wellpath must complete this process to maintain substantial compliance
with this section.
       Updated data as to the inmates with gang affiliations were input to the JMS
throughout the compliance period. OPSO and the Orleans District Attorney (DA) have
created an ongoing process for notifying the OPSO of offenders identified as members of a
"gang." Thus, these data are available to track the prevalence of inmates per "gang" among
OPSO populations as well as by their location (i.e., tier, side, and bed). The NOPD has created
a new task force to address violent crime within New Orleans. This task force's work may
impact the characteristics of the OPSO population and provide new opportunities for
building information-sharing bridges to consistently identify individuals with gang
affiliations, not just those with a gang-related offense(s).
      Figures 7 and 8 provide the OPSO monthly disciplinary data as recorded in the JMS.
The rate of disciplinary reports has fluctuated over the last twelve months – October 2019 –
September 2020. (To account for short-term variations, seasonal trends, and the population
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shifts due to the Pandemic 12 months of disciplinary data are provided.) As shown in Figure
7, the rate of disciplinary reports per inmate increased by about 10 percent between October
2019 – April 2020. As of April 2020, the rate of disciplinary reports for the OPSO detainees
was 41.0 percent, i.e., 4 in 10 inmates received a disciplinary report. The rate increased to
44.3 percent for June 2020 but dropped back to 41.3 percent in September. Thus, as shown
in Figure 8, although in March, the OPSO ADP dropped significantly, the rate of disciplinary
reports remained steady at about 41 percent.
      Figure 8 also illustrates the rates of predatory (e.g., assaults or battery) and aggressive
behaviors (e.g., fights or threats) based on the OPSO ADP. These rates have remained
virtually unchanged over the last 12 months despite the drop in the OPSO population and
strict out-of-cell separations due to the COVID-19 Pandemic. In April 2020, the rate of
predatory infractions among OPSO inmates was 8.6 percent – nearly 1 in 10 inmates was
involved in institutional violence.


 50.0%
                                                       41.0%                                  41.3%
 40.0%
         31.6%
 30.0%

 20.0%

 10.0%                                                   8.6%
          4.5%                                                                                    4.9%
  0.0%
     Oct-19 Nov-19 Dec-19       Jan-20   Feb-20 Mar-20 Apr-20 May-20 Jun-20     Jul-20   Aug-20 Sep-20

           Rate of DR in OPSO         Rate of Guilty     Rate of Predatory        Rate of Aggrn
Figure 7: Rate of Disciplinary Infractions for the OPSO ADP – Oct 2019 - April 2020.




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 1200
          1169
 1000

  800                                                                                                         910
                                                                 837

  600

  400           369                                                                                                376
                                                                       343

  200

    0
         Oct-19 Nov-19 Dec-19       Jan-20   Feb-20 Mar-20 Apr-20 May-20 Jun-20             Jul-20   Aug-20 Sep-20
                                                   ADP         #DRS Heard
Figure 8: OPSO ADP versus Number Disciplinary Hearings: October 2019 – September 2020
         Figure 9 provides a breakdown of the most severe guilty infraction/disciplinary
report between October 2019 and September 2020. During May – July 2020, each of the
types of infractions -- predatory (assaults or battery), aggressive (fights and threats),
management problems (e.g., disobey a direct order) decreased, except for the number of
Management Problems in June. However, the predatory infractions rose again in August and
September. While the actual number of violence incidents (i.e., predatory and aggressive
infractions) decreased during this compliance period, as was shown in Figure 7, the rate of
violence based on the OPSO ADP was steady at about 9 percent.
  450
  400
  350
  300
  250                        257     277
                      219
  200                                                            196
           177                                200        184                                          164
  150                                                                                209
                                                                             133             145             147
  100                         45                                 36
           38         56             43
                                                         30                                           35      23
   50                                         41                             29       31     20
           53         58      73     63                  45      72                                   53      45
                                              30                             38       28     38
     0
         Oct-19 Nov-19 Dec-19       Jan-20   Feb-20 Mar-20 Apr-20 May-20 Jun-20             Jul-20   Aug-20 Sep-20

                      # Predatory   # Aggressive     # Management            # Disruptive   # Nuisance

 Figure 9 Most Serious Disciplinary Infraction/Report with Finding of Guilty: Oct 2019 – Sept 2020
IV.A.10.h. OPSO shall review the periodic data report and make recommendations regarding proper
placement consistent with this Agreement or other necessary changes in policy based on this review. The
review and recommendations will be documented and provided to the Monitor.
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Partial Compliance
Observations:
      The Monitor receives the daily "Active Inmates by Location" reports and has access to
the ad hoc Classification Monitor list and various classification statistical reports. During this
compliance period, provided were multiple updates to the OPSO Housing Matrix. Chief
LeCounte has maintained open communications. However, independent analyses of the
statistical reports or the housing audits were minimal. We learned of OPSO's "restart" of the
housing audits in late July/early August through discussions during the virtual compliance
meetings.
        Further, we learned that the Classification Unit initiated the use of an "Inmate Refusal
of Enemies" form to "facilitate" the housing of general population inmates. When this
process was implemented for the general population inmates was unclear. Also unavailable
were formal OPSO policies or procedures for the use of this form. Requests for a sample of
completed forms as well as OPSO policies regarding the use of the form, the tracking of
"refused enemies," and the storage of these forms were resisted. Addressed was the
Monitor's suggestion for adding the signature dates to the form, but not those for deleting
the inmate's waiver of OPSO's liability for "any type of altercation." Procedures for the use of
this form for general population inmates and the special populations (i.e., individuals on
protective custody and administrative segregation) remain unclear. As previously noted,
written policies and formal training regarding the use of the "Inmate Refusal of Enemies”
form, as well as the housing audits, are essential to ensure inmate safety, protection of rights,
and documentation of OPSO policy and procedures. As previously noted, written policies,
documentation, and formal training regarding the use of the "Inmate Refusal of Enemies”
form, as well as the housing audits, are essential to ensure inmate safety, protection of rights,
and documentation of OPSO policy and procedures.
IV. A. 11.      Prisoner Grievance Process
A. 11.a. OPSO shall ensure that prisoners have a mechanism to express their grievances, resolve disputes,
and ensure that concerns regarding their constitutional rights are addressed. OPSO shall, at a minimum,
do the following:
             (1) Continue to maintain policies and procedures to ensure that prisoners have access to an
                 adequate grievance process and to ensure that grievances may be reported and filed
                 confidentially, without requiring the intervention of a correctional officer. The policies
                 and procedures should be applicable and standardized across all the Facility divisions.
             (2) Ensure that each grievance receives appropriate follow-up, including providing a timely
                 written response and tracking implementation of resolutions.
             (3) Ensure that grievance forms are available on all units and are available in Spanish and

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                Vietnamese and that there is adequate opportunity for illiterate prisoners and prisoners
                who have physical or cognitive disabilities or language barriers to access the grievance
                system.
            (4) Separate the process of “requests to staff” from the grievance process and prioritize
                grievances that raise issues regarding prisoner safety or health.
            (5) Ensure that prisoner grievances are screened for allegations of staff misconduct and, if an
                incident or allegation warrants per this Agreement, that it is referred for investigation.
            (6) A member of the management staff shall review the grievance tracking system quarterly
                to identify areas of concerns. These reviews and any recommendations will be
                documented and provided to the Monitor.
Findings:
A. 11. a. (1) Substantial Compliance
A. 11. a. (2) Partial Compliance
A. 11. a. (3) Substantial Compliance
A. 11. a. (4) Substantial Compliance
A. 11. a. (5) Substantial Compliance
A. 11. a. (6) Substantial Compliance
       Until the September 2019 report, one rating was given for the entire section for the
Prisoner Grievance Process. In order to highlight which provisions are in substantial
compliance versus those which fall short, the decision was made to rate each provision
separately.
       This review covers April 2020 through September 2020. For this review, the Monitor
interviewed the Grievance Lieutenant, security staff and inmates while inspecting the
housing units. Reports and data submitted by OPSO covering the rating period was also
reviewed.
       As reported by the OPSO Grievance staff, a monthly average of 190 grievances and
1905 inmate requests were received for the current rating period. This represents a 31%
decrease in the monthly grievance average over the previous 6-month period. It is the
monitor’s opinion that this drop can be largely attributed to the significant drop in the
average daily inmate population due to the COVID pandemic. OPSO grievance reports did
show a spike in the number of grievances for the month of May 2020, but, again, the
tightening of COVID restrictions throughout the jail during this time likely prompted this and
centered largely around commissary, maintenance, food service and programs. All four
categories dropped notably in the month of June and remained relatively stable through the
rest of the reporting period.
       Inmates have access to the grievance process via electronic kiosks located in the
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housing units throughout OJC and TDC and through a traditional paper grievance system. A
review of the OPSO “Kiosk Maintenance Log” showed that kiosks had to be “rebooted”
approximately 175 times during the rating period with some individual kiosks being
rebooted 2 to 3 times in a 7-day period. There were at least two instances where the entire
system in the OJC had to be rebooted. In previous reports, it was noted that several kiosks
were non-repairable. The Monitor observed that some replacements have been installed,
however it is the monitor’s opinion that the kiosk system remains relatively unreliable in
terms of operational availability. The Grievance Lieutenant reported that every housing unit
is visited 7 days per week with a “walk by” of every cell to collect paper grievances to ensure
that problems with the kiosks do not interfere with an inmate’s ability to submit grievances.
The Monitor observed locked grievance receptacles in every housing unit, however at least
two inmates complained of not being able to get blank grievance forms from security staff in
a timely manner. Unit Managers are urged to remind line security staff of the importance of
making grievance forms available upon request by the inmate(s). It is the Monitor’s opinion
that this manual work-around is acceptable under the language of the Consent Judgment
requiring the inmates have access to a meaningful and confidential grievance process. OPSO
staff report that a replacement system is still being pursued but the status has been
relatively unchanged for almost three years. Given that inmates have reported difficulty in
accessing the paper grievance forms and writing utensils and the delay that results from not
being able to submit the grievance and medical requests electronically, the securing of a
replacement system should be given priority.
        For this compliance review, the Monitor specifically reviewed weekly and monthly
audit documentation (statistics, actual grievance documentation, and response timeliness)
and trend reports compiled by the Grievance staff covering the period April through
September 2020.
        As noted previously, the Grievance Weekly Response Audit reports continue to reflect
a diligent effort by Grievance staff to review and notify responsible staff when responses are
insufficient or incomplete. The audits reflect a positive trend in terms of quality of responses.
The relative number of “no response” or “non-specific” responses continues to decline across
the board largely due to the feedback given respondents by Grievance staff. The Grievance
Lieutenant also stated that increased support from management has had a positive impact as
well.
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          In terms of quantitative analysis, the Monitor specifically reviewed the number of
“overdue” grievance responses (>10 days) as a percentage of the total number of grievances
assigned in a given month. Based on data provided by Grievance staff, the monthly average
of overdue responses declined from 44% (Nov19 thru Mar20) to 25% (Apr20 thru Aug20), a
marked improvement. The Monitor believes this change to be a result of Grievance staff
improving the level and frequency of feedback to staff responsible for answering grievances
as well as OPSO leadership holding supervisors accountable for not responding to grievances
timely.
          In order to refine the analysis and focus improvement efforts, Grievance staff
increased the frequency of the “overdue” grievance response reports from monthly to
weekly as of May 2020 and separated OPSO staff responses from those of the medical
contractor (Wellpath) as of September 2020. While insufficient to form an opinion at this
point, it appears that the first three weeks of data reflect a weekly average of 36% overdue
responses for OPSO staff and 14% for medical grievance responses despite the number of
medical grievances being 2 to 4 times the number received by OPSO staff on a monthly basis.
Grievance staff should continue their efforts in this area.
          Grievance staff continues to do an excellent job tracking grievances and requests and
reporting as to the timeliness and quality of the responses to address the inmates’ issues.
          The Monitor again reviewed documentation regarding the use and tracking of paper
grievance forms made available to all units with non-functioning kiosks. The documentation
reflects all paper grievances gathered which are then entered into the electronic system by
Grievance staff for routine routing and tracking. Documentation consistently reflects that
Grievance staff continue to maintain a by-name/housing listing of all OPSO inmates
identified as needing Grievance staff assistance to access the grievance system due to either
a language barrier or illiteracy. The logs reviewed by the Monitor for the second and third
quarters show the list of disadvantaged inmates continues to be actively managed by
Grievance staff.
          Grievance staff provided detailed documentation as to their separate handling of the
April 2020 through September 2020 inmate requests, grievances, and complaints related to
inmate safety or health.
          Review of the documentation demonstrated that all inmate submissions are reviewed
by Grievance staff, categorized into requests and grievances, and forwarded to the
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appropriate staff for response with statistical information kept on all categories. Both
requests and grievances are further sorted by type. Specific grievances related to inmate
safety, medical issues, PREA, etc., continue to be documented to reflect the date received,
inmate information, type of grievance, time of notification made to the appropriate staff
member, and the staff member making the notification.
        The Monitor reviewed detailed documentation provided by Grievance staff for the
rating period regarding the screening of grievances for staff misconduct. The documentation
demonstrated that all inmate submissions are reviewed by Grievance staff and those
regarding staff misconduct are separately documented for appropriate referral to the
administrative level for follow-up. Grievance staff processed a total of 90 such staff
misconduct related grievances during this rating period versus 147 grievances for July
through December 2019.
        Grievance staff also separately document grievances that require specific referral to
IAD, ISB, PREA, or FIT staff for review and investigation. Detailed information along with the
date assigned and disposition is maintained as well as email transmission receipts.
        The Monitor reviewed the CY 2020 second and fourth quarter executive analysis of
the grievance reports. Specific discussion by executive staff regarding the grievance
documentation and reports was noted. No specific changes to the grievance process
recommended however changes to the data analysis methodology and follow-up actions
were discussed and recommended.
IV. A. 12. Sexual Abuse
A.12. OPSO will develop and implement policies, protocols, trainings, and audits, consistent with the
requirements of the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et seq., and its implementation
of regulations, including but not limited to, preventing, detecting, reporting, investigating, and collecting
sexual abuse data, including prisoner-on-prisoner and staff-on-prisoner sexual abuse, sexual harassment,
and sexual touching.
Finding:
A. 12. Substantial Compliance
Observations:
        OPSO successfully completed its PREA audit in 2019. The PREA Coordinator has since
been reassigned to a housing area and the position has not been filled. Supervision of the
investigation of PREA complaints has been added to the duties of the FIT supervisor due to
the departure of the lieutenant who previously oversaw them. Substantial compliance is not
guaranteed by successfully completing a PREA audit once every three years. While this
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provision is being rated in substantial compliance, stricter adherence to the requirements of
the provision are necessary to maintain this rating.

IV. A. 13.      Access to Information
A.13. OPSO will ensure that all newly admitted prisoners receive information, through an inmate handbook and,
at the discretion of the Jail, an orientation video, regarding the following topics: understanding Facility
disciplinary process and rules and regulations; reporting misconduct; reporting sexual abuse or assault;
accessing medical and mental health care; emergency procedures; and sending and receiving mail;
understanding the visitation process; and accessing the grievance process.
Finding:
A.     13. Substantial Compliance
Observations:
         Materials were provided indicating the requirements of this paragraph have been
met.

IV. B. Mental Health Care
Introduction:
         As with past reports, the Monitors rate the compliance levels based on the documents
requested and reviewed, observations, discussions during visits, (including this recent
virtual visit) review of medical records (107 for this visit), and any additional information
provided by the parties.
         The Monitors note very little improvement in performance in many areas of the
Consent Judgment since Compliance Tour #11 and 12 and regression in some areas. The
addition of the Tulane Department of Psychiatry staff and leadership remains an invaluable
asset in providing required and consistent psychiatric services for inmates at OJC. There is
continuing positive progress with Tulane’s interface with Wellpath, however the provision of
adequate and timely mental health and medical care and services has declined, as has
compliance with suicide prevention training, management, and monitoring.
         Wellpath continues to have difficulty with counting, for example, calculating the
mental health caseload consistently and counting the number of patients with acute and
chronic disease who need and receive counseling, and tracking discharge medications. The
average daily population (ADP) for OJC including TDC was reported as 941 detainees, with
704 (73%) on the mental health caseload and 503 (53%) prescribed psychotropic
medications. Practitioner productivity remains an open question.
         Several paragraphs remain where necessary improvements are required by the

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Consent Judgment to provide the full range and quality of medical care and mental
health/counseling services for inmates incarcerated in OJC and the newly renovated TDC.
These concerns are deeply impacted by the lack of progress in developing the required
services and programs recommended in 2014, including permanent acute care and step-
down programing and services for mental health and acute medical services. There continue
to be no acute care mental health services for women, except via emergency transfer to
hospital emergency departments, and limited mental health acute, stepdown and outpatient
programmatic activities.
       General recommendations are to: continue leadership initiatives and direction by
OPSO and Wellpath; continue correctional security staffing to consistently provide adequate
and ongoing dedicated support for mental health and medical services; continue to develop
full services and continuity of services for both male and female prisoners including all levels
of care, staffing and space; and continue to evaluate and pursue full services for mentally ill
prisoners, including medication management, and acute, residential, and outpatient care.
       The Monitors are concerned that the budgetary cuts in staffing will exacerbate the
current serious problems with recruitment and retention of nursing staff at all levels,
particularly when it has been so difficult to provide timely services with current staff. The
suicide watch staffing ratios of 1:5 or more are insufficient to provide safe risk mitigation for
suicide prevention. Further, the use of deputies who are untrained in suicide watch
compounds the danger.
       The Monitors are also concerned about the inability of patients on 2A and 3C to
receive the full range of timely and appropriate mental health care care including individual
and group therapy and counseling in privacy, as opposed to cell side through the food port,
which was in place prior to the initiation of COVID-19 restrictions, and eliminating group
therapies and limiting individual contacts for essentially all units since those restrictions
have been in place.
       The Monitors have very serious concerns regarding suicide training, observations,
monitoring and documentation. Wellpath has exceeded their standard ratios of one clinical
suicide watcher (Certified Nursing Assts., or Mental Health Technicians) to five inmates on
staggered every fifteen-minute suicide precautions. This ratio is very high and difficult for
staff to maintain consistency. Inmates requiring Direct Observation require 1:1 observation
full time. Wellpath staff are working double shifts/overtime as suicide watchers, however
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have not been able to demonstrate keeping up with the needs and OPSO deputies have been
providing up to 30% of all watches, without adequate training specifically for duties and
responsibilities as suicide prevention observers and monitors. Deputies have been
attempting to include suicide monitoring in their more frequent welfare checks, often for
prisoners housed in non-suicide resistant cells. These modifications are extremely
problematic, potentially increasing risk of harm, and do not meet Consent Judgment
requirements.
        OPSO and Wellpath have been following health department guidance on mitigation and
containment of transmission of COVID-19. The Monitors have not been asked for technical assistance
in this area.
        Specific findings and recommendations regarding medical and mental health services
are provided below. For those paragraphs that have previously demonstrated Substantial
Compliance the Monitors recommend, encourage, and support the diligent and consistent
efforts by OPSO and the medical and mental health providers to continue to demonstrate
Substantial Compliance.
B. Mental Health Care

B. OPSO shall ensure constitutionally adequate intake, assessment, treatment, and monitoring of
prisoners’ mental health needs, including but not limited to, protecting the safety of and giving priority
access to prisoners at risk for self-injurious behavior or suicide. OPSO shall assess, on an annual or more
frequent basis, whether the mental health services at OPP comply with the Constitution. In order to
provide mental health services to prisoners, OPSO, at a minimum, shall:
Findings:
B. 1. a. Partial Compliance
B. 1. b. Substantial Compliance
B. 1. c. Substantial Compliance
B. 1. d. Partial Compliance
B. 1. e. Partial Compliance
B. 1. f. Partial Compliance
B. 1. g. Partial Compliance
B. 1. h. Substantial Compliance
B. 1. i. Partial Compliance
B. 1. j. Partial Compliance
B. 1. k. Partial Compliance
B. 1. l. Partial Compliance
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B.1.a. Develop and maintain comprehensive policies and procedures for appropriate screening and
assessment of prisoners with mental illness. These policies should include definitions of emergent, urgent,
and routine mental health needs, as well as timeframes for the provision of services for each category of
mental health needs.

Finding:
Partial Compliance
Suggestion:
      Wellpath has different timeframes for timeliness of responses. Previously
recommended to review and revise policies and procedures. Wellpath has procedures that
conflict with Consent Judgment requirements; corrective actions began during site visit.

B.1.b. Develop and implement an appropriate screening instrument that identifies mental health needs,
and ensures timely access to a mental health professional when presenting symptoms require such care.
The screening instrument should include the factors described in Appendix B. The screening instrument
will be validated by a qualified professional approved by the Monitor within 180 days of the Effective Date
and every 12 months thereafter, if necessary.
Finding:
Substantial Compliance
B.1.c. Ensure that all prisoners are screened by Qualified Medical Staff upon arrival to OPP, but no later
than within eight hours, to identify a prisoner’s risk for suicide or self-injurious behavior. No prisoner
shall be held in isolation prior to an evaluation by medical staff.
Finding:
Substantial Compliance
B.1.d. Implement a triage policy that utilizes the screening and assessment procedures to ensure that
prisoners with emergent and urgent mental health needs are prioritized for services.
Finding:
Partial Compliance
Suggestion:
      Wellpath and OPSO to review and revise SOP’s for Psychiatric Referrals, suicide
watches in IPC and suicide prevention training to comply with the Consent Judgment.

B.1.e. Develop and implement protocols, commensurate with the level of risk of suicide or self-harm, to
ensure that prisoners are protected from identified risks for suicide or self-injurious behavior. The
protocols shall also require that a Qualified Mental Health Professional perform a mental health
assessment, based on the prisoner’s risk.
Finding:
Partial Compliance
Suggestion:
        Deputies have been assigned duties for suicide watches since the last site visit and
have been documenting suicide watches in logs rather than required observation forms.

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Provide documentation of training, protocols, and observation results. Monitor and report
use of physical restraints for inmates on suicide watches in IPC.

B.1.f. For prisoners with emergent or urgent mental health needs, search the prisoner and monitor with
constant supervision until the prisoner is transferred to a Qualified Mental Health Professional for
assessment.
Finding:
Partial Compliance
Suggestion:
        Provide documentation of searches and constant supervision by security until mental
health staff arrives and conducts assessment for all emergent and urgent referrals. Include
protocols/procedures for searching inmates as soon as safely possible and prior to
placement on any form of suicide precautions, watch or Direct Observation, and
documentation requirements.
B.1.g. Ensure that a Qualified Mental Health Professional conducts appropriate mental health
assessments within the following periods from the initial screen or other identification of need:
         (1) 14 days, or sooner, if medically necessary, for prisoners with routine mental health needs
         (2) 48 hours, or sooner, if medically necessary, for prisoners with urgent mental health needs;
             and
         (3) immediately, but no later than two hours, for prisoners with emergent mental health needs.
Finding:
Partial Compliance
Suggestion:
        Continue to provide documentation that inmates in population (after IPC)
consistently receive appropriate and complete assessments within the required timeframes.
Review and revise Wellpath SOP advising QMHP referrals to psychiatrists on weekends, with
OPSO approval, and report results.
B.1.h. Ensure that a Qualified Mental Health Professional performs a mental health assessment no later
than the next working day following any adverse triggering event (i.e., any suicide attempt, any suicide
ideation, or any aggression to self, resulting in serious injury).
Finding:
Substantial Compliance
B.1.i. Ensure that a Qualified Mental Health Professional, as part of the prisoner’s interdisciplinary
treatment team, maintains a risk profile for each prisoner on the mental health case load based on the
Assessment Factors identified in Appendix B, and develops and implements a treatment plan to minimize
the risk of harm to each of these prisoners.
Finding:
Partial Compliance
Suggestion:

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        Provide documentation of timeliness of treatment plans for all inmates on the mental
health caseload at all levels of care including risk profiles. Include focus on inmates in
stepdown and outpatient programs. Expand reviews to include deficiencies in content,
diagnoses, planned services, etc. for inmates at all levels of care.
B.1.j. Ensure adequate and timely treatment for prisoners, whose assessments reveal mental illness
and/or suicidal ideation, including timely and appropriate referrals for specialty care and visits with
Qualified Mental Health Professionals, as clinically appropriate.
Finding:
Partial Compliance
Suggestion:
        Continue to provide documentation of scheduled and completed adequate and timely
treatment for all caseload inmates including rounds and psychosocial handout materials,
individual and group therapies and/or counseling, and referrals for specialty services for male and
female inmates. This should include prisoners at TDC/TMH, all suicide watches at OJC in all
locations including IPC, acute care services for male and female inmates, step down units, and
outpatients in population and all restricted housing units. The need for necessary and full range of
mental health and counseling services for all specified inmates remains. The future utilization of
TDC and Phase III were unclear at the time of this review and report.
B.1.k. Ensure crisis services are available to manage psychiatric emergencies. Such services include
licensed in-patient psychiatric care, when clinically appropriate.
Finding:
Partial Compliance
Suggestion:
        OPSO does not have access to any licensed inpatient services for male and female
inmates. Provide documentation that all psychiatric emergencies are sent to an emergency
department and any crisis is adequately resolved. Provide documentation that all inmates
have access to licensed inpatient psychiatric care, when clinically appropriate.

B.1.l. On an annual basis, assess the process for screening prisoners for mental health needs to determine
whether prisoners are being appropriately identified for care. Based on this assessment, OPSO shall
recommend changes to the screening system. The assessment and recommendations will be documented
and provided to the Monitor.
Finding:
Substantial Compliance
Suggestion:
        The report of annual assessment and recommendations of the process for screening
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prisoners for mental health needs to determine whether prisoners are being appropriately
identified for care has been provided. The report does not include information and analyses
of the use of restraint shackles during suicide watch in IPC and timeliness of transfer to
suicide resistant cells.
Findings:
B. 2. a. Partial Compliance
B. 2. b. Partial Compliance
B. 2. c. Partial Compliance
B. 2. d. Partial Compliance
B. 2. e. Substantial Compliance
B. 2. f. Partial Compliance
B. 2. g. Substantial Compliance
B. 2. h. Partial Compliance
B.2.a. Review, revise, and supplement its existing policies in order to implement a policy for the delivery of
mental health services that includes a continuum of services, provides for necessary and appropriate
mental health staff, includes a treatment plan for prisoners with serious mental illness, and collects data
and contains mechanisms sufficient to measure whether care is being provided in a manner consistent
with the Constitution.
Finding:
Partial Compliance
Suggestion:
        Wellpath and OPSO have completed the majority of necessary policies including the
use of restraints policies. During this review, the monitors received inconsistent and conflicting
reports regarding the use of suicide watches conducted in IPC by custody and/or nursing staff
while the inmate was shackled to a chair in the open area of the IPC. This information ranged from
never observed for one chair to the availability of three chairs for men and two chairs for women
with shackles for “suicide watch.” Suggested are the revision and completion of
policies/procedures regarding continuum of services for inmates on suicide watch in IPC. The
need for the continuum of mental health services for female inmates and counseling services for
specific groups identified in this Consent Judgment remains. Protocols are needed for confidential
individual and group therapies for prisoners on - all units, as well as specific descriptions of the
modified services provided during the COVID pandemic.

B.2.b. Ensure that treatment plans adequately address prisoners’ serious mental health needs and that
the treatment plans contain interventions specifically tailored to the prisoner’s diagnoses and problems.

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Finding:
Partial Compliance
Suggestion:
        Continue progress on documentation in treatment plans at OJC. Provide
documentation of individualized treatment plans for men, women, and youthful offenders at
all levels of care, including acute care and suicide watches.

B.2.c. Provide group or individual therapy services by an appropriately licensed provider where necessary
for prisoners with mental health needs.
Finding:
Partial Compliance
Suggestion:
        This provision is dangerously close to noncompliance. Quite clearly, actual group
therapies have been suspended for months and individual therapies/contacts have largely been
non-confidential cell-front contacts for limited time periods. The efforts to provide contacts and
limited services during the pandemic are understood but remain insufficient and problematic.
Continue to provide documentation of data and analysis of numbers and percentages of inmates at
all levels of care in need of individual and/or group therapies and counseling as well as the
numbers and percentages of individual and group services offered and received/completed for
prisoners in need. Continue to provide numbers of inmates who received counseling for sexual
abuse and for those inmates who received counseling for alcohol and drug abuse. Continue to
provide data on Disruption of Services forms and provide analysis of that data and corrective
action plans, including staffing and space needs, as necessary.
B.2.d. Ensure that mental health evaluations that are done as part of the disciplinary process include
recommendations based on the prisoner's mental health status.
Finding:
Partial Compliance
Suggestion:
        This process has begun during the last 6 months of the monitoring period. Data provided
indicates 5 of 494 mental health evaluations resulted in placement on mental health unit. These
numbers are reportedly based on screenings or in-hearing observations rather than pre-hearing
assessments relative to charges. The data needs analysis to assess impact of mental health
evaluations on disciplinary sanctions. Wellpath needs to provide policy approved by OPSO
regarding mental health participation in the disciplinary process, as well as necessary training for
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OPSO and Wellpath staff.
B.2.e. Ensure that prisoners receive psychotropic medications in a timely manner and that prisoners have
proper diagnoses and/or indications for each psychotropic medication they receive.
Finding:
Substantial Compliance
Suggestion:
      Continue exceptionally good improvement demonstrated with the addition of Tulane
psychiatric providers. Continue to provide documentation and analysis of data that inmates
receive psychotropic medications in a timely manner and that inmates have proper
diagnosis and/or indications for each psychotropic medication they receive, including
particular emphasis on juveniles.
B.2.f. Ensure that psychotropic medications are administered in a clinically appropriate manner as to
prevent misuse, overdose, theft, or violence related to the medication.
Finding:
Partial Compliance
Suggestion:
      Medication diversion and/ or contraband continues to be problematic. Reports of
prescribed and nonprescribed medications, as well as concerns regarding watch-take procedures
require further analysis and corrective actions.
B.2.g. Ensure that prescriptions for psychotropic medications are reviewed by a Qualified Mental Health
Professional on a regular, timely basis and prisoners are properly monitored.
Finding:
Substantial Compliance
Suggestion:
Continue to provide documentation of data collection and analysis of psychotropic
medication prescriptions.
B.2.h. Ensure that standards are established for the frequency of review and associated charting of
psychotropic medication monitoring, including monitoring for metabolic effects of second generation
psychotropic medications.
Finding:
Partial Compliance
Suggestion:
Monitoring for metabolic effects of second- generation psychotropic medications has
declined for this monitoring period. Timeliness of laboratory services and associated inmate
refusals have become problematic.
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Findings:
B. 3. a. Partial Compliance
B. 3. b. Partial Compliance
B.3.a. OPSO shall develop and implement policies and procedures for prisoner counseling in the areas of
general mental health/therapy, sexual-abuse counseling, and alcohol and drug counseling. This should, at
a minimum, include some provision for individual services.
Finding:
Partial Compliance
Suggestion:
       Provide documentation of implementation of policies and procedures and
modifications or changes in programmatic and other service activities since the COVID
pandemic specifically for inmate counseling in the areas of general mental health/therapy,
sexual abuse counseling, and alcohol and drug counseling, including some provisions for
individual services. Continue to track disruptions of services and percentages of inmates
identified as in need compared to those who receive services.
B.3.b. Within 180 days of the Effective Date, and quarterly thereafter, report all prisoner counseling
services to the Monitor, which should include:
        (1)      the number of prisoners who report having participated in general mental
        health/therapy counseling at OPP;
        (2)      the number of prisoners who report having participated in alcohol and drug counseling
        services at OPP;
        (3)      the number of prisoners who report having participated in sexual-abuse counseling at
        OPP; and
        (4)      the number of cases with an appropriately licensed practitioner and related one-to-one
        counseling at OPP.
Finding:
Partial Compliance
Suggestion:
       This provision is dangerously close to noncompliance. Provide accurate and complete
data and analysis for the numbers and percentages for inmates with needs for these specific
services and numbers and percentages of inmates who receive these services in the actual
format, including in-cell and out-of-cell services. Compliance has been compromised by the
pandemic impact, staffing deficiencies and lack of adequate space.
Findings:
B. 4. a. Non-Compliance
B. 4. b. Substantial Compliance
B. 4. c. Substantial Compliance
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B. 4. d. Non-Compliance
B. 4. e. Substantial Compliance
B. 4. f. Substantial Compliance
B. 4. g. Substantial Compliance
B.4.a. OPSO shall ensure that all staff who supervise prisoners have the adequate knowledge, skill, and
ability to address the needs of prisoners at risk for suicide. Within 180 days of the Effective Date, OPSO
shall review and revise its current suicide prevention training curriculum to include the following topics:
         (1) suicide prevention policies and procedures (as revised consistent with this Agreement);
         (2) analysis of facility environments and why they may contribute to suicidal behavior;
         (3) potential predisposing factors to suicide;
         (4) high-risk suicide periods;
         (5) warning signs and symptoms of suicidal behavior;
         (6) case studies of recent suicides and serious suicide attempts;
         (7) mock demonstrations regarding the proper response to a suicide attempt;
         (8) differentiating suicidal and self-injurious behavior; and
         (9) the proper use of emergency equipment.
Finding:
Non-Compliance
Suggestion:
        Since the previous visit, Wellpath staff who supervise inmates have been tasked with
supervising more than three (recommended) as well as more than five (Wellpath practice) inmates
on suicide watch, frequent overtime/double shifts, and/or while performing Direct Observation
(requires 1:1 staff to prisoner ratio). Because of staffing shortages, OPSO deputies have provided
up to 30% of suicide watches and have had no documented additional and specific training
regarding conducting suicide watches or documentation requirements to demonstrate the adequate
knowledge, skill, and ability to address the needs of inmates at risk for suicide. Inmates on suicide
precautions or watch continue to obtain contraband that can be used to harm themselves. The
failures to provide adequate, appropriate, well trained, and supervised suicide prevention and
management services is extremely serious.
B.4.b. Ensure that all correctional, medical, and mental health staff are trained on the suicide screening
instrument and the medical intake tool.
Finding:
Substantial Compliance
Suggestion:
        Continue to provide documentation that multi-disciplinary in-service training has
been completed annually for all current correctional, medical, and mental health staff to
include training on updated policies, procedures, and techniques.
B.4.c. Ensure that multi-disciplinary in-service training is completed annually by all correctional, medical, and
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mental health staff, to include training on updated policies, procedures, and techniques. The training will be
reviewed and approved by the Monitor.
Finding:
Substantial Compliance
Suggestion:
        Continue to provide documentation that multidisciplinary in-service training has
been completed annually for all current correctional, medical, and mental health staff, to
include training on updated policies, procedures, and techniques. OPSO/Wellpath need to
provide documentation regarding training for staff on the use of therapeutic restraints. Note:
This training was completed prior to the COVID pandemic and the changes in
responsibilities for deputies. Updated training should include training on additional duties
and responsibilities.
B.4.d. Ensure that staff are trained in observing prisoners on suicide watch and step-down unit status.
Finding:
Non-Compliance
Suggestion:
        Documentation that current custody staff are trained, specifically, in observing
inmates on suicide watch and step-down status was not provided despite repeated requests
by the Monitors. Deputies are conducting up to 30% of “suicide watches” as part of their
every fifteen-minute welfare checks on various units in OJC and documentation is done in
logbooks and not Observation forms. Onsite Monitors observed CNA’s inattentive to the
inmates on watch. Inmates on suicide watch continue to obtain contraband that can be used
to harm themselves. These are practices inconsistent with the Consent Judgment and are
potentially highly dangerous.
B.4.e. Ensure that all staff that have contact with prisoners are certified in cardiopulmonary resuscitation
(“CPR”).
Finding:
Substantial Compliance
Suggestion:
        Continue to provide documentation that all current staff, (including OPSO and
Wellpath) are certified in CPR.
B.4.f. Ensure that an emergency response bag, which includes a first aid kit and emergency rescue tool, is
in close proximity to all housing units. All staff that has contact with prisoners shall know the location of
this emergency response bag and be trained to use its contents.

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Finding:
Substantial Compliance
Note: The Monitors observed one bag was missing a cutdown tool. Most of the bags were
unlocked and staff was unable to report on how to have bag contents checked and then
locked.
B.4.g. Randomly test five percent of relevant staff on an annual basis to determine their knowledge of
suicide prevention policies. The testing instrument and policies shall be approved by the Monitor. The
results of these assessments shall be evaluated to determine the need for changes in training practices.
The review and conclusions will be documented and provided to the Monitor.
Finding:
Substantial Compliance
Note: Documentation of testing of 5% of current relevant staff to determine their knowledge of
suicide prevention policies was provided to have occurred in March, 2020 with a passing rate of
81%. Please provide the evaluation of the results, review, and conclusions of testing after COVID
changes to determine the need for changes in training practices.
Findings:
B. 5. a. Partial Compliance
B. 5. b. Non-Compliance
B. 5. c. Partial Compliance
B. 5. d. Substantial Compliance
B. 5. e. Non-Compliance
B. 5. f. Partial Compliance
B. 5. g. Partial Compliance
B. 5. h. Substantial Compliance
B. 5. i. Substantial Compliance
B. 5. j. Substantial Compliance
B. 5. k. Partial Compliance
B.5.a. OPSO shall implement a policy to ensure that prisoners at risk of self-harm are identified, protected,
and treated in a manner consistent with the Constitution.
Finding:
Partial Compliance
Suggestion:
        OPSO and Wellpath continue to reference policies are in place. Provide documentation of
implementation of policies for utilization of suicide resistant cells and nonresistant cells (with
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direct observation), and treatment services provided to inmates at risk for self-harm. Inmates on
suicide watch are housed on various units, including IPC reportedly in shackles and continue to be
placed in non-suicide resistant cells without direct observation. Clinical staff suicide observers are
carrying high patient loads and working extra shifts. Deputies are providing suicide watches with
minimal to no documented training in conducting watches and reportedly varying degrees of
understanding of their responsibilities. Contraband and misuse of supplies (blankets, pens,
clothing, chemicals, and medications) have been obtained by inmates while on suicide watch or
detox protocols. Treatment services are very limited and inadequate for inmates on suicide watch
because of staffing and space needs.
B.5.b. Ensure that suicide prevention procedures include provisions for constant direct supervision of
current suicidal prisoners and close supervision of special needs prisoners with lower levels of risk (at a
minimum, 15 minute checks). Correctional officers shall document their checks in a format that does not
have pre- printed times.
Finding:
Non-Compliance
Suggestion:
      Since the last site visit changes in the suicide prevention program include comments in
IV.B.5a. In addition, deputies have been documenting their checks in logbooks and not in
compliance with timeliness or content requirements. Please provide documentation of
training, specific suicide watch procedures in IPC, and documentation of all suicide
precautions, watches and direct observations.
B.5.c. Ensure that prisoners on suicide watch are immediately searched and monitored with constant
direct supervision until a Qualified Mental Health Professional conducts a suicide risk assessment,
determines the degree of risk, and specifies the appropriate degree of supervision.
Finding:
Partial Compliance
Suggestion:
        Provide documentation that demonstrates that inmates are immediately searched
and monitored with constant direct supervision until a QMHP conducts a suicide risk
assessment, determines the degree of risk, and specifies the appropriate degree of
supervision. This paragraph requires collaboration and documentation by OPSO deputies
and Wellpath QMHP’s. As per discussion during the visit, specify procedure for search as
soon as safely necessary and requirements search of prisoner and cell to be placed in is
completed prior to placement in cell for suicide watch.
B.5.d. Ensure that all prisoners discharged from suicide precautions receive a follow-up assessment
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within three to eight working days after discharge, as clinically appropriate, in accordance with a
treatment plan developed by a Qualified Mental Health Care Professional. Upon discharge, the Qualified
Mental Health Care Professional shall conduct a documented in-person assessment regarding the
clinically appropriate follow-up intervals.
Finding:
Substantial Compliance
Suggestion:
        Wellpath staff report denial of access to inmates for follow-up during lockdowns. This
should not occur; immediate corrective action is recommended. Provide documentation of
follow-up appointments as required by policy.
B.5.e. Implement a step-down program providing clinically appropriate transition for prisoners
discharged from suicide precautions.
Finding:
Partial Compliance
Suggestion:
        Before the COVID pandemic efforts, placements for male inmates in a true step-
down/residential unit and program continued, however the programming was not yet
sufficient because of inadequate staffing and space to provide services. Similar services and
housing did not exist for female inmates. Since COVID restrictions, group therapies and
counseling have been suspended and replaced with clinical staff providing handouts for in-
cell reading/activities by inmates. Individual therapies and counseling have been largely
diminished. Recommend continued vigilance in developing these programs as safety
concerns allow.
B.5.f. Develop and implement policies and procedures for suicide precautions that set forth the conditions
of the watch, incorporating a requirement of an individualized clinical determination of allowable
clothing, property, and utensils. These conditions shall be altered only on the written instruction of a
Qualified Mental Health Professional, except under emergency circumstances or when security
considerations require.
Finding:
Partial Compliance
Suggestion:
        Policy is in place. Provide documentation of implementation of policy regarding
individualized determinations of the conditions of watch for male and female inmates at OJC
(especially for suicide watches/direct observation in non-resistant cells), and at TMC. Provide
policy, procedure, and documentation regarding suicide watch in IPC.
B.5.g. Ensure that cells designated by OPSO for housing suicidal prisoners are retrofitted to render them

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suicide-resistant (e.g., eliminating bed frames/holes, sprinkler heads, water faucet lips, and unshielded
lighting or electrical sockets).
Finding:
Partial Compliance
Suggestion:
        OPSO reports 13 suicide resistant cells for OJC. It is unclear at the time of this report
how many usable and staffed suicide resistant cells have been available at TDC for males
(reportedly none for females). When non-suicidal resistant overflow cells are utilized, it has
been strongly recommended and agreed the inmates in those cells be placed on direct
constant observation to best provide for their safety. Please see IV.B.5f.
B.5.h. Ensure that every suicide or serious suicide attempt is investigated by appropriate mental health
and correctional staff, and that the results of the investigation are provided to the Sheriff and the Monitor.
Finding:
Partial Compliance
Suggestion:
        During discussions two cases were identified that should have been appropriate for
morbidity reviews. Continue to expand Morbidity and Mortality reviews, these reviews should be
structured to conduct clinical investigation, including aggregation of data, self-critical analysis and
corrective action plans regarding individual inmate deaths, or intended death but also systemic
concerns. The addition of the CQI Workgroup appears to have been helpful but needs to focus
more on clinical as well as security systems issues and self-critical analysis.
B.5.i. Direct observation orders for inmates placed on suicide watch shall be individualized by the
ordering clinician based upon the clinical needs of each inmate, and shall not be more restrictive than is
deemed necessary by the ordering clinician to ensure the safety and well being of the inmate.
Finding:
Substantial Compliance
Suggestion:
        The issue of suicide watch in IPC and use of a shackle to chair (between 1 and 5
chairs) was discussed during the visit with various descriptions. Please provide policy,
procedure, and documentation of utilization in IPC since March 2020 to assist in
determination of use as clinical restraint. The case in question was placed on suicide
watch/direct observation in the IPC on September 10, 2020, after threatening officers. He
was shackled to a chair for 5½ hours in IPC at deputy request. This case should have a
morbidity review to determine whether suicide watch was indeed appropriate and to

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determine alternative possible approaches to this inmate.
B.5.j. Provide the Monitor a periodic report on suicide and self-harm at the Facility. These periodic reports
shall be provided to the monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. The report will include the following:
         (1) all suicides;
         (2) all serious suicide or self-harm attempts; and
         (3) all uses of restraints to respond to or prevent a suicide attempt.
Finding:
Substantial Compliance
Suggestion:
        OPSO and Wellpath provide periodic reports on suicides, suicide attempts and self-harm.
Wellpath has indicated their intent to clarify and determine status of attempts as serious or not.
There has been one reported completed suicide for 2020 to date. There has been no reported use of
restraints for this monitoring period, however the use of shackles for inmates on suicide watch in
IPC is under review.
B.5.k. Assess the periodic report to determine whether prisoners are being appropriately identified for
risk of self-harm, protected, and treated. Based on this assessment, OPSO shall document recommended
changes to policies and procedures and provide these to the Monitor.
Finding:
Partial Compliance
Suggestion:
        Provide an assessment of the periodic reports required in B.5.j., above, particularly
with regard to adequacy of treatment for prisoners with multiple suicide or self-harm
attempts and IPC.
Findings:
B. 6. a. Partial Compliance
B. 6. b. Substantial Compliance
B. 6. c. Substantial Compliance
B. 6. d. Partial Compliance
B. 6. e. Substantial Compliance
B. 6. f. Substantial Compliance
B. 6. g. Substantial Compliance
B.6.a. OPSO shall prevent the unnecessary or excessive use of physical or chemical restraints on prisoners
with mental illness.
Finding:
Partial Compliance
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Suggestion:
        Wellpath has begun to provide documentation/information regarding use of de-
escalation techniques at OJC. OPSO needs to report all uses of physical and chemical
restraint. OPSO and Wellpath to clarify use of restraints and suicide watch in IPC.
B.6.b. Maintain comprehensive policies and procedures for the use of restraints for prisoners with mental
illness consistent with the Constitution.
Finding:
Substantial Compliance
Note: Provisions B.6.b., B.6.c., B.6.e, B.6.f., and B.6.g. will remain in Substantial Compliance
pending resolution of practice of use of restraints for suicidal inmates in IPC.
B.6.c. Ensure that approval by a Qualified Medical or Mental Health Professional is received and
documented prior to the use of restraints on prisoners living with mental illness or requiring suicide
precautions.
Finding:
Substantial Compliance
See B.6.b.
B.6.d. Ensure that restrained prisoners with mental illnesses are monitored at least every 15 minutes by
Custody Staff to assess their physical condition.
Finding:
Partial Compliance
Suggestion:
        Deputies performing suicide watches must document their staggered every fifteen-
minute checks on the appropriate Observation forms. This includes deputies in any location,
including IPC.
B.6.e. Ensure that Qualified Medical or Mental Health Staff document the use of restraints, including the
basis for and duration of the use of restraints and the performance and results of welfare checks on
restrained prisoners.
Finding:
Substantial Compliance
See B.6.b.
B.6.f. Provide the Monitor a periodic report of restraint use at the Facility. These periodic reports shall be
provided to the monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement. Each report shall include:
        (1)A list of prisoners whom were restrained;
        (2)A list of any self-injurious behavior observed or discovered while restrained; and
        (3)A list of any prisoners whom were placed in restraints on three or more occasions in a thirty
        (30) day period or whom were kept in restraints for a period exceeding twenty-four (24) hours.

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Finding:

Substantial Compliance

See B.6.b.
B.6.g. Assess the periodic report to determine whether restraints are being used appropriately on
prisoners with mental illness. Based on this assessment, OPSO shall document recommended changes to
policies and procedures and provide these to the Monitor.
Finding:
Substantial Compliance
See B.6.b.
Findings:
B. 7. a. Substantial Compliance
B. 7. b. Substantial Compliance
B. 7. c. Partial Compliance
B. 7. d. Partial Compliance
7.a. OPSO shall ensure that all staff who supervise prisoners have the knowledge, skills, and abilities to
identify and respond to detoxifying prisoners. Within 180 days of the Effective Date, OPSO shall institute
an annual in-service detoxification training program for Qualified Medical and Mental Health Staff and
for correctional staff. The detoxification training program shall include:
      (1) annual staff training on alcohol and drug abuse withdrawal;
      (2) training of Qualified Medical and Mental Health Staff on treatment of alcohol and drug abuse
          conducted by the Chief Medical Officer or his or her delegate;
      (3) oversight of the training of correctional staff, including booking and housing unit officers, on the
          policies and procedures of the detoxification unit, by the Chief Medical Officer or his or her
          delegate;
      (4) training on drug and alcohol withdrawal by Qualified Medical and Mental Health Staff;
      (5) training of Qualified Medical and Mental Health Staff in providing prisoners with timely access
          to a Qualified Mental Health Professional, including psychiatrists, as clinically appropriate; and
      (6) training of Qualified Medical and Mental Health Staff on the use and treatment of withdrawals,
          where medically appropriate.
Finding:
Substantial compliance
        Qualified Medical and Mental Health Staff are trained regarding care for patients who
have orders for monitoring and treatment of withdrawal. Some of custody staff are trained.
As of July 2020, training has been documents and appears to be successful.
7.b. Provide medical screenings to determine the degree of risk for potentially life-threatening
withdrawal from alcohol, benzodiazepines, and other substances, in accordance with Appendix B.
Finding:
Substantial Compliance
        Incoming inmates are screened for withdrawal, in accordance with Appendix B.

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Wellpath quarterly performance measurement demonstrates sustained compliance.
Monitors find Wellpath measurement reliable.
7.c. Ensure that the nursing staff complete assessments of prisoners in detoxification on an individualized
schedule, ordered by a Qualified Medical or Mental Health Professional, as clinically appropriate, to
include observations and vital signs, including blood pressure.
Finding:
Partial Compliance
        Wellpath quarterly performance measurement and the Monitor’s reliability audits
demonstrate that nursing care for patients on the detox protocol has not improved. There
are significant lags to first dose of vital medication and between 20% and 35% missed
nursing assessments.
Suggestion:
      Enforce timely assessments for patients who are on the detox protocol. Complete a
process map of the events that take place from the order for detox medication and the
patient’s receipt of the first dose, to identify factors that contribute to delay. Develop process
improvement plans to improve timelines of the first dose of medication.
7.d. Annually, conduct a review of whether the detoxification training program has been effective in
identifying concerns regarding policy, training, or the proper identification of and response to detoxifying
prisoners. OPSO will document this review and provide its conclusions to the Monitor.
Finding:
Partial Compliance
        An annual review was conducted for 2019, but that review lacks any evaluation or
discussion of the effectiveness of training (increase in post-test scores, number needing
training, etc.).
Suggestion:
      Report on the program effectiveness to the monitors for the calendar year 2020.
Findings:
B. 8. a. Partial Compliance
B. 8. b. Substantial Compliance
8.a. OPSO shall ensure that medical and mental health staffing is sufficient to provide adequate care for
prisoners’ serious medical and mental health needs, fulfill constitutional mandates and the terms of this
Agreement, and allow for the adequate operation of the Facility, consistent with constitutional
Finding:
Partial Compliance
        Medical and mental health staffing is insufficient for most care functions at the
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current time. There have been systemic delays in access to acute nursing care, chronic
medical care, health assessments, detox assessments, laboratory testing and nursing
assessments. The suicide watch staffing ratio of one watcher for five or more patients is
insufficient and dangerous. The use of deputies for suicide watch is likewise dangerous, as
they are currently not trained on what to look for. Further, there is no documentation in the
medical record that these patients at risk of suicide have been watched.
Suggestion:
       Fund and authorize MH staff for special programs, as per Wellpath proposal. Fund and
train a sufficient number of suicide watchers to reduce the risk of unnecessary death from suicide.
8.b. Within 90 days of the Effective Date, OPSO shall conduct a comprehensive staffing plan and/or
analysis to determine the medical and mental health staffing levels necessary to provide adequate care
for prisoners’ mental health needs and to carry out the requirements of this Agreement. Upon completion
of the staffing plan and/or analysis, OPSO shall provide its findings to the Monitor, SPLC, and DOJ for
review. The Monitor, SPLC, and DOJ will have 60 days to raise any objections and recommend revisions to
the staffing plan.
Finding:
Substantial Compliance
Findings:
B. 9. a. Partial Compliance
B. 9. b. Partial Compliance
B. 9. c. Partial Compliance
B. 9. d. Partial Compliance
B. 9. e. Partial Compliance
B. 9. f. Partial Compliance
B.9.a. OPSO shall develop, implement, and maintain a system to ensure that trends and incidents involving
avoidable suicides and self-injurious behavior are identified and corrected in a timely manner. Within 90
days of the Effective Date, OPSO shall develop and implement a risk management system that identifies
levels of risk for suicide and self-injurious behavior and requires intervention at the individual and
system levels to prevent or minimize harm to prisoners, based on the triggers and thresholds set forth in
Appendix B.
Finding:
Partial Compliance
Suggestion:
       Analysis of trends and incidents involving avoidable suicides and self-injurious
behaviors to determine required interventions at the individual and system levels to prevent
or minimize harm to inmates requires further development, particularly with regard to
prisoners who have repeated suicidal or self-harming behaviors and the need for revisions
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in their treatment plans and treatment activities. Incidents of inmates identified as at
increased risk continue to obtain access to contraband and/or are not adequately supervised
and gain access to mezzanines. Systems analysis should be helpful in identifying consistent
protocols to minimize these events.
B.9.b. The risk management system shall include the following processes to supplement the mental health
screening and assessment processes: incident reporting, data collection, and data aggregation to capture
sufficient information to formulate a reliable risk assessment at the individual and system levels;
identification of at-risk prisoners in need of clinical treatment or assessment by the Interdisciplinary
Team or the Mental Health Committee; and development and implementation of interventions that
minimize and prevent harm in response to identified patterns and trends.
Finding:
Partial Compliance
Suggestion:
        Provide documentation of analysis of risk management system processes including the
listed criteria, with more attention to data aggregation and analysis, and development and
implementation of interventions that minimize and prevent harm in response to identified patterns
and trends. The risk assessments at the individual-level by the Interdisciplinary Treatment Team
and at the system- level by the Mental Health Committee and QI Work Group should include
analysis of current practices such as the need for out-of-cell treatment services for inmates on the
mental health caseload in segregated housing, and mental health staff participation the disciplinary
process. Since the last visit, OPSO has committed to assist mental health with the provision of
out of cell individual and group therapies (when resumed). Further development of the
interface of mental health with the disciplinary process, development of Behavioral
Management plans for individuals and a possible unit, and identification of at-risk
individuals and implementation of interventions for those with longer term incarcerations is
anticipated.
B.9.c. OPSO shall develop and implement an Interdisciplinary Team, which utilizes intake screening,
health assessment, and triggering event information for formulating treatment plans. The
Interdisciplinary Team shall:
       (1) include the Medical and Nursing directors, one or more members of the psychiatry staff,
           counseling staff, social services staff, and security staff, and other members as clinical
           circumstances dictate;
       (2) conduct interdisciplinary treatment rounds, on a weekly basis, during which targeted patients
           are reviewed based upon screening and assessment factors, as well as triggering events; and
       (3) provide individualized treatment plans based, in part, on screening and assessment factors, to
           all mental health patients seen by various providers.
Finding:
Partial Compliance

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Suggestion:
        Provide adequate documentation of completion of mental health Interdisciplinary
Treatment Team meetings and rounds, and provision of adequate and timely individualized
treatment plans to all mental health patients seen by various providers at OJC and TDC.
B.9.d. OPSO shall develop and implement a Mental Health Review Committee that will, on a monthly basis,
review mental health statistics including, but not limited to, risk management triggers and trends at both
the individual and system levels. The Mental Health Review Committee shall:
        (1)     include the Medical and Nursing Director, one or more members of the psychiatry staff
        and social services staff, the Health Services Administrator, the Warden of the facility housing the
        Acute Psychiatric Unit, and the Risk Manager.
        (2)     identify at-risk patients in need of mental health case management who may require
        intervention from and referral to the Interdisciplinary Team, the OPSO administration, or other
        providers.
        (3)     conduct department-wide analyses and validation of both the mental health and self-
        harm screening and assessment processes and tools, review the quality of screenings and
        assessments and the timeliness and appropriateness of care provided, and make
        recommendations on changes and corrective actions;
        (4)     analyze individual and aggregate mental health data and identify trends and triggers
        that indicate risk of harm;
        (5)     review data on mental health appointments, including the number of appointments and
        wait times before care is received; and
        (6)     review policies, training, and staffing and recommend changes, supplemental training, or
        corrective actions.
Finding:
Partial Compliance
Suggestion:
        Provide documentation of Mental Health Review Committee meetings addressing all
of the listed elements, including analysis of the data collected. See IV.B.9a and b., as well as
provisions on suicide prevention, training, observation/management and documentation.
B.9.e. OPSO shall develop and implement a Quality Improvement and Morbidity and Mortality Review
Committee that will review, on at least a quarterly basis, risk management triggers and trends and
quality improvement reports in order to improve care on a Jail-wide basis.
       (1) The Quality Improvement Committee shall include the Medical Director, the Director of
           Psychiatry, the Chief Deputy, the Risk Manager, and the Director of Training.
       (2) The Quality Improvement Committee shall review and analyze activities and conclusions of the
           Mental Health Review Committee and pursue Jail-wide corrective actions. The Quality
           Improvement Committee shall:
              i.  monitor all risk management activities of the facilities through the review of risk data,
                  identification of individual and systemic trends, and recommendation and monitored
                  implementation of investigation or corrective action; and
             ii.  generate reports of risk data analyzed and corrective actions taken.
Finding:
Partial Compliance
        The medical and psychiatric staff report improvements in access to on-site care.
Quality management activities have identified significant opportunities for improvement,
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including acute and chronic care, medication management, nursing care, mental health
referrals, treatment plans, and monitoring for metabolic effects and toxicity of medication.
The fact that WellPath is identifying these obstacles to a reasonable level of care is an
enormous improvement. Further, there is some documentation of analysis of these data and
corrective action, both improvements, though the documentation could be improved. The
corrective action plans should be more robust and they should be tracked in a coherent
manner over time.
       There are other problems apparent to the Monitors and to Plaintiff attorneys that
have yet to be recognized by WellPath and OPSO, including significant numbers of patients
“falling through the cracks” when appropriate care had been intended but never realized.
       The Monitors selected 30 recent medical and mental health grievances for review.
The great majority of answers were unresponsive, with statements like “I will get back to
you,” and no indication that this promise was fulfilled. The quality management program
has been neglecting analysis of grievances for the seven years of the Monitors tenure,
notwithstanding the fact that the grievances point directly to the disorganization of the
appointment system and medication management. These problems have persisted for the
duration of the consent judgment.
Suggestions:
      Incorporate performance data, analysis, and trending into QI Committee minutes. Analyze
grievance data and incorporate it into the quality management process. Improve analysis and
corrective action plans generally, with more specificity for root cause analysis, process design, and
effective improvement strategies. Continue to improve reliability of clinical performance
measurement. Ensure that the Chief Deputy (or equivalent) and Director of Training participate in
meetings, with documentation. Continue to collect and report reliable data on visit disruptions due
to the unavailability of custody staff for escort and/or transportation and develop interventions,
with accountabilities and timelines, in collaboration with custody staff. Improve responsiveness of
answers to grievances. Utilize clinical performance data for management purposes. Continue to
improve reliability of clinical performance monitoring. Secure corporate assistance with
evaluation methodology.
B.9.f. OPSO shall review mortality and morbidity reports quarterly to determine whether the risk
management system is ensuring compliance with the terms of this Agreement. OPSO shall make
recommendations regarding the risk management system or other necessary changes in policy based on
this review. The review and recommendations will be documented and provided to the Monitor.


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Finding:
Partial Compliance
        The mortality and morbidity reviews remain perfunctory and they lack self-critical
analysis. Clinical analyses are incomplete. Psychiatrists are more recently involved in
morbidity reviews for patients with suicide attempts, though there were two recent suicide
attempts with no morbidity review. This was described as an “oversight.” The Monitors
note that for patients attempting self-harm, morbidity reviews are insincere and defensive,
without self-critical analysis. These reviews are remarkably complacent. Corrective action
plans are not well-documented and there is no annual review of findings.
Suggestion:
        Develop a process to assure transparency and self-critical analysis for morbidity
reviews. Enhance analysis and problem identification in morbidity and mortality reviews.
Improve corrective action plans generally, with specificity for root cause analysis, process
design, and effective improvement strategies. Evaluate and report on the effectiveness of the
mortality and morbidity review process. Secure corporate assistance on evaluation
methodology.
C.      Medical Care
C. OPSO shall ensure constitutionally adequate treatment of prisoners’ medical needs. OPSO shall prevent
unnecessary risks to prisoners and ensure proper medication administration practices. OPSO shall assess
on an annual or more frequent basis whether the medical services at OPP comply with the Constitution. At
a minimum, OPSO shall:
1. Quality Managing of Medication Administration:
        a. Within 120 days of the Effective Date, ensure that medical and mental health staff are trained
        on proper medication administration practices, including appropriately labeling containers and
        contemporaneously recording medication administration;
        b. Ensure that physicians provide a systematic review of the use of medication to ensure that each
        prisoner’s prescribed regimen continues to be appropriate and effective for his or her condition;
        c. Maintain medication administration protocols that provide adequate direction on how to take
        medications, describe the names of the medications, how frequently to take medications, and
        identify how prisoners taking such medications are monitored; an
        d. Maintain medication administration protocols that prevent misuse, overdose, theft, or violence
        related to medication.
Findings:
C.1. a. Substantial Compliance
C. 1. b. Partial Compliance
C. 1. c. Substantial Compliance
C. 1. d. Substantial Compliance
        Substantial lags to laboratory testing, chronic care visits and medication continue

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through the period ending October. Staff report, anecdotally that there are no longer any
backlogs, yet grievances and reports from Plaintiffs’ attorneys bely that statement. The lags
to laboratory testing and to chronic care visits lead to lags to medication.
        There are persistent and significant lags to first dose of medication prescribed for detoxification.
Suggestions:
        Continue to improve performance on conformance to chronic disease protocols for medical
and psychiatric conditions. Reduce lags to and lapses in medication.
2.a. Provide the Monitor a periodic report on health care at the Facility. These periodic reports shall be
provided to the Monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement. Each report will include:
         (1) number of prisoners transferred to the emergency room for medical treatment related to
         medication errors;
         (2) number of prisoners taken to the infirmary for non-emergency treatment related to
         medication errors;
         (3) number of prisoners prescribed psychotropic medications;
         (4) number of prisoners prescribed “keep on person” medications; and
         (5) occurrences of medication variances.
2.b. Review the periodic health care delivery reports to determine whether the medication administration
protocols and requirements of this Agreement are followed. OPSO shall make recommendations
regarding the medication administration process, or other necessary changes in policy, based on this
review. The review and recommendations will be documented and provided to the Monitor.
Findings:
C. 2. a. Substantial Compliance
C. 2. b. Partial Compliance
        Periodic reports have been sporadic. There is no indication that Wellpath has used
data to improve timely access to care or medication. There are no reports on medication
contraband, with analysis of data and corrective action plans.
Suggestion:
        C. 2. a. Provide reports every six months.
Suggestion:
        C. 2. b. Review reports, once written, and make recommendations. Recommendations
should be reviewed at committee meetings to assure multidisciplinary input. Report on
medication contraband and efforts to reduce diversion of prescribed medication.
3.a. OPSO shall notify Qualified Medical or Mental Health staff regarding the release of prisoners with
serious medical and/or mental health needs from OPSO custody, as soon as such information is available.
3.b. When Qualified Medical or Mental Health staff are notified of the release of prisoners with serious
medical and/or mental health needs from OPSO custody, OPSO shall provide these prisoners with at least
a seven-day supply of appropriate prescription medication, unless a different amount is necessary and
medically appropriate to serve as a bridge until prisoners can reasonably arrange for continuity of care
in the community.
3.c. For all other prisoners with serious medical and/or mental health needs who are released from OPSO
custody without advance notice, OPSO shall provide the prisoner a prescription for his or her medications,
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printed instructions regarding prescription medications, and resources indicating where prescriptions
may be filled in the community.
3.d. For prisoners who are being transferred to another facility, OPSO shall prepare and send with a
transferring prisoner, a transition summary detailing major health problems and listing current
medications and dosages, as well as medication history while at the Facility. OPSO shall also supply
sufficient medication for the period of transit for prisoners who are being transferred to another
correctional facility or other institution, in the amount required by the receiving agency.
Findings:
C. 3. a. Substantial Compliance
C. 3. b. Substantial Compliance
C. 3. c. Substantial Compliance
C. 3. d. Substantial compliance
        The proportion of patients with serious needs reached continues to increase. Once
identified, the patients are receiving either a supply or a prescription that can be filled at no
cost; medication pickup rates are reportedly improved at 47%. Transfer of information and
medication appears to be working well.
Suggestion:
        C. 3. a. Improve notifications.
Suggestions:
        C. 3. b. Build on recent progress to increase numbers. Continue to counsel patients
face-to-face.
IV.     D. 1. Sanitation and Environmental Conditions
Findings:
D.1. a. Partial Compliance
D. 1. b. Substantial Compliance
D. 1. c. Substantial Compliance
D. 1. d. Partial Compliance
D. 1. e. Substantial Compliance
D. 1. f. Substantial Compliance
D. 1. g. Substantial Compliance
D. 1. h. Substantial Compliance
IV. D. 1. a. OPSO shall provide oversight and supervision of routine cleaning of housing units, showers, and
medical areas. Such oversight and supervision will include meaningful inspection processes and
documentation, as well as establish routine cleaning requirements for toilets, showers, and housing units
to be documented at least once a week but to occur more frequently.
Finding:

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Partial Compliance
Observations:
        The Monitor physically inspected every occupied housing unit in the OJC and TDC
facilities with the exception of the COVID positive quarantine unit. Given the circumstances
due to COVID and the procedural modifications made as a result of social distancing
requirements, the Monitor observed the overall level of cleanliness in the housing units to be
generally acceptable with some exceptions noted below. The Monitor also interviewed the
OPSO Sanitarian and Environmental Officer as well as inmates and staff during the
inspection itself. The Sanitarian noted that no state inspections had been performed in May
2020 as typically scheduled due to the pandemic. OPSO was advised that the state would
notify them when inspections were to resume.
        OPSO was unable to provide cleaning schedule and inspection documentation included
with previous inspections with the explanation that staffing and resource constraints during the
COVID crisis prevented the recording and collection of this information. Specifically, the
Sanitarian noted that the shower cleaning responsibilities normally performed by Sanitation staff
had been turned over to Security staff to manage due to a lack of inmate workers available under
COVID restrictions. The Sanitarian also reported that the section’s staffing levels had remained
good during the reporting period with only occasional diversion of evening Sanitation staff to
other security functions.
        During the virtual tour, inmate showers were specifically viewed by the Monitor. The
majority of the showers appeared to be generally clean and free of trash, soap residue and drain
flies. Some residual condensation was noted in at least three showers, but staff noted that each
had been in use just prior to the Monitor’s visit to that unit.
       OPSO continues to provide substantial documentation of monthly housing unit
inspections by the Environmental Officer. While the Monitor observed a generally acceptable
level of cleanliness in the units viewed during the virtual tour, the monthly environmental
inspection reports continue to note clutter and cleanliness issues primarily in individual
cells, but also some common areas. Typical inspection notations included dirty floors/walls,
lavatories, and trash/excess clutter. The documentation continues to show a reduction in the
frequency of obstructed cell vents however the Monitor noted at least three housing units
where at least half of the air supply vents were obstructed. These were in Unit C and on the
1st and 2nd floor.
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       The Environmental Inspection reports also reflected that the inspector found the unit
mop/chemical closets to be secured in a majority of instances. The Monitor, however, found
two doors unsecured and unsupervised by security staff. The door leading into the attorney
visitation/mop closet area in 2E had actually been “tied” open by inmates inserting the video
monitor handset into the door handle. There were no deputies on either 2E or 2F pod. The
Monitor noted the chemical dispenser to be broken, spray bottles missing and the closet to
be in disarray. This was the case in several housing units indicating a lack of supervision and
security awareness on the part of the pod deputies. Sanitation staff advised that the
destruction of the chemical dispensers was an increasing problem and that replacements
had been difficult to obtain.
       The Monitor also noted several lighting fixtures in the mop closets had been removed
and was advised that inmates had been tampering with the lights by removing the mounting
“rods” (all-thread) that secured the lights to the ceilings. The inmates would conceal the
damage by tying the light fixture back to the ceiling with strips of material—the Monitor
noted at least two fixtures still held in place in this manner. The inmates would then use the
10” to 20” rods to smash and damage cell door windows (approximately 15 to 20 windows).
This has been a relatively new occurrence and poses a significant safety and security risk.
This is a direct result of the pod deputies’ failure to secure the mop closets when not in use
and their failure to monitor the inmates when they are allowed access to the closets. The
Monitor noted some clutter issues during the inspection, primarily in units with individual
cells—this is also noted in the Environmental and Life-Safety inspection reports. This has
been noted with every inspection and continues to be a challenge primarily for the lockdown
inmate populations.
       The documentation confirmed the inability of the Sanitarian and Environmental
Officer to maintain consistent, regular cleaning schedules due to the COVID pandemic
restrictions.
       Grievances regarding sanitation issues were minimal (3) during the rating period.
Inmate reports via grievance of inadequate or missing cleaning supplies were consistently
low however this was an issue noted in the notes of several “town hall” meetings conducted
by the Sanitarian in the housing units. Inmates, particularly in restricted or lock-down dorms
reported verbally there was a lack of cleaning chemicals and a lack of access to cleaning
chemicals purportedly due to COVID restrictions. The Monitor reviewed the Sanitation staff’s
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chemical refill documentation for the housing units on the 1st, 2nd, and 3rd floors (housing
units with 1-2 person cells)—specifically the E23 disinfectant. The documentation reflected
a significant drop in the replenishment of this cleaning chemical during the pandemic. Some
of this drop may be attributed to the initial drop in population, but it is the Monitor’s opinion
that the COVID restriction procedures have substantially impaired the inmates’ ability to
clean and disinfect common areas as well as their cells. Inmates complained to the Monitor
that they are unable to clean, wash clothing, shower and make phone calls during their one
to two hours out of their cells daily. Several complained on not being able to get out of their
cells at all on some days. Pod deputies were asked how the inmates were allowed out of their
cells. They stated that only the day shift was responsible for allowing inmates their dayroom
time. One deputy stated that, depending on the number of inmates in the unit, she could not
allow all of them out during her shift. She stated she would start with those still lacking time
out the next day. She stated she could not verify whether these inmates would get time out if
she were not present the next day. It is recommended that the Unit Managers adopt a
uniform procedure for allowing inmates dayroom time to insure all receive at least one hour
per day in lockdown units and as much as possible in general population housing taking into
account social distancing requirements.
         Directly related to sanitation in the inmate housing units and the control of infectious
disease within the jail is the Monitor’s observations of the OPSO COVID-19
policy/procedures related to social distancing within the units and the sanitation of common
areas.
         While the OPSO COVID-19 policy does not specifically address social distancing, the
Monitor again observed several housing pods with one/two person cells being managed so
as to promote social distancing. The procedure consisted of allowing only a fraction of the
inmates access to the dayroom at any given time for a two-hour period on a rotational basis.
The Monitor did not observe a significant number of inmates in the dayrooms conversing
with inmates locked in their cells or passing items as with the previous inspection. However,
inmates were observed to be using furniture, fixtures, and equipment (e.g., phone handsets
and video screens) without any efforts at sanitation between uses. Inmates were observed
congregating in several dayrooms without wearing their issued face masks. Inmates in open
dormitories also failed to wear masks consistently, particularly while in their bunks. In Pod
2E, the pod with no deputy present, five inmates were found by the Monitor congregating in
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a single cell on the upper tier apparently smoking some sort of contraband. OPSO is
encouraged to review the actual management of these activities by line staff to ensure the
greatest possible benefit is realized from their efforts to control the spread of COVID-19
within the jail.
       The Monitor found two instances where two types of chemicals and latex paint were
stored in two chemical storage rooms and were not on approved chemical list and/or had no
corresponding Safety Data Sheet. The Sanitarian corrected the issues immediately.
       As previously noted, regular provision of clean inmate clothing and bedding and
appropriate inventory of these supplies are essential to sanitation, infection control and
disease prevention. The Sanitarian reported that she was able to maintain an adequate
supply of inmate clothing for issue and exchange. As with the previous inspection, the
increased frequency of clothing exchange for inmates in COVID-19 affected pods continues.
The Sanitarian noted no issue with the laundry vendor’s performance. Inmates continue to
launder their personal items (e.g. underwear, shorts) in the washing machines and dryers
located in each housing unit when allowed. COVID restrictions in the housing units,
particularly lockdown and quarantine pods do not allow inmates enough time to launder
personal items in the provided washers and dryers. The Monitor was advised that
management is considering a new procedure where inmate workers will be assigned to
wash inmates’ personal items for them overnight in the quarantine pods. The Monitor
recommends that management consider the same procedure for inmates in disciplinary
lockdown and segregation. The Monitor further recommends that any inmate workers
assigned this task receive proper instruction on the safe handling of the clothing and be
issued the proper personal protective equipment.
       The Monitor observed the majority of the clothes dryers located in OJC’s inmate
housing units were generally serviceable although several had effectively non-functional
exhaust lines typically found in the open dormitories. The lines were crushed against the
wall, torn, or disconnected. One washer/dryer set in one of the dormitories had been
removed by Maintenance staff and not replaced. Inmates continue to tamper with and/or
used to heat water-filled latex gloves stuffed into the lint traps or placed under a towel
draped over the dryer exhaust port to heat water. The tampering was readily apparent to the
Monitor and should have been to the pod officer. One washer electrical outlet had been
shorted out by inmates attempting to create a “stinger” device and the damage was extensive
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enough to destroy the outlet and trip the circuit back to the circuit breaker in the electrical
room. The Maintenance Section noted that the contractor hired to repair the washers and
driers as issues arise has been very helpful. As noted previously, this increased attention was
more apparent in the pods where the laundry area is secured. The accumulation of lint
behind and above the driers as well as on the surface of return-air grills was noted to be less
prevalent than during previous inspections.
        During the inspection, the Monitor noted via video that the accumulation of inmates’
personal items (paperwork, commissary purchases, and other approved items) was at
acceptable levels in most areas. As noted previously, the most problematic areas continue to
be the high-security units.
IV. D. 1. b. Continue the preventive maintenance plan to respond to routine and emergency maintenance
needs, including ensuring that showers, toilets, and sink units are adequately installed and maintained.
Work orders will be submitted within 48 hours of identified deficiencies, or within 24 hours in the case of
emergency maintenance needs.
Finding:
Substantial Compliance
Observations:
        The Monitor reviewed the Sanitation and Environmental Conditions report, the OPSO
Preventive Maintenance Plan, the Preventive Maintenance Schedule Summary report, and a
Preventive Maintenance work orders status report as well as inmate grievances related to
maintenance issues. The Monitor also interviewed the Maintenance Director. The
documentation reflected an on-going preventive maintenance program for major building
systems and components consistent with OPSO policy and the Consent Judgment. Deferred
preventive maintenance did not appear to have risen due to the COVID pandemic and the
Maintenance Director confirmed his staff had not been substantially impacted the section’s
ability to address both preventive maintenance and calls for service beyond the impacts
noted in Report #12.
        Individual inmate interviews conducted during the walk-thru in each housing unit
revealed no significant complaints by inmates regarding water, electric or HVAC services in
individual cells that were not addressed in a timely fashion. The Monitor did note several
issues with water pressure at the restroom sinks in open dormitory pods and with water
fountains in at least two pods. As with the previous inspection, there was no marked
increase/decrease in the number of grievances received on a monthly basis also indicating

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that routine issues with basic plumbing, mechanical or electrical services in inmate cells or
dayrooms are typically remedied within 48 to 72 hours and that work orders are being
submitted in a timely manner as required by the Consent Judgment (“Work orders will be
submitted within 48 hours of identified deficiencies, or within 24 hours in the case of
emergency maintenance needs”).
        Of particular note, inmates reported to the Monitor that security staff routinely failed
to answer intercom calls made by the inmates “even when the deputy is in the pod”. It was
the Monitor’s understanding that the pod control room operator would answer intercom
calls when the pod deputy is unavailable to do so even when present in the pod. Upon
investigation, the Monitor learned that the pod control room cannot answer intercom calls
when the pod deputy is logged into the pod control station. The underlying issue seems to be
a number of missing or broken microphone/speaker modules at the pod deputy desks. The
inmates stated that grievances had been filed about the issue. It is unclear if security staff
have reported all intercom system issues to Maintenance. Grievance staff stated they will be
copying Maintenance on such grievances to ensure Maintenance is aware of any such reports
by inmates.
IV. D. 1. c. Maintain adequate ventilation throughout OPSO facilities to ensure that prisoners receive
adequate air flow and reasonable levels of heating and cooling. Maintenance staff shall review and assess
compliance with this requirement, as necessary, but no less than twice annually.
Finding:
Substantial Compliance
Observations:
        Adequate air flow is maintained in the facilities but continues to be impeded in a few
inmate cells when inmates block the air vents. As noted above, the Monitor noted at least
three housing units where the inmates in at least half of the cells in the pod had partially or
completely covered over the supply vent in their cell. This impedes the HVAC’s proper
functioning and potentially impacts the system’s ability to provide the required 15 air
exchanges per hour in cells with a toilet. This is an inmate supervision issue and must be
addressed by security staff. The Monitor noted that the majority of housing dayrooms and
cells to be at a relatively reasonable levels of heating and cooling so this section’s rating
remains in Substantial Compliance.
        As noted in the two previous reports, test and balance reports for the
Kitchen/Warehouse (2014), OJC (2017) and TDC (2012) were the latest available to the
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Monitor.
        Prior to the September 2019 report, this section had been interpreted as requiring
comprehensive “test and balance” assessments on a semi-annual basis. Such assessments
are very expensive and typically performed only during the commissioning of new or
replacement HVAC systems. As with the previous two inspections, the Monitor met with the
Maintenance Director specifically to discuss the status and capabilities of the OJC Building
Automation System that controls the heating and cooling throughout all occupied areas in
OJC. The Maintenance Director provided screenshots of all mechanical, electrical and
plumbing systems controlled by the BAS demonstrating the real-time monitoring of the
systems for the Monitor’s review as well as their operating status at the time the
screenshots were taken. A report of the system’s warning and alarm functions was also
generated which reflected no major equipment or systems issues at the time the report was
generated.
        The system can automatically compensate for changes in climate and heat load as well as
increased or decreased demand for air flow, mechanical breakdowns typically require physical
repair by Maintenance staff. The Maintenance Director was again able to provide documentation
reflecting work orders generated for the repair/replacement of mechanical system components
restoring the system to normal operation. It is the Monitor’s opinion that the OJC Building
Automation System, as currently operated, meets the intent of the Consent Judgment with regard
to this section.
IV. D. 1. d. Ensure adequate lighting in all prisoner housing units and prompt replacement and repair of
malfunctioning lighting fixtures in living areas within five days unless the item must be specially ordered.
Finding:
Partial Compliance
Observations:
        The Monitor observed sufficient lighting being provided in housing units and
individual cells of both OJC and TDC. Maintenance staff continue to maintain a supply of
replacement bulbs, transformers, or ballasts to repair malfunctioning lighting. However,
during this inspection the Monitor noted several light fixtures in the pod mop closets to have
been removed due to inmate tampering and at least two fixtures still in place held up by
cloth strips (also due to inmate tampering). This presents a safety and security hazard to
both inmates and staff and is a direct result of pod deputies failing to secure the mop closets

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and provide direct supervision of the inmates when they are allowed access to the closets.
The Monitor observed no outstanding electrical work orders beyond routine bulb
replacement and the issue noted above.
IV. D. 1. e. Ensure adequate pest control throughout the housing units, including routine pest control
spraying on at least a quarterly basis and additional spraying as needed.
Finding:
Substantial Compliance
Observations:
        A review of the documentation submitted found sufficient evidence of a pest control
program that meets the intent of the Consent Judgment. OPSO continues to maintain a pest
control contract with a state licensed company for monthly service of all housing areas and
bi-weekly service for the Kitchen/Warehouse. Inmate grievances related to pest control
were reviewed and found to have been addressed in a timely manner. The Monitor observed
no “drain fly” issues anywhere in the facility.
        Environmental, Sanitation and Life-Safety staff performing inspections and
responding to pest control grievances continue to initiate work orders for pest control and
to document how, when. and where infestations are identified and remedied.
IV. D. 1.f. Ensure that any prisoner or staff assigned to clean a biohazardous area is properly trained in
universal precautions, outfitted with protective materials, and properly supervised.
Finding:
Partial Compliance
Observations:
        As noted in previous inspections, Policy 1101.07, “Bio-hazardous Spill Cleaning
Procedures” [Revised 1/18/2018] Section VIII. A. 1 has been revised to allow properly
trained and equipped inmates and deputies to clean-up bio-hazardous spills. Training
materials were devised by the Sanitarian. No inmates were trained during the rating period
according to the Sanitarian as no inmates have been assigned to the section during the
COVID pandemic. The Monitor also reviewed training curricula and documentation
indicating that during 2020, all pre-service staff received training in bio-hazardous cleanup
procedures as part of their initial training in each new-hire class in 2020. Documentation
reflected that the in-service training for this requirement had been postponed due to the
pandemic. No training had occurred as of the date of the inspection.
        As of November 2018, the Sanitation and/or Environmental Officer is required to be

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notified of such incidents each business day to enable them to replace any bio-hazardous
clean up protective materials used and inspect the area to ensure it was properly cleaned
and sanitized. The Sanitarian reported that three such incidents reports were received
during the rating period covered by this inspection and that she responded to two additional
incidents personally and replaced those kits. The Monitor personally inspected the
emergency response kits in each pod control room and found one kit to be missing. The
Sanitarian immediately replaced the biohazard clean up kit. Security staff’s failure to make
this notification made it impossible for the Sanitarian to properly inspect the affected area in
a timely manner as required by policy. The Monitor strongly urges the supervisory chain
address this deficiency given the potential health and safety impact.
IV. D. 1. g. Ensure the use of cleaning chemicals that sufficiently destroy the pathogens and organisms in
biohazard spills.
Findings:
Substantial Compliance
Observations:
        The Monitor was able to make direct observation of the chemicals on-hand and
available to staff were sufficient to destroy the pathogens and organisms in bio-hazardous
spills common in a jail environment to include the COVID-19 virus. The Sanitarian stated
that an additional chemical had been added and was the primary disinfectant being given to
inmates and staff in the pods to disinfect common areas and cells. Chemical inventory
records indicate this product was added in August 2020. Based upon this statement and
observations made during previous inspections, the Monitor is continuing to rate this
section as being in substantial compliance.

        Additionally, the chemical storage inventory documentation submitted demonstrated
availability of a consistent supply of the required chemicals being maintained by the
designated staff.
IV. D. 1. h. Maintain an infection control plan that addresses contact, blood borne, and airborne hazards
and infections. The plan shall include provisions for the identification, treatment, and control of
Methicillin-Resistant Staphylococcus Aureus (“MRSA”) at the Facility.
Findings:
Substantial compliance
Observations:
        As with the previous inspection, the Monitor reviewed the OPSO infection control

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policy 1201.11 as well as the WellPath Infection Control Program document (rev. 8/30/18)
submitted by OPSO. All requisite areas required by the Consent Judgement were addressed,
to include MRSA, and included by OPSO for the Monitor’s review and found sufficient.
        The Monitor was unable to directly observe the handling and sanitation of inmate
mattresses in OJC or TDC. No violations were observed during the inspection at either
facility. OPSO has previously provided for annual review of the policy and standard
operating procedures for the handling of inmate mattresses to include staff and/or inmate
sanitation training program that includes mattress cleaning, and chemical use and control.
This procedure is specifically required by the Infection Control Plan.
IV. D. 2. Environmental Control
Findings:
D. 2. a. Substantial Compliance
D. 2. b. Substantial Compliance
IV. D. 2. a. OPSO shall ensure that broken or missing electrical panels are repaired within 30 days of
identified deficiencies, unless the item needs to be specially ordered.
Findings:
Substantial Compliance
Observations:
        OPSO Policies 601.02 “Reporting and Addressing Maintenance Needs” and Policy
601.03 “Preventive Maintenance” [August 15, 2016] and are implemented. Major electrical
panels at OJC and TDC are located in secure maintenance spaces inaccessible to inmates.
IV. D. 2. b. Develop and implement a system for maintenance and timely repair of electrical panels,
devices, and exposed electrical wires.
Findings:
Substantial Compliance
Observations:
        The Monitor noted new issues related to exposed/damaged wiring/cabling during
the tour. While investigating the extent of damage caused to an electrical circuit by inmate
tampering with an outlet in a housing unit, the Monitor observed that the circuit breaker in
the electrical room had been tripped. The outlet had not been repaired/replaced and was not
safe to be re-energized nor was a “lock-out/tag-out” device placed on the circuit breaker to
prevent accidental resetting of the breaker. It did not appear that Maintenance staff had
been made aware of the damage through the work order system by security staff as should

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have occurred. The Maintenance Director advised that a “lock-out/tag-out” system and
procedure would be investigated and implemented.
        The Monitor considers this to be sufficient to support a continued finding of
Substantial Compliance.
IV. D. 3. Food Service
        This report summarizes the findings for the Food Service provisions of the Consent
Judgment based on the Monitor’s document reviews and tour conducted November 9-12,
2020. The Monitor inspected the Orleans Justice Center (OJC) Kitchen/Warehouse;
observed meal service activities; and spoke with OPSO supervisors and deputies, Summit
contracted food service employees, and inmates.
        Since the last tour on May 18-22, 2020, OPSO has maintained compliance with the
Food Service provisions resulting in sections IV. D. 3. a, IV. D. 3. b., and IV. D. 3. c. of the
Consent Judgment remaining in substantial compliance.
Findings:
D. 3. a. Substantial Compliance
D. 3. b. Substantial Compliance
D. 3. c. Substantial Compliance
IV. D. 3. a. OPSO shall ensure that food service staff, including prisoner staff, continues to receive in-service
annual training in the areas of food safety, safe food handling procedures, and proper hygiene, to reduce
the risk of food contamination and food-borne illnesses.
Findings:
Substantial Compliance
Observations:
        OPSO and Summit continue to provide documentation of ongoing annual in-service
food safety training for staff, including inmate workers, and therefore D. 3. a. remains in
Substantial Compliance for the period of April 2020 through September 2020.
IV. D. 3. b. Ensure that dishes and utensils, food preparation and storage areas, and vehicles and
containers used to transport food are appropriately cleaned and sanitized on a daily basis.
Findings:
Substantial Compliance
Observations:
        OPSO and Summit food service management staff have continued to maintain
significant improvements in cleaning and sanitization and D. 3. b. remains in Substantial

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Compliance for the period of April through September 2020. Although the COVID-19
pandemic has significantly limited the number of inmate workers that are available to work
in the kitchen, OPSO has assigned additional deputies to work in the kitchen alongside
Summit staff to ensure that the daily kitchen functions are completed, including cleaning
tasks. The Monitor observed the kitchen to be clean.
        OPSO uses a logbook to document that the truck used to transport the meals from the
kitchen to the jail is swept, washed, rinsed, and sanitized after delivering the breakfast,
lunch, and dinner meals. However, when the logbook was reviewed on November 11, 2020,
it was found that the last entry was for the breakfast meal on November 8, 2020. The OPSO
kitchen supervisors stated that the truck is cleaned and sanitized after every meal. However,
because a failure to make entries in the logbook does not necessarily mean that the truck
was not cleaned and the interior of the box truck’s cargo space was found to be clean and
odor-free while observing the process of loading the food carts on the truck at the kitchen
and offloading the food carts at the OJC dock, this finding will not negatively impact this
compliance rating. The Consent Judgment requires that OPSO ensure that the vehicles used
to transport food are appropriately cleaned and sanitized on a daily basis, and a logbook is
an effective tool to facilitate compliance with ensuring that vehicles are cleaned and
sanitized, while also providing documentation that it was done. However, failing to make
entries in a logbook is not only a poor practice, but it also makes it an unreliable record.
              •   OPSO kitchen supervisors should hold their truck drivers responsible for
                  completing documentation and logs related to ensuring that the vehicles
                  used to transport food are cleaned and sanitized on a daily basis, in a
                  consistent and timely manner.
IV. D. 3. c. Check and record on a daily basis the temperatures in the refrigerators, coolers, walk-in
refrigerators, the dishwasher water, and all other kitchen equipment with a temperature monitor, to
ensure proper maintenance of food service equipment.
Findings:
Substantial Compliance
Observations:
        The Consent Judgment requires that OPSO “Check and record on a daily basis the
temperatures in the refrigerators, coolers, walk-in refrigerators, the dishwasher water, and
all other kitchen equipment with a temperature monitor, to ensure proper maintenance of
food service equipment.” Temperatures are used as a means of confirming the working
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condition of kitchen equipment by measuring with a properly calibrated thermometer or
temperature measuring device and documenting the operating temperature to ensure that it
complies with the temperatures specified in the Louisiana Food Code. The Monitor reviewed
temperature documentation and tested random food temperatures during the tour. The
dishwasher and refrigeration/cooler temperature logs were reviewed and found to be
compliant with the following exception. A refrigerator on casters was observed at TDC that
held approximately six unlabeled, undated meal trays. The digital temperature gauge on the
refrigerator read 33F, which is an appropriate temperature. However, there was not a
temperature log or record for the refrigerator as required by D. 3. c. stating, “Check and
record on a daily basis the temperatures in the refrigerators.” The refrigerator was observed
to be dirty with an accumulation of food debris and crumbs in the bottom of the unit. The
Monitor’s concern is not that the meals found in the refrigerator were going to be served to
inmates, rather that all refrigerators that are used to hold or store food or meal trays are
maintained in accordance with the Consent Judgment.
            •   The refrigerator at TDC should be kept clean and free of food debris as
                required by D. 3. b. of the Consent Judgement stating that food storage areas
                are appropriately cleaned and sanitized on a daily basis.
            •   OPSO supervisors should ensure that the temperature of the refrigerator at
                TDC is checked and recorded on a daily basis with a temperature monitor, to
                ensure the proper maintenance of foodservice equipment. as required by D.
                3. C. of the Consent Judgment.
       On November 9, 2020, the lunch meal service was observed at OJC. Per the
established OPSO policy and procedure, the food temperature on random meal trays was
measured. The food on the regular/general diet trays was measured at appropriate
temperatures. However, the temperatures of the medical diet trays were found to be below
the OPSO established acceptable temperature threshold. The kitchen managers immediately
and appropriately instructed the kitchen to remake all of the medical diet trays. Although
replacing all of the medical diets caused a significant delay in the lunch meal and
undoubtedly caused difficulties for the jail, it helped ensure that the food was not only
palatable, but that it was safe. OPSO and Summit kitchen management immediately began
investigating the cause of the temperature problem and working together to implement
improvements to the preparation of medical diets to help prevent future occurrences.
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Therefore, the Monitor views this as a success, rather than a failure, as it is an indicator that
OPSO has implemented an effective and functional policy and procedure and that the OPSO
and Summit food service managers continue to cultivate sound operational decision-making
skills. Therefore, this finding will not adversely affect the compliance rating and D. 3. c.
remains in Substantial Compliance for the period of April through September 2020. OPSO
and Summit should continue to strive to maintain all temperatures within the established
limits and document temperature problems along with corrective actions. However, to
remain in Substantial Compliance, temperatures below the OPSO and Summit established
limits and below those specified in the Louisiana Food Code must remain the exception,
occurring as outliers.
IV. D. 4. Sanitation and Environmental Conditions Reporting
Findings:
D.4. a. Substantial Compliance
D.4. b. Substantial Compliance
D. 4. a. Provide the Monitor a periodic report on sanitation and environmental conditions in the Facility.
These periodic reports shall be provided to the Monitor within four months of the Effective Date; and every
six months thereafter until termination of this Agreement. The report will include
          (1) number and type of violations reported by health and sanitation inspectors;
          (2) number and type of violations of state standards;
          (3) number of prisoner grievances filed regarding the environmental conditions at the Facility;
          (4) number of inoperative plumbing fixtures, light fixtures, HVAC systems, fire protection systems,
          and security systems that have not been repaired within 30 days of discovery;
          (5) number of prisoner-occupied areas with significant vandalism, broken furnishings, or
          excessive clutter;
          (6) occurrences of insects and rodents in the housing units and dining halls; and
          (7) occurrences of poor air circulation in housing units.
Findings:
Substantial Compliance
Observations:
        The January-June 2020 Sanitation and Environmental report was made available to
the Monitor prior to the November 2020 inspection tour. The report contained the requisite
information spelled out by the Consent Judgement as well as supporting documentation.
IV. D. 4. b. Review the periodic sanitation and environmental conditions reports to determine whether the
prisoner grievances and violations reported by health, sanitation, or state inspectors are addressed,
ensuring that the requirements of this Agreement are met. OPSO shall make recommendations regarding
the sanitation and environmental conditions, or other necessary changes in policy, based on this review.
The review and recommendations will be documented and provided to the Monitor.
Findings:
Substantial Compliance
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Observations:
        The Consent Judgment requires a review of the periodic sanitation and
environmental conditions reports to ensure issues are addressed along with making
recommendations regarding sanitation and environmental conditions and policy changes
based upon the review. Such reviews are to be documented and provided to the Monitor.
The Monitor reviewed the supporting documentation provided by OPSO and determined
that it was sufficient to satisfy the requirements of the Consent Judgment. OPSO provided
documentation of the required review and basic analysis of prisoner grievances and
inspection violations noted regarding sanitation and environmental conditions during the
rating period.
IV. E. 1. Fire and Life Safety
Findings:
E.1. a. Substantial Compliance
E. 1. b. Substantial Compliance
E. 1. c. Substantial Compliance
E. 1. d. Substantial Compliance
E. 1. e. Substantial Compliance
IV. E. 1. a. Ensure that necessary fire and life safety equipment is properly maintained and inspected at
least quarterly. These inspections must be documented.
Finding:
Substantial Compliance
Observations:
        The Monitor was able to conduct a tour of the OJC, TDC, and the Kitchen/Warehouse
facilities during the November 2020 with the Facility Life Safety Officer. The Monitor
observed no major issues with the fire and life safety equipment. One fire extinguisher in the
IPC area was found lacking a current inspection. The Fire Alarm Control Panel in OJC
indicated a trouble fault related to a recreation yard door in one of the pods. The doors are
integral to the smoke evacuation system. The remaining recreation yard door in the pod
remains functional. The problem is being addressed by Life Safety and Maintenance staff and
has been identified as a wiring issue. Options to repair the issue were being considered at
the time of the inspection. The Monitor advised the Maintenance Director of a potential
electrical code issue with control and high voltage wiring being contained within the same

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conduit running to this door and potentially to others. The Maintenance Director agreed to
follow up on the issue. The panel had previously been “Green Tagged” during the latest
contractor and Fire Marshall inspections. The FACP in TDC Building 4 that indicated a
backflow preventer “trouble” alarm during the previous inspection had been cleared. The
Monitor also reviewed all monthly and quarterly inspection documentation as well as
outside inspection documentation noting no significant issues and that requisite work
orders had been generated when warranted.
        Life Safety staff continue to use the “Facility Dude” work order system to maintain the
schedule of required inspections. The system notifies the Fire Safety Officer when an
inspection is due. OPSO continues to maintain contracts with licensed vendors to complete
annual inspections of all fire and life safety equipment. OPSO provided copies of quarterly
inspections conducted by the Fire Safety Officer for Kitchen/Warehouse, OJC, and TDC for
the second and third quarter of 2020. This documentation, supported by observations
during the compliance tour, indicates that OPSO ensures that necessary fire and life safety
equipment is properly maintained and inspected at required intervals. These inspections are
conducted by a qualified fire safety officer or a qualified contractor, as required by the
Consent Judgment.
IV. E. 1. b. Ensure that a qualified fire safety officer conducts a monthly inspection of the facilities for
compliance with fire and life safety standards (e.g., fire escapes, sprinkler heads, smoke detectors, etc.).
Finding:
Substantial Compliance
Observations:
        The Monitor was provided with the monthly inspection documents for the Kitchen
/Warehouse, OJC, and TDC facilities performed during the current inspection period. The
reports are thorough and complete with all noted discrepancies listed with the associated
work order number.
IV. E. 1. c. Ensure that comprehensive fire drills are conducted every six months. OPSO shall document
these drills, including start and stop times and the number and location of prisoners who were moved as
part of the drills.
Finding:
Substantial Compliance
Observations:
        The Consent Judgment requires comprehensive fire drills every six months. OPSO

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provided documentation for fire drills for all facilities and shifts conducted during the
current rating period. Only “Level 1” drills were conducted (no inmate evacuation) due to
COVID 19 restrictions. Documentation reviewed by the Monitor noted in excess of 90% of
available OJC and TDC (by squad) had participated in at least one drill during the rating
period. In addition to the detailed drill reports, the documentation lists, by name, any
delinquent staff with the listing provided to senior management for the coordination of
make-up training. Pre-service training was provided to all participants in classes held during
the rating period.
IV. E. 1. d. Provide competency-based training to staff on proper fire and emergency practices and
procedures at least annually.
Finding:
Substantial Compliance
Observations:
         OPSO has developed the requisite policy, training course syllabus/outline and
written directives. OPSO training staff provided documentation noting that the required
competency-based training on fire and emergency practices had been delayed until
December 2020 due to the pandemic crisis. This section remains in Substantial Compliance
pending the results of training in December.
IV. E. 1. e. Within 120 days of the Effective Date, ensure that emergency keys are appropriately marked
and identifiable by touch and consistently stored in a quickly accessible location, and that staff are
adequately trained in use of the emergency keys.
Finding:
Substantial Compliance
Observations:
        Inspection reports note the routine verification of the keys and the Fire Safety Officer
documents the periodic testing of the keys to verify they are operational. The Fire Safety
Officer trains staff on the use of the location and use of the keys during the fire and life safety
training curriculum provided to all staff at the training academy.
IV. E. 2. Fire and Life Safety Reporting
Findings:
E. 2. a. Substantial Compliance
E. 2. b. Substantial Compliance
IV. E. 2. a. (1) – (3) Provide the Monitor a periodic report on fire and life safety conditions at the Facility.
These periodic reports shall be provided to the Monitor within four months of the Effective Date and every

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six months thereafter until termination of this Agreement. Each report shall include:
       (1) number and type of violations reported by fire and life safety inspectors;
       (2) fire code violations during annual fire compliance tours; and
       (3) occurrences of hazardous clutter in housing units that could lead to a fire.
Finding:
Substantial Compliance
Observations:
        The 2020 Fire and Life Safety Conditions reports generated during the rating period
were made available to the Monitor prior to the November 2020inspection. The reports
contained the requisite information spelled out by the Consent Judgment as well as supporting
documentation.
IV. E. 2. b. Review the periodic fire and life safety reports to determine whether the violations reported by
fire and life safety inspectors are addressed, ensuring the requirements of this Agreement are being met.
OPSO shall make recommendations regarding the fire and life safety conditions, or other necessary changes
in policy, based on this review. The review and recommendations will be documented and provided to the
Monitor.
Finding:
Substantial Compliance
Observations:
        The Consent Judgment requires a review of the periodic fire and life safety reports to
ensure issues are addressed along with making recommendations regarding the fire and life
safety conditions and policy changes based upon the review. Such reviews are to be
documented and provided to the Monitor.
        The Monitor reviewed the supporting documentation provided by OPSO and
determined that it was sufficient to satisfy the requirements of the Consent Judgment. OPSO
provided documentation of the required review and basic analysis of fire and life safety
conditions as well as any necessary changes in policy or procedure.
        Meeting minutes from the previous review indicated the OPSO Life Safety Officer
communicated the information in IV. E. 2. a. (1) – (3), however, the Monitor noted a change
in OPSO counting rules for reporting the number of violations relative to Item#3 above in
Report #12 and addressed during the monthly Fire and Life/Safety inspections. Prior to this
submission, each violation was counted each month if observed and reported cumulatively.
The change in reporting resulted in a single violation being counted only once regardless of
the number of times the violation was observed during subsequent inspections. This
resulted in a precipitous, and somewhat misleading, drop in the number of violations

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reported in the Semi-Annual Report. The Monitor discussed the change with OPSO and
recommended alternative methods of reporting that may reflect a clearer picture of the
actual conditions over time. As the information was still available in the monthly inspection
reports and reviewable by the Monitor, the Monitor believes a continued finding of
Substantial Compliance is justified.
IV. F. Language Assistance
F.1.a. OPP shall ensure effective communication with and provide timely and meaningful access to services at
OPP to all prisoners at OPP, regardless of their national origin or limited ability to speak, read, write, or
understand English. To achieve this outcome, OPP shall:
          (1)        Develop and implement a comprehensive language assistance plan and policy that complies, at
                     a minimum, with Title VI of the Civil Rights Act of 1964, as amended, (42 U.S.C. § 2000d et seq.)
                     and other applicable law;
          (2)        Ensure that all OPP personnel take reasonable steps to provide timely, meaningful language
                     assistance services to Limited English Proficient (“LEP”) prisoners;
          (3)        At intake and classification, identify and assess demographic data, specifically including the
                     number of LEP individuals at OPP on a monthly basis, and the language(s) they speak;
          (4)        Use collected demographic information to develop and implement hiring goals for bilingual
                     staff that meet the needs of the current monthly average population of LEP prisoners;
          (5)        Regularly assess the proficiency and qualifications of bilingual staff to become an OPP
                     Authorized Interpreter (“OPPAI”);
          (6)        Create and maintain an OPPAI list and provide that list to the classification and intake staff;
                     and
          (7)        Ensure that while at OPP, LEP prisoners are not asked to sign or initial documents in English
                     without the benefit of a written translation from an OPPAI.
F.2.a. OPP shall develop and implement written policies, procedures and protocols for documenting, processing,
and tracking of individuals held for up to 48 hours for the U.S. Department of Homeland Security (“DHS”);
F.2.b Policies, procedures, and protocols for processing 48-hour holds for DHS will:
          (1)        Clearly delineate when a 48-hour hold is deemed to begin and end;
          (2)        Ensure that, if necessary, an OPPAI communicates verbally with the OPP prisoner about when
                     the 48-hour period begins and is expected to end;
          (3)        Provide a mechanism for the prisoner’s family member and attorney to be informed of the 48-
                     hour hold time period, using, as needed, an OPPAI or telephonic interpretation service;
          (4)        Create an automated tracking method, not reliant on human memory or paper documentation,
                     to trigger notification to DHS and to ensure that the 48-hour time period is not exceeded.
           (5)       Ensure that telephone services have recorded instructions in English and Spanish;
          (6)        Ensure that signs providing instructions to OPP prisoners or their families are translated into
                     Spanish and posted;
          (7)        Provide Spanish translations of vital documents that are subject to dissemination to OPP
                     prisoners or their family members. Such vital documents include, but are not limited to:
               i.         grievance forms;
               ii.        sick call forms;
               iii.       OPP inmate handbooks;
               iv.        Prisoner Notifications (e.g., rule violations, transfers, and grievance responses) and
               v.         “Request for Services” forms.
          (8)        Ensure that Spanish-speaking LEP prisoners obtain the Spanish language translations of
                     forms provided by DHS; and
          (9)        Provide its language assistance plan and related policies to all staff within 180 days of the
                     Effective Date of this Agreement.
F.3.a. Within 180 days of the Effective Date, OPP shall provide at least eight hours of LEP training to all
corrections and medical and mental health staff who may regularly interact with LEP prisoners.
           (1) LEP training to OPP staff shall include:
                    i.     OPP’s LEP plan and policies, and the requirements of Title VI and this Agreement;

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                 ii.    how to access OPP-authorized, telephonic and in-person OPPAIs; and
                iii.    basic commands and statements in Spanish for OPP staff.
           (2) OPP shall translate the language assistance plan and policy into Spanish, and other languages as
               appropriate, and post the English and translated versions in a public area of the OPP facilities, as
               well as online.
           (3) OPP shall make its language assistance plan available to the public.
F.4.
           (1)    OPP shall ensure that adequate bilingual staff are posted in housing units where DHS
                  detainees and other LEP prisoners may be housed.
           (2)    OPP shall ensure that an appropriate number of bilingual staff are available to translate or
                  interpret for prisoners and other OPP staff. The appropriate number of bilingual staff will be
                  determined based on a staffing assessment by OPP.
Findings:
F.1. a. Substantial Compliance
F. 2. a. Substantial Compliance
F. 2. b. Substantial Compliance
F. 3. a. Partial Compliance
F. 4. Substantial Compliance
Observations:
         The Language Assistance Plan required by this paragraph has now been prepared and
finalized.
         While OPSO asserts that DHS and ICE inmates are not detained, OPSO has developed a
policy which was submitted to the Monitors which brings provisions F. 2. a. and b. into
substantial compliance.
         OPSO provided documentation regarding the use of the language line. OPSO has
provided documentation regarding the number of bilingual staff and the manner in which
the needs of language assistance are provided bringing provisions of F. 4. into substantial
compliance. The Consent Judgment specifically requires at least eight hours of LEP training
to all corrections and mental health staff who may regularly interact with LEP inmates.
Provision IV. F. 3. a. is determined in partial compliance as the training is not provided.
Training of security and medical staff assigned to the IPC should be sufficient.
IV. G. Youthful Prisoners
IV. G. Consistent with the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et seq., and its
implementation of regulations, a youthful prisoner shall not be placed in a housing unit in which the
youthful prisoner will have sight, sound, or physical contact with any adult prisoner through use of a
shared dayroom or other common space, shower area, or sleeping quarters. In areas outside of housing
units, OPSO shall either: maintain sight and sound separation between youthful prisoners and adult
prisoners, or provide direct staff supervision when youthful prisoners and adult prisoners have sight,
sound, or physical contact. OPP shall ensure that youthful prisoners in protective custody status shall
have no contact with, or access to or from, non- protective custody prisoners. OPP will develop policies for
the provision of developmentally appropriate mental health and programming services.
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Finding:
Substantial Compliance
Observations:
      OPSO has provided documentation that its separation of youthful inmates from adult
inmates was found in compliance during its recent PREA audit. Youthful female inmates are
now housed in TDC. Tulane is providing developmentally appropriate mental health services
to youthful inmates. Travis School continues to provide educational and programming
services. The requirement for developmentally appropriate mental health and programming
services is separate and apart from PREA.
VI. A – D. The New Jail Facility and Related Issues
A. New Jail
The Parties anticipate that Defendant will build a new jail facility or facilities that will replace or
supplement the current facility located at 2800 Gravier Street, New Orleans, Louisiana. This Agreement
shall apply to any new jail facility.
Finding:
VI. A. Substantial Compliance.
B. Design and Design Document
Defendant shall obtain the services of a qualified professional to evaluate, design, plan, oversee, and
implement the construction of any new facility. At each major stage of the facility construction, Defendant
shall provide the Monitor with copies of design documents.
Finding:
VI B. Substantial Compliance
Observations:
      These provisions apply to the construction of any new facility. Phase III is such a
facility. Timely access to design documents has not been provided to the Monitors by the City
for Phase III. If this continues, this rating is in jeopardy of being lowered.
C. Staffing
Defendant shall consult with a qualified corrections expert as to the required services and staffing levels
needed for any replacement facility. OPSO shall complete a staffing study to ensure that any new facility is
adequately staffed to provide prisoners with reasonable safety.
Finding:
VI.C. Substantial Compliance
Observations:
      The Consent Judgment requires that the Defendant shall consult with a qualified
corrections expert as to the required services and staffing levels needed for any replacement
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facility. The Monitors are concerned that will await planning for Phase III to ascertain future
compliance. For now, the paragraph is in substantial compliance.
D. Compliance with Code and Standards
Defendant will ensure that the new jail facility will be built in accordance with: (1) the American
Correctional Association’s standards in effect at the time of construction; (2) the American with
Disabilities Act of 1990 (“ADA”), 42 U.S.C. §§ 12101-12213, including changes made by the ADA
Amendments of 2008 (P.L. 110-325) and 47 U.S.C. §§ 225-661, and the regulations there under; and (3) all
applicable fire codes and regulations.
Finding:
Monitors not qualified to evaluate.
Observations:
      The Monitors do not have the knowledge or expertise to evaluate compliance with this
paragraph. OPSO asserts that it is in compliance with this provision, without offering
documentation.
VII. Compliance and Quality Improvement
VII. A. Policies, Procedures, Protocols, Training Curriculum and Practices
Within 120 days of the Effective Date, OPSO shall revise and/or develop its policies, procedures, protocols,
training curricula, and practices to ensure that they are consistent with, incorporate, address, and
implement all provisions of this Agreement. OPSO shall revise and/or develop, as necessary, other written
documents, such as screening tools, logs, handbooks, manuals, and forms, to effectuate the provisions of
this Agreement. OPSO shall send pertinent newly drafted and revised policies and procedures to the
Monitor as they are promulgated. The Monitor will provide comments on the policies to OPSO, SPLC, and
DOJ within 30 days.

OPSO, SPLC, and DOJ may provide comments on the Monitor’s comments within 15 days. At that point, the
Monitor will consider the Parties’ comments, mediate any disputes, and approve the policies with any
changes within 30 days. If either party disagrees with the Monitor, they may bring the dispute to the
Court. OPSO shall provide initial and in-service training to all Facility staff with respect to newly
implemented or revised policies and procedures. OPSO shall document employee review and training in
new or revised policies and procedures.
Finding:
VII. A. Substantial Compliance
Observations:
      OPSO has now completed the development of the required policies. There are still
procedures and lesson plans which must be completed to remain in substantial compliance.
VII. (H). B. Written Quality Improvement Policies and Procedures
Within 180 days of the Effective Date, Defendant shall develop and implement written quality
improvement policies and procedures adequate to identify serious deficiencies in protection from harm,
prisoner suicide prevention, detoxification, mental health care, environmental health, and fire and life
safety in order to assess and ensure compliance with the terms of this Agreement on an ongoing basis.
Within 90 days after identifying serious deficiencies, OPSO shall develop and implement policies and
procedures to address problems that are uncovered during the course of quality improvement activities.

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These policies and procedures shall include the development and implementation of corrective action
plans, as necessary, within 30 days of each biannual review.
Finding:
VII. B. Partial compliance
Observations:
      OPSO has provided documentation that it is now developing plans to identify serious
deficiencies, and to address problems that are uncovered during the course of quality
improvement activities to warrant a finding of partial compliance. These plans need to
contain specific performance measures, timelines, and persons responsible. They also need
to be implemented with appropriate development of corrective action to be taken and the
auditing of adherence to the action plan.
VII. (I). C. Full-Time Compliance Coordinator
The Parties agree that OPSO will hire and retain, or reassign a current OPSO employee for the duration of
this Agreement, to serve as a full-time OPSO Compliance Coordinator. The Compliance Coordinator will
serve as a liaison between the Parties and the Monitor and will assist with OPSO’s compliance with this
Agreement. At a minimum, the Compliance Coordinator will: coordinate OPSO’s compliance and
implementation activities; facilitate the provision of data, documents, materials, and access to OPSO’s
personnel to the Monitor, SPLC, DOJ, and the public, as needed; ensure that all documents and records are
maintained as provided in this Agreement; and assist in assigning compliance tasks to OPSO personnel, as
directed by the Sheriff or his or her designee. The Compliance Coordinator will take primary responsibility
for collecting information the Monitor requires to carry out the duties assigned to the Monitor.
Finding:
Substantial Compliance.
VII. (J.) D. Self-Assessment
On a bi-annual basis, OPSO will provide the public with a self-assessment in which areas of significant
improvement or areas still undergoing improvement are presented either through use of the OPSO
website or through issuance of a public statement or report.
Finding:
Substantial Compliance
Observations:
        During the monitoring period, no town hall meetings were held. The holding of those
meeting and posting the PowerPoint presentations at those meetings brought OPSO into
substantial compliance. OPSO will remain in substantial compliance due to the posting of the
self-assessment although it appears to present a distorted view of areas needing
improvement.
VIII. Reporting Requirements and Right of Access
VIII. A. Periodic Compliance Reporting

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OPSO shall submit periodic compliance reports to the Monitor. These periodic reports shall be provided to
the Monitor within four months from the date of a definitive judgment on funding; and every six months
thereafter until termination of this Agreement. Each compliance report shall describe the actions
Defendant has taken during the reporting period to implement this Agreement and shall make specific
reference to the Agreement provisions being implemented. The report shall also summarize audits and
continuous improvement and quality assurance activities, and contain findings and recommendations
that would be used to track and trend data compiled at the Facility. The report shall also capture data
that is tracked and monitored under the reporting provisions of the following provisions: Use of Force;
Suicide Prevention; Health Care Delivered; Sanitation and Environmental Conditions; and Fire and Life
Safety.
Finding:
Substantial Compliance
Observations:
      The reports provided by OPSO are now sufficient to address the requirements of this
provision.
VIII. B. (Notification of) Death of Any Prisoner
OPSO shall, within 24 hours, notify the Monitor upon the death of any prisoner. The Monitor shall forward
any such notifications to SPLC and DOJ upon receipt. OPSO shall forward to the Monitor incident reports
and medical and/or mental health reports related to deaths, autopsies, and/or death summaries of
prisoners, as well as all final SOD and IAD reports that involve prisoners. The Monitor shall forward any
such reports to SPLC and DOJ upon receipt.
Finding:
Substantial Compliance
VIII. C. Records
Defendant shall maintain sufficient records to document that the requirements of this Agreement are
being properly implemented and shall make such records available to the Monitor within seven days of
request for inspection and copying. In addition, Defendant shall maintain and provide, upon request, all
records or other documents to verify that they have taken the actions described in their compliance
reports (e.g., census summaries, policies, procedures, protocols, training materials, investigations,
incident reports, tier logs, or use of force reports).
Finding:

Substantial Compliance

Observations:
        OPSO now generally provides responses with seven days of a request by the
Monitors. The monthly reports provided to the Monitors greatly decreases the need for
document requests. After the site visit, OPSO refused to provide the Monitors with
unredacted copies of the enemy refusal forms. But for the Chief of Corrections intervening
and providing the requested records, this rating would have been lowered.
III. Stipulated Orders
        OPSO and the Plaintiffs/DOJ negotiated two agreements after Compliance Report #3.
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The language of the Stipulated Orders was linked directly to the Consent Judgment and
represented priority areas for inmate safety. Some of them required a one-time action such
the posting of a memorandum or providing of training by a specific date. Some of the
provisions of the Stipulated Order of February 11, 2015 contain on-going obligations that are
in addition to the Consent Judgment or clarify the obligations under the Consent Judgment.
        The three provisions of the April 22, 2015 are in substantial compliance and
contained provisions that were to be accomplished by specific dates during April 2015. As
those dates have passed, the Monitors no longer monitor those provisions. Two of the
provisions in the Stipulated Order of February 11, 2015 require additional attention. The
provisions of the Stipulated Order of February 11, 2015, which require ongoing compliance
are 1. a-c. 5. b., 6. a., and 7. a. and b. The provisions that are not in substantial compliance are
addressed below.
1. c. Within 24 hours of the occurrence of any of the following incident, OPSO shall notify the Monitor via
email:
     • Death of an inmate/arrestee while held in custody (or housed in a hospital to which the inmate
         has been committed for care and retain in the custody of OPSO; or whose injury occurred while in
         custody and was subsequently released from custody);
     • An inmate’s/arrestee’s suicide, suicide attempt, aborted suicide attempt, suicidal intent, and/or
         deliberate suicide self-harm gesture as defined by the American Psychiatric Association;
     • An inmate’s allegation of sexual abuse, sexual assault, sexual harassment, or voyeurism whether
         the incident is between or among inmates, or between or among inmates and a staff/contractor
         or volunteer;
     • An inmate’s report, or a report by a staff/contractor or volunteer, of any inmate/inmate
         allegation of assault; or other inmate allegation of felonies occurring to them while in custody;
     • An Inmate’s report of a report by a staff/contractor or volunteer, of any allegation of excessive
         force by an employee, volunteer or contractor;
     • Suspension or arrest of any OPSO employee, volunteer, or contractor for alleged criminal
         activities while on-duty and/or in a facility under the control of OPSO; and
     • Any recovery of significant contraband, specifically weapons.
Finding:
Partial Compliance
Observations:
        OPSO complies with the first two bullet points, but it is usually verbally as opposed to
by email as required. OPSO is not in compliance with the reporting of the other incidents and
items with 24 hour by email. At best, the Monitor learns of some of the items through
incident reports, review of investigation and newspaper reports. OPSO should put in place a
system to comply with this provision.
6. a. By February 15, 2015, in order that the housing for youthful offenders is continually staffed by a deputy,
OPSO will assure that a deputy is working on every shift, on every day on the unit housing youthful offenders.
This deputy may not be assigned to other tiers or other responsibilities, and shall be periodically relieved by

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another deputy and/or supervisor. The evidence of compliance with this document will be the staffing
assignments each day, each shift for the facility in which youthful offenders are held, and samples of the log
books from that unit.

Finding:
Partial Compliance
Observations
        There are times that the housing units for youthful offenders is not staffed
continuously. The housing unit is usually made a mandatory post in the staffing assignments,
but the deputy leaves without having been relieved by another deputy or supervisor.




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Appendix A: Summary of Compliance Findings by Compliance Section Reports 1 - 13




                                                                                                                                          Report # 10




                                                                                                                                                                                   11/16/20
                                                                                                                                                        Report #11


                                                                                                                                                                     Report #12
                                                                                      Report # 6
                     Report # 1


                                  Report # 2


                                               Report # 3


                                                            Report # 4


                                                                         Report # 5




                                                                                                   Report # 7


                                                                                                                Report # 8


                                                                                                                             Report # 9




                                                                                                                                                                                  Report#13
                                                                                      10/25/16
                      2/13/14


                                   8/26/14


                                                2/25/15




                                                                          3/17/16




                                                                                                                 1/12/18


                                                                                                                              8/25/18


                                                                                                                                           3/18/19


                                                                                                                                                         9/19/19
                                                             9/9/15




                                                                                                    5/1/17




                                                                                                                                                                      3/6/20
   IV.A. 1. Use of Force Policies and Procedures/Margo Frasier
   IV. A. 1.a.         ND           NC           NC           PC           NC           PC           PC           PC           PC           SC            SC           SC          SC
   IV. A. 1.b.         ND           NC           NC           PC           NC           PC           PC           PC           SC           SC            SC           SC          SC
   IV. A. 1.c.         ND           NC           NC           PC           NC           NC           PC           PC           PC           SC            SC           PC          PC
   IV.A.2. Use of Force Training/Margo Frasier and Shane Poole
   IV. A. 2. a.        ND       NC     NC      NC      NC      PC                                    PC           PC           PC           PC            SC           SC          SC
   IV. A. 2. b.        ND       NC     NC      NC      NC      PC                                    PC           PC           PC           PC            SC           SC          SC
   IV. A. 2. c.        ND       NC     NC      NC      NC      NC                                    NC           NC           PC           PC            SC           SC          SC
   IV.A.3. Use of Force Reporting/Margo Frasier
   IV. A.3 a.          ND       NC    NC       PC                          NC           PC           PC           PC           PC           PC            SC           PC          PC
   IV. A.3 b.          ND       NC    NC       NC                          NC           NC           PC           PC           PC           PC            PC           PC          PC
   IV. A.3 c.          ND       NC    NC       NC                          NC           NC           PC           PC           PC           PC            PC           PC          SC
   IV. A.3 d.          ND       NC    NC       PC                          NC           NC           PC           PC           PC           PC            PC           PC          PC
   IV. A.3 e.          ND       NC    NC       PC                          PC           PC           PC           PC           SC           SC            SC           SC          SC
   IV. A.3 f.          ND       NC    NC       PC                          NC           PC           PC           PC           PC           PC            PC           PC          PC
   IV. A.3 g.          ND       NC    NC       PC                          PC           PC           PC           PC           SC           SC            SC           SC          SC
   IV. A.3 h.          ND       NC    NC       NC                          NC           NC           NC           NC           PC           SC            SC           PC          PC
   IV.A.4. Early Intervention System (“EIS”) /Margo Frasier and Shane Poole
   IV.A.4.a.           ND       NC      NC      PC     PC       PC     NC                                         NC           PC           PC            SC           SC          SC
   IV.A.4.b.           ND       NC      NC      PC     PC       PC     PC                                         PC           PC           SC            SC           SC          SC
   IV.A.4.c.           ND       NC      NC      PC     PC       PC     PC                                         PC           SC           SC            SC           SC          SC
   IV.A.4.d.           ND       NC      NC      NC     NC       PC     PC                                         NC           NC           PC            SC           SC          SC
   IV.A.4.e.           ND       ND      ND     ND      NC       NC     NC                                         NC           NC           SC            SC           SC          SC
   IV.A.5. Safety and Supervision/Margo Frasier
   IV.A.5.a.           ND       NC    NC       NC                          NC           NC           NC           NC           NC           PC            PC           PC          PC
   IV.A.5.b.           ND       NC    NC       NC                          NC           NC           NC           NC           NC           PC            SC           SC          SC
   IV.A.5.c.           ND       NC    NC       NC                          NC           NC           NC           PC           PC           PC            SC           SC          SC
   IV.A.5.d.           NC       NC    PC       PC                          NC           NC           NC           NC           PC           PC            PC           PC          PC
   IV.A.5.e.           ND       NC    NC       PC                          PC           NC           NC           NC           NC           PC            PC           PC          PC
   IV.A.5.f.           ND       NC    NC       PC                          PC           SC           SC           PC           PC           PC            PC           SC          SC
   IV.A.5.g.           ND       NC    ND       PC                          NC           NC           NC           NC           NC           PC            SC           SC          SC
   IV.A.5.h.           ND       NC    NC       NC                          NC           NC           NC           NC           NC           PC            PC           SC          SC
   IV.A.5.i.           ND       NC    NC       PC                          PC           PC           PC           PC           SC           PC            PC           PC          PC
   IV.A.5.j.           ND       NC    PC       PC                          NC           NC           NC           NC           PC           PC            PC           PC          PC
   IV.A.5.k.           ND       NC    PC       PC                          PC           PC           PC           PC           PC           PC            SC           SC          PC
   IV.A.5.l.           ND       NC    NC       NC                          PC           PC           PC           PC           PC           PC            SC           SC          PC
   IV.A.6. Security Staffing/Margo Frasier
   IV.A.6.a.          ND       PC     PC       PC                          SC           SC           PC           PC           PC           SC            SC           SC          PC
   IV.A.6.b.          ND       NC     PC       PC                          NC           PC           PC           PC           PC           SC            SC           SC          PC
   IV.A.7 Incidents and Referrals/Margo Frasier
   IV.A.7.a.           ND           NC           NC           NC           NC           PC           PC           PC           PC           PC            SC           SC          SC
   IV.A.7.b.           ND           NC           NC           PC           NC           PC           PC           PC           PC           PC            PC           SC          PC
   IV.A.7.c.           ND           NC           PC           PC           PC           PC           SC           SC           SC           SC            SC           SC          SC


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   IV.A.7.d.          ND       NC      NC      NC       NC      NC    NC   PC   PC   PC   SC   SC     SC
   IV.A.7.e.          ND       NC      PC      PC       PC      PC    PC   PC   PC   PC   SC   SC     PC
   IV.A.7.f.          ND       NC      NC      PC       PC      PC    PC   PC   PC   PC   PC   SC      Sc
   IV.A.7.g.          ND       NC      NC      PC       PC      PC    PC   PC   PC   SC   SC   SC     SC
   IV.A.7.h.          ND       NC      NC      PC       PC      PC    PC   PC   PC   PC   SC   SC     SC
   IV.A.7.i.          ND       NC      NC      PC       NC      NC    NC   NC   NC   PC   SC   SC     SC
   IV.A.7.j.          ND       NC      NC      NC       NC      NC    NC   NC   NC   SC   SC   SC     SC
   IV.A.8. Investigations/Margo Frasier
   IV.A.8.a.           ND      NC       PC     PC       PC      SC    SC   SC   SC   SC   SC   SC     SC
   IV.A.8.b.           ND      NC       PC     PC       PC      SC    SC   SC   SC   SC   SC   SC     SC
   IV.A.8.c.           ND      NC       PC     PC       PC      SC    SC   SC   SC   SC   SC   SC     SC
   IV.A.8.d.           ND      NC       NC     PC       PC      SC    SC   SC   SC   SC   SC   SC     SC
   IV.A.8.e.           ND      NC       NC     PC       PC      PC    PC   SC   SC   SC   SC   SC     SC
   IV.A.8.f.           ND      NC       NC     PC       PC      PC    PC   PC   SC   SC   SC   SC     SC
   IV.A.9. Pretrial Placement in Alternative Settings/Margo Frasier
   IV.A.9.a.            PC      PC       PC       SC     SC      SC   SC   SC   SC   SC   SC   SC     SC
   IV.A.9.b.            PC      PC       PC       SC     SC      SC   SC   SC   SC   SC   SC   SC     SC
   IV.A.10. Custodial Placement within OPP/Patricia Hardyman
   IV.A.10.a.         NC       PC      SC      SC       SC      SC    PC   PC   PC   PC   SC   SC     SC
   IV.A.10.b.         NC       NC      NC      SC       SC      SC    SC   SC   SC   SC   SC   SC     SC
   IV.A.10.c.         NC       NC      PC      PC       PC      PC    PC   SC   SC   SC   SC   SC     SC
   IV.A.10.d.         NC       NC      PC      PC       PC      PC    PC   NC   PC   SC   PC   PC     SC
   IV.A.10.e.         NC       NC      PC      SC       PC      PC    SC   PC   PC   PC   PC   PC     SC
   IV.A.10.f.         NC       NC      NC      NC       NC      PC    PC   PC   NC   SC   PC   PC     PC
   IV.A.10.g.         NC       NC      NC      NC       NC      PC    PC   PC   PC   SC   SC   SC     SC
   IV.A.10.h.         ND       NC      NC      PC       PC      PC    PC   PC   PC   PC   SC   SC     PC
   IV..A.11. Prisoner Grievance Process/Margo Frasier and Shane Poole
   IV.A.11.a           PC       PC     PC     PC       PC     PC      PC   PC   PC   PC
   IV.A.11.a.(1)                                                                          SC   SC     SC
   IV.A.11.a.(2)                                                                          PC   PC     PC
   IV.A.11.a.(3)                                                                          SC   SC     SC
   IV.A.11.a.(4)                                                                          SC   SC     SC
   IV.A.11.a.(5)                                                                          SC   SC     SC
   IV.A.11.a.(6)                                                                          PC   PC     SC
   IV.A.12. Sexual Abuse/Margo Frasier
   IV.A.12.             PC      PC    PC      PC        PC      PC    PC   PC   PC   PC   SC   SC     SC
   IV.A.13. Access to Information/Margo Frasier
   IV.A.13.            PC      PC      PC      PC       PC      PC    PC   PC   PC   SC   SC   SC     SC
   IV. B. Mental Health Care
   IV.B.1. Screening and Assessment/Raymond Patterson
   IV.B.1.a.           NC      NC    PC     PC      PC          PC    PC   PC   PC   SC   SC   SC     PC
   IV.B.1.b.           NC      NC    PC     PC      PC          PC    PC   PC   PC   SC   SC   SC     SC
   IV.B.1.c.           NC      NC    PC     PC      PC          PC    PC   PC   SC   SC   SC   SC     SC
   IV.B.1.d.           NC      NC    PC     PC      PC          PC    PC   PC   PC   SC   SC   SC     PC
   IV.B.1.e.           NC      NC    PC     PC      PC          PC    PC   PC   PC   PC   SC   SC     PC
   IV.B.1.f.           NC      NC    NC     NC      NC          NC    NC   NC   NC   PC   PC   PC     PC
   IV.B.1.g.           NC      NC    NC     NC      NC          NC    NC   NC   PC   PC   PC   PC     PC
   IV.B.1.h.          NC       NC      NC      NC       NC      NC    NC   NC   PC   SC   SC   SC     SC


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   IV.B.1.i.         NC     NC       NC        NC      NC    NC    NC   NC   NC   PC   PC   PC     PC
   IV.B.1.j.         NC     NC       NC        PC      NC    NC    NC   NC   NC   PC   PC   PC     PC
   IV.B.1.k.         NC     NC       NC        PC      NC    NC    NC   NC   NC   NC   PC   PC     PC
   IV.B.1.l.         NC     NC       NC        NC      NC    NC    NC   NC   NC   SC   SC   SC     PC
   B. 2. Treatment/Raymond Patterson
   IV.B.2.a.          NC      NC      NC       PC      PC    PC    PC   PC   PC   PC   PC   PC     PC
   IV.B.2.b.          NC      NC      NC       NC      NC    NC    NC   NC   NC   PC   PC   PC     PC
   IV.B.2.c.          NC      NC      NC       NC      NC    NC    NC   NC   NC   PC   PC   PC     PC
   IV.B.2.d.          NC      NC      NC       NC      NC    NC    NC   NC   NC   NC   NC   PC     PC
   IV.B.2.e.          NC      NC      NC       PC      PC    PC    PC   NC   NC   PC   SC   SC     SC
   IV.B.2.f.          NC      NC      NC       PC      PC    PC    NC   PC   PC   PC   SC   PC     PC
   IV.B.2.g.          NC      NC      NC       PC      PC    PC    NC   PC   PC   SC   SC   SC     SC
   IV.B.2.h.          NC      NC      NC       PC      PC    PC    PC   PC   NC   PC   SC   SC     PC
   IV.B.3. Counseling/Raymond Patterson
   IV.B.3.a.          NC     NC      NC        NC      PC    NC    NC   PC   PC   PC   PC   PC     PC
   IV.B.3.b.          NC     NC      NC        NC      PC    NC    NC   PC   PC   PC   PC   PC     PC
   IV.B.4. Suicide Prevention Training Program/Raymond Patterson
   IV.B.4.a.           NC       NC      NC     PC    PC      PC    PC   PC   NC   PC   PC   PC     NC
   IV.B.4.b.           NC       NC      NC     PC    PC      PC    PC   PC   PC   PC   SC   SC     SC
   IV.B.4.c.           NC       NC      NC     PC    PC      PC    PC   PC   PC   PC   PC   SC     SC
   IV.B.4.d.           NC       NC      NC     PC   NC      NC     NC   NC   NC   PC   PC   PC     NC
   IV.B.4.e.           NC       NC      NC     PC   NA       PC    PC   PC   PC   PC   PC   SC     SC
   IV.B.4.f.           NC       NC      NC    NC     PC      PC    NC   NC   SC   SC   SC   SC     SC
   IV.B.4.g.           NC       NC      NC     SC    PC     NC     NC   NC   NC   PC   NC   PC     SC
   IV.B.5. Suicide Precautions/Raymond Patterson
   IV.B.5.a.           NC       NC    NC      NC       NC    NC    NC   PC   PC   PC   PC   PC     PC
   IV.B.5.b.           NC       NC    NC      NC       NC    NC    NC   PC   PC   SC   PC   PC     NC
   IV.B.5.c.           NC       NC    NC      NC       NC    NC    NC   PC   PC   PC   PC   PC     PC
   IV.B.5.d.           NC       NC    NC      NC       NC    NC    NC   NC   PC   PC   SC   SC     SC
   IV.B.5.e.           NC       NC    NC      NC       NC    NC    NC   NC   NC   PC   PC   PC     NC
   IV.B.5.f.           NC       NC    NC      NC       NC    NC    NC   NC   NC   PC   SC   SC     PC
   IV.B.5.g.           NC       NC    NC      NC       NC    NC    NC   NC   NC   PC   PC   PC     PC
   IV.B.5.h.           NC       NC    NC      NC       NC    NC    NC   PC   NC   PC   PC   SC     SC
   IV.B.5.i.           NC       NC    NC      NC       NC    NC    NC   PC   PC   SC   SC   SC     SC
   IV.B.5.j.           NC       NC    NC      NC       NC    NC    NC   PC   PC   PC   PC   SC     SC
   IV.B.5.k.           NC       NC    NC      NC       NC    NC    NC   PC   NC   PC   PC   PC     PC
   IV.B.6. Use of Restraints/Raymond Patterson
   IV.B.6.a.          PC      NC       PC      PC      PC    PC    PC   PC   NC   PC   PC   PC     PC
   IV.B.6.b.          NC      NC       PC      PC      PC    PC    PC   PC   PC   PC   SC   SC     SC
   IV.B.6.c.          ND      NC       PC      PC      PC    PC    PC   PC   NC   PC   NC   SC     SC
   IV.B.6.d.          ND      NC       PC      PC      PC    PC    PC   PC   NC   PC   SC   SC     PC
   IV.B.6.e.          NC      NC       PC      PC      PC    PC    PC   PC   NC   PC   NC   SC     SC
   IV.B.6.f.          NC      NC       PC      PC      PC    PC    PC   PC   NC   PC   SC   SC     SC
   IV.B.6.g.          NC      NC       PC      PC      PC    PC    PC   PC   NC   PC   NC   SC     SC


   IV.B.7. Detoxification and Training/Robert Greifinger
   IV.B.7.a.            NC      NC      PC     PC       PC   PC    PC   PC   PC   PC   PC   SC     SC
   IV.B.7.b.            NC      NC      PC     PC       PC   PC    PC   PC   PC   SC   SC   SC     SC
   IV.B.7.c.            NC      NC      PC     PC       PC   PC    PC   PC   PC   PC   PC   PC     PC

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   IV.B.7.d.            NC          NC   PC    PC      PC      PC     PC     PC   PC   NC   PC   PC     PC
   IV.B.8. Medical and Mental Health Staffing/Robert Greifinger
   IV.B.8.a.           NC      NC      PC      PC      PC       PC    PC     PC   PC   PC   PC   PC     PC
   IV.B.8.b.           NC      NC      PC      PC      PC       PC    PC     PC   PC   SC   SC   SC     SC
   IV.B.9. Risk Management/Robert Greifinger
   IV.B.9.a.          NC     NC      NC        PC      PC      PC     PC     PC   PC   PC   PC   PC     PC
   IV.B.9.b.          NC     NC      NC        PC      PC      PC     PC     PC   PC   PC   PC   PC     PC
   IV.B.9.c.          NC     NC      NC        NC      PC      PC     PC     PC   PC   PC   PC   PC     PC
   IV.B.9.d.          NC     NC      NC        NC      NC      NC     NC     NC   NC   PC   PC   PC     PC
   IV.B.9.e.          NC     NC      NC        NC      PC      PC     PC     PC   NC   PC   PC   PC     PC
   IV.B.9.f.          NC            NC   NC    NC      PC      PC     PC     PC   NC   NC   PC   PC     PC
   IV.C. Medical Care
   See SA 2/11/15 13.
   IV. C. Quality Management of Medication Administration
   IV.C.1.a.           NC       NC     PC      PC     PC       PC     PC     PC   PC   SC   SC   SC     SC
   IV.C.1.b.           NC       NC     PC      PC     PC       PC     PC     PC   PC   PC   PC   PC     PC
   IV.C.1.c.           NC       NC     PC      PC     PC       PC     PC     PC   PC   SC   SC   SC     SC
   IV.C.1.d.           NC       NC     PC      PC     PC       PC     PC     PC   PC   SC   SC   SC     SC
   IV.C.2. Health Care Delivered/Robert Greifinger
   IV.C.2.a.            NC          NC   NC    PC      PC      PC     PC     PC   PC   NC   PC   PC     SC
   IV.C.2.b.            NC          NC   NC    PC      PC      PC     PC     PC   PC   NC   PC   PC     PC
   IV.C.3. Release and Transfer/Robert Greifinger
   IV.C.3.a.           NC      NC      NC      PC    PC        PC     PC     PC   PC   PC   PC   PC     SC
   IV.C.3.b.           NC      NC      NC      PC    PC        PC     PC     PC   PC   PC   PC   PC     SC
   IV.C.3.c.           NC      NC      NC      PC    PC        PC     PC     PC   PC   PC   PC   PC     SC
   IV.C.3.d.           NC      NC      NC      PC    PC        PC     PC     PC   PC   SC   SC   SC     SC
   IV.D. Sanitation and Environmental Conditions/Shane Poole
   IV.D. 1.a.           NC          NC   NC    NC      NC      NC     NC     NC   NC   PC   PC   PC     PC
   IV. D. 1.b.          NC          NC   PC    PC      PC      PC     PC     PC   PC   SC   SC   SC     SC
   IV. D. 1.c.          NC          NC   PC    PC      NC      NC     PC     SC   PC   PC   SC   SC     SC
   IV. D. 1.d.          NC          NC   NC    NC      SC      SC     SC     SC   SC   SC   SC   SC     PC
   IV. D. 1.e.          NC          PC   PC    PC      PC      PC     PC     SC   PC   SC   SC   SC     SC
   IV. D. 1.f.          NC          NC   NC    NC      PC      PC     PC     PC   PC   PC   SC   SC     SC
   IV. D. 1.g.          NC          NC   NC    NC      PC      PC     PC     PC   PC   SC   SC   SC     SC
   IV. D. 1.h.          NC          NC   NC    PC      NC      PC     NC     NC   NC   PC   PC   PC     SC
   IV. D. 2. Environmental Control/Shane Poole
   IV. D. 2.a.          NC      NC     PC      PC      PC      SC     SC     SC   PC   SC   SC   SC     SC
   IV. D. 2.b.          NC      NC     NC      NC      NC      SC     PC     SC   SC   SC   SC   SC     SC
   IV. D. 3. Food Service/Diane Skipworth
   IV. D. 3.a.          NC          NC   NC    PC      PC      PC     NC     PC   PC   PC   SC   SC     SC
   IV. D. 3.b.          NC          NC   NC    PC      PC      PC     NC     NC   NC   NC   PC   SC     SC
   IV. D. 3.c.          NC          NC   NC    PC      NC      NC     PC     PC   PC   PC   PC   SC     SC
   IV. D. 4. Sanitation and Environmental Conditions Reporting/Shane Poole
   IV. D. 4.a. 1-7
                         NC      NC    PC      PC      PC      PC     PC     PC   NC   SC   SC   SC     SC

   IV. D. 4.b.          NC      NC      NC     NC      PC      NC     NC     PC   PC   SC   SC   SC     SC
   IV.E. Fire and Life Safety/Shane Poole
   IV. E. 1. Fire and Life Safety
   IV. E. 1.a.          NC          PC   PC    PC      PC      PC     PC     SC   PC   PC   PC   PC     SC

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   IV. E. 1.b.         NC       NC       NC    PC      PC     PC       PC    PC    PC    SC    SC   SC     SC
   IV. E. 1.c.         PC       PC       PC    PC      NC     PC       PC    SC    PC    SC    SC   SC     SC
   IV. E. 1.d.         NC       NC       NC    NC      NC     NC       PC    SC    PC    SC    SC   SC     SC
   IV. E. 1.e.         ND       NC       PC    PC      PC     PC       PC    PC    SC    SC    SC   SC     SC
   IV. E. 2. Fire and Life Safety Reporting
   IV. E. 2.a.1-3
                         ND       NC      PC   PC      PC     PC       PC    PC    PC    SC    SC   SC     SC
   IV. E. 2.b.        ND        NC       NC    PC      NC     NC       NC    PC    PC    SC    SC   SC     SC
   IV.F. Language Assistance
   IV.F.1. Timely and Meaningful Access to Services/Margo Frasier
   IV.F.1.a.           ND       PC       PC    PC      PC     PC       PC    PC    PC    PC    PC   SC     SC
   IV.F.2. Language Assistance Policies and Procedures/Margo Frasier
   IV.F.2.a.                                          Not     Not      Not   Not   Not   Not
                      ND       PC       PC      PC                                             SC   SC     SC
                                                      App    App       App   App   App   App
   IV.F.2.b.                                          Not     Not      Not   Not   Not   Not
                      ND       PC       PC      PC                                             SC   SC     SC
                                                      App    App       App   App   App   App
   IV.F.3. Language Assistance Training/Margo Frasier
   IV.F.3.a.          NC       PC      PC     PC      PC      PC       PC    PC    PC    PC    PC   PC     PC
   IV.F.4. Bilingual Staff/Margo Frasier
   IV.F.4.              NC      PC       PC    PC      PC     NC       NC    NC    NC    PC    SC   SC     SC
   IV.G. Youthful Prisoners/Margo Frasier
   IV.G.               NC     NC      NC       PC      PC     PC       NC    NC    PC    PC    PC   PC     SC
   VI. The New Jail Facility/Margo Frasier
   VI. A.              ND      PC       PC      SC      SC    SC       SC    SC    SC    SC    SC   SC     SC
   VI. B.              NC      PC       SC      SC      SC    SC       SC    SC    SC    SC    SC   SC     SC
   VI. C.              ND      PC       SC      SC      PC    PC       PC    PC    SC    SC    SC   SC     SC
   VI. D.            Monitors Not Qualified to Evaluate
   VII. Compliance and Quality Improvement/Margo Frasier
   VII. A.           ND        NC     NC    PC      PC        PC       PC    PC    PC    PC    SC   SC     SC
   VI. B. (H.)        NC       NC     NC    NC     NC         NC       PC    PC    PC    PC    PC   PC     PC
   VI. C. (I.)        NC       NC     SC    SC     NC         SC       SC    NC    PC    SC    SC   SC     SC
   VI. D. (J.)       ND        NC     NC    PC      PC        PC       PC    NC    NC    NC    SC   SC     SC
   VIII. Reporting Requirements and Right of Access/Margo Frasier
   VIII.A.            ND      PC      NC       PC     PC     PC        PC    NC    NC    PC    SC   SC     SC
   VIII.B.            PC      PC      PC       PC     SC      SC       SC    SC    SC    SC    SC   SC     SC
   VIII.C.            PC      PC      PC       SC     SC      SC       NC    NC    PC    PC    SC   SC     SC
   Legend:
   ND - Not scheduled for review
   NC - Non-compliance
   PC - Partial Compliance
   SC - Substantial Compliance
   NA - Not Applicable




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